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                                                                 DEFENDANTS - GROUP U
                       Domain Name                     Name(s)                                            Email Address(es)   Affected Plaintiff
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                                                                 DEFENDANTS - GROUP V
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                                                                 DEFENDANTS - GROUP W
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1745   jordanretrocity.com             zeynab bstalvey                       zeynabstalvey@gmail.com                             Nike
1746   jordanretrofanatics.com         Join Lin                              linuan891022@gmail.com                              Nike
1747   jordanretrofans.com             nicol Duchame                         nikesneakersusstore@gmail.com                       Nike
                                                                             nicolonlineAhotmail.com
1748 iorclanretrofirered.com           Nian Hua                              nianhua.t@gmail.com                                 Nike
1749 torclanretrofor2014.com           Peir Junck                           tohnpeir4,163.com                                    Nike
1750 jordanretrogameshoes.com          nicol Duchame                         nicolonline@hotmail.com                             Nike
                                                                             customerserviceonlmenow@gmail.com
1751   jordanretroget.com              Join Lin                              nikesneakersusstore@gmail.com                       Nike
                                                                             linuan891022@gmail.com
1752   iorclanretrohotcom              Jackson Smith                         customerserviceonlmenow@gmail.com                   Nike
1753   jordanretroretails.com          zeynab bstalvey                       zeynabstalvey@gmail.com                             Nike
1754   iorclanretroshoesbay.com        Peir Junck                            iohnpeu ri 163.com                                  Nike
1755   torclanretroshoesfans.com       Peir Junck                           tohnpeu ri I 63.com                                  Nike
1756   iorclanretroshoesinthebox.com   emmeli duhaime                        emmeliduhaime3502@hotmail.com                       Nike
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1760 torclanretrovip.com               Nian Hua                              nianhuatAgmail.com                                  Nike
1761 iorclans2013.com                  Peir Junck                            servicesonlinenow@hotmail.com                       Nike
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1762 jordansbred-us.com                Nian Hua                             nianhua t (bsmail.com                                Nike
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1765 jordanshoesinbox.com              Join Lin                              linjian891022@gmail.com                             Nike
1766 jordanshoesparadise.com           Join Lin                              linuan891022@gmail.com                              Nike
1767 jordanshoesstation.com            Nian Hua                             jordanshoesstation@gmail.com                         Nike
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1768 jordanshoesusshopping.com         canganic kong                        lebronlObasketball@gmail.com                         Nike
1769 torclanshoeswitlunhere.com        Join Lin                             linuan891022Agmail.com                               Nike
1770 jordansretrogethome.com           Join Lin                             linuan8910gmail.com                                  Nike
1771   jordansretrosetout.com          Join Lin                              linuan89104@gmail.com                               Nike
1772 jordansspecialsale.com            Nian Hua                              nianhuatAgmail.com                                  Nike
1773 jordanstore-us.com                mcol Duchame                          nikesneakersusstore@gmail.com                       Nike
                                                                             nicolonlineAhotmail.com
1774 lebronl l-us.com                  Peir Junck                           tohnpeir4,163.com                                    Nike
1775 newairiorclan3firered.com         Mabelle Weig                         airforceonelowbox@gmail.com                          Nike
1776 newairmax2014ruruung.com          Peir Junck                           customerserviceonlinenow@gmail.com                   Nike
                                                                            tohnpeu4,163.com
1777 newjordansretroshoes.com          Join Lin                              nikesneakersusstore@gmail.com                       Nike
                                                                             linuan891022@gmail.com
1778 newretrojordan.com                Nian Hua                              nianhuatAgmail.com                                  Nike
1779 nikeaumax2014new.com              canganic kong                        customerserviceonlinenow@gmail.com                   Nike
                                                                            lebronlObasketball(dgmail.com
1780   nikeaumax90cheap.com            Marshall Matthew                     nikesneakersusstoreCi gmail.com                      Nike
1781   nikeairmaxfanatics.com          Marshall Matthew                     nikesneakersusstorerctgmail.com                      Nike
1782   mkeblazer-fr.com                Peir Junck                           tohnpeir4,163.com                                    Nike
1783   nikedunkfana cs.com             canganic kong                         nikesneakersusstoreAtgmail.com                      Nike
1784   nikedunkhighfanatics.com        canganic kong                        nikesneakersusstorerci gmail.com                     Nike
1785   iukedunklughforcheap.com        Marshall Matthew                     nikesneakersusstoreAi gmail.com                      Nike
1786   nike-factorystore.com           Join Lin                             linuan891022@gmaitcom                                Nike
1787   nikefree-denmarkstore.com       Peir Junck                           iohnpeira163.com                                     Nike
1788   nikejordanl lbred.com           Nian Hua                             nikesneakersusstore@gmail.com                        Nike
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1789 nikemercuria12014soccer.com       Peir Junck                           Johnpar4,163.com                                     Nike
1790 mkesbfanatics.com                 Marshall Matthew                     Nikesneakersusstore@gmail.com                        Nike
1791   offerairmax90.com               Nikolaj Chemets                      Sale@offerairmax90.com                               Nike
                                                                            JohnpeirAgmail.com
1792 offerbasketballshoes.com          Peir Junck                           Sale@offerbasketballshoes.com                        Nike
                                                                            Johnpar4,163.com
1793 ownbasketballsneakers.com         Peir Junck                           Servicesonlinenow@hotmail.com                        Nike
                                                                            Johnpar4,163.com
1794 retrojordaninthebox.com           shinsaku Drock                                                                            Nike
1795 retrosjordanl3.com                John pets                            Retrosjordanl3@gmail.com                             Nike
                                                                            JohnparAgmail.com
1796 soccercleatsnew2013.com           Mabelle Weig                         Auforceonelowbox@gmail.com                           Nike
1797 bred-11.com                       Peir Junck                           Sneakers2013agmail.com                               Nike
                                                                            Johnpar4,163.com

                                                                    DEFENDANTS - GROUP X
                        Domain Name                       Names 1                                              Email Addresses   Affected Plaintiff
                                                                                                                                   (Nike and/or
                                                                                                                                    Converse)
1798 www.billigenikefrees.com          zhou kai                             1939762843agg.com                                    Nike
                                                                            NikefairAmsn.com
1799   www.cheapestlebronl0.com        zhou kai                             1939762843agg.com                                    Nike
                                                                            NikefairAmsn.com
1800   www.cheapsfoamposite.com        zhou kai                             bestfreeruns@hotmail.com                             Nike
                                                                            NikefairAmsn.com
1801   www.salecheaplebronl0.com       kun then                             254740383agg.com                                     Nike
                                                                            Nikefair(msn.com
1802   www.cheapnikelebrons.com        chen kun                             254740383agg.com                                     Nike
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1803   www.cheapslebronl 0.com         gao wei                              1939762843agg.com                                    Nike
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                                                                                    1939762843@qq.com,Nike
 1811   www.billigenikefrees.com            zhoukai                                 Nikefair&isncom                                              Nike
                                                                                    1939762843@qq.ccan
 1812 www.cheaplebron.org                   Amu kai
 1813 www.cheaplebronlOnike.com             ZHOU KAI                                Nikefair@msn.com                                             Nike
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 1815 www.cheapnilcelebronlOshoe.com        ZHOU KAI                                 Nikeftur@msn.com                                            Nike
 1816
 1817 www.cheapnikelebrons.com
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                                            CHEN KUN
                                                                                    i3estfreeruns@hotmail.com
                                                                                    Nikefairnsn. com
                                                                                                                                    -            Nike
                                                                                    .254740383@qq.com
 1818 www.cheapsnikefree.org                kim chen                                 254740383@qq.com                                            'Nike
 1819 www .nikecheaprun. corn               Manghang003 lin                         Bestfreeruns ,hotmail.com                                     Nike
 1820 www.nikefoampositecheap.net           ZHOU KAI                                Nikefair@msn.com                                              Nike
 1821                                       ZHOU KAI                                Bestfreerims@hotmail.com
 1822 www.nikelebronlOcheancom              ZHOU KAI                                Bestfreenins@hotmail.com                                     Nike
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 1824                                                       _                       Bootscouponscode@gmail com                           _
                                                                                                                                                 Nike
 1825 www.salecheaprukes com                zhou kai                                 Nikefair@insncom
         _                                                                           Bestfreeruns@kotmall.com
 1826 www.bestlebronshoes.com               ZHOU KAI                                IBestfreeruns@hotrnail.com                                   Nike
 1827 www.cheapestlebron10.com              gao wei                                  Nikefairginsn corn                                          Nike
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 1828 www.cheaplebronorg                    zhoukai                     _           1939762843Aqq.carn
 1829 www.cheapkbronlOshoe.com              CHEN YU                                 Nikefair@msncom                                              Nike
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 1830 www.cheaplebronlOstar.com             chen kun                                254740383@qq.com                                         -   Nike
 1831 www.cheaplebronl0x.com                zhoukai
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 1834 www.cheapsfoamposne com               ZHOU' KAI                               Nikefar@insn.com                                             Nike

 1835 www.cheapslebron10.com                gao wei
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 1836 www.cheapslebronl Loom                CHEN KUN
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                                                                                                                                             -   Nike
                                                                                    Nbasneakers@aol.com
                                                                                    254740383@qq.com
 1837   www.freerunsinusa.com               ZHOU KAI                                Bestfreeruns ,hotmail.com                                    Nike
 1838   www.gofreeruns.com                  zhoukai                                 Bestfreerunsp,hotmailcom                                     Nike
 1839   www.lebronlOcheaps.com              CHEN YU                                 1939762843@gq . can                                          Nike
 1840   www.lebronllcheap.com               CHEN KUN                                254740383(Oqq.com                                            Nike
 1841   www.salecheaplebronl0.com           chen kun                                Nikefair@msn.com                                             Nike
                                                                                    254740383@nocom
 1842 billigenikefrees.com                  zhoukai                                 Nikefairemsncom
                                                                                    1939762843@qq.com
 1843 cheadebtonorg.                        zhoukai                                 193976284_3@kmsom
 1844 cheaplebronl Omke. corn

 1845   cheapnikelebronlOshoe.com
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                                                                                    Bestfreeruns@hotmail.com
 1846 cheapnikelebrons. COM                 CHEN KUN                                Nikefair@msncom
                                                                                    254740383@qq.com                                         _
 1847 cheapsnikefree.org                    lam chen                                2547403830.Nspm                                      _
 1848 nikecheapnutcom                       xianghang003 lin                        Yestfreerun.Aghotmail.com
 1849 nikefoampositecheapnet                ZHOU KAI                                Nikefair@trian.corn
                                                                                    Bestfreenutsahottnail.com
 1850 nikelebronlOcheap.com                 ZHOU KAI                                Bestfreenmsraliptmail.com
 1651 'salecheapnikefreesnom                Q1U JING                                Nikefairnsn.com
                                                                                    BontsnouponscodetagmailnOm
 1852   salecheapnikes.com                  zhoukai                                 Nikefair@msn.com
                                                                                    Bestftr,enmsahotmail.com

                                                                            DEFENDANTS - GROUP Y
                        Domain_Name                             Names l                                             Email Address(eril           Affected Plaintiff
                                                                                                                                                    (Nike and/or
                _                                                   .                                                                                Converse)
 1853 www.hotainordan13.com                 emmeli duhaime                          emmeliduhaime3502@hotmail.com                                Nike
                                                                                    hotairiordan13@gmail coin
 1854   www.hotairjordanretro.com           emmeli duhaime                          emmeliduhaime3502@hotmazl.com                                Nike
                                                                                    hotainordairetro@gmalcom
 1855 www.jordanrettostation.com            emmeli duhaime                          emmeliduhaime3502@honnail.com                                Nike
                                                                                    iordanretrostahon@gmail.com

                                                                            DEFENDANTS - GROUP Z
                        Domain Name                             Names 1                                             Email Address(es)             Affected Plaintiff
                                                                                                                                                    (Nike and/or
                                                                                                                                                     Converse)
 1856                                       shunbaoyatd                                                                                          Nike
 1857                                       shunbaoyi,ltd                                                                                        Nike
 1858                                       shunbaoyi,ltd                                                                                        Nike
                                            Shan Peter
 1859 ww-w.ukcheaptuke-trainers.co.uk       shunbaoyi,ltd                           petershanfive@gmaitcom                                       Nike
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1860 www.cheapukimke-tramerico.uk      shunbaoy411d                          petershanfive(itgirol.com                               Nike
1861   www.billignikeairmaxnor4e.com   chengfei bei                          beichengfeiiiiwbah.net.                                 Nike

                                                                 DFleKti DA N TS- GROUP UNKNOWN
                      Domain Name                      Name(s)                                                   Email Addresstes)    Affected Plaintiff
                                                                                                                                       [Nike and/or
                                                                                                                                            Conr_, lerve
1862 www.eheap.jerseyplazas. corn                                            cheap]rseyilaza012iiiiMotmailicom                       Nike
1863. www.sleekpanshoes.com                                                  sales913(Asleelepairshoes.com                           Nike
1864   www.freeningood,com                                                   freerunmmodggniall.com                                  Nike
1865   www.nb-574.bom                                                        ynoiling20084gmnil.com                                  Nike
1866   www.3iipshoes2icom                                                    vipshoes2@hotmailicom                                   Nike
1867   www.topshopm cone                                                     ana-25206inve. en                                       Nike
1868   bik,nikensmaxnorsie, corn       chengfel bei.                         bewhenpferaveahinet.                                    Nike
1869   wwwisholichinawholesalesom                                            undetjerseysdikmailicom                                 Nike
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                                        DEFENDANTS BY GROUP




Maria Wu                                                           www.shoecapsxyz.com               Group A
Linhai Ke                                                          www.shoecapsxyz.com               Group A
                                storeonline service s2012@gmail    www . fre erunonlocker. co .uk    Group A
                                com
                                service2@airemail.net              www.footwearsuper.co.uk           Group A
                                                                  I TOTAL AWARD (Group A)           $84.2 million




Lin Zoe                                                            www.wholesalenfljerseyssale.co    Group B

Comminutete More K.K.                                              www.wholesalenfljerseyssale.co    Group B

                                                                   TOTAL AWARD (Group B)            $20.1 million



          NAME                  EMAIL                              DOMAIN NAME                       GROUP

Brakehemalt K.K.                                                   www.nflofchina.com                Group C
                                                                   www.storeonlineselllnow.com
                                -                                  nike-chaussures.fr                Group C
                                -                                  nike-tn.fr                        Group C
Bingchao Chen                   discountwholesale2012@gmail.c      nikeaftforcecentral.com           Group C
                                om
Chen Bingchao                   ppsalediscount@gmail.com                                             Group C
Fan Zhangmu                     588327030@139.com                                                    Group C
                                orderservices@live.com
                                manningsogyahoo.com
Huangjie Wei                    paypa1888999@139.com               paypa1888999@139.com              Group C
Jie Wei                         johnhijack@139.com                 tn-new-discount.com               Group C
Rick Li d/b/a 163.CA Inc.       billing@163.ca                                                       Group C
                                rick@l63.ca
                                support@tongyong.net
                                temp@phytocanada.com
Toni Wu                         sellmanageridb@hotmail.com                                           Group C
Wang Hong                       airygir12003@163.com               www.nikeairforcecentral.com       Group C
Wei Huangjie                    paypa18868@gmail.com                                                 Group C
                                paypa1888999@gmail.com
                                paypalbank@126.com
                                whj soft@l26.com
                                shoxtn@hotmail.com
                                paypalbank3@gmail.com
                                paypalbank3g126.com
                                paypa1888999@139.com
Weijia Yin                      tnrequinmall@live.com              tnrequinmall.com                  Group C
                                navnal888999@139.com               tnrequincentral.com

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Yue Manager                    se llmanage ridw@hotmail .com                                     Group C
Zhan Cuibin                    onlinebizdiscount@gmail.com                                       Group C
                               paypalbank2g126.com
                               paypalbank2@gmail.com
                               dawintea@msn.com
Zhan Ruping                    ppzhanruping@gmail.com                                            Group C
Walt4                          bizfrom2003@gmail.com                                             Group C
Zhan Cui Bin
                                                               TOTAL AWARD (Group C)            $67.1 million




                               customerservicenol@hotmail.co   www. dsmre cap .com               Group D
                               m
                              secureonlinepay@hotmail.com      www.soccermarket.com              Group D
Benjamin Wilson               3WN69931GW723084L@dcc.pa                                           Group D
                              ypal.com
                              jiessie@vip.qq.com
Catina Johnson                customersupports@live.com        pcmarketlive.com                  Group D
Chen Qing Guo                 rinazxpays@hotmail.com                                             Group D
                              kavenpays@hotmail.com
                              xianxpays@hotmail.com
                              payssmile@hotmail.com
                              smallpays@hotmail.com
                              payalways2012@hotmail.com
                              wellspays@live.com
Chen Tai shan                 shoppaysment@live.com                                              Group D
Chen Zao jie Chen Zao jie     445241672@qq.com                 cheapsoccercleatss.com            Group D
                              customerserviceNol@hotmail.co    eshopstyle.com
                               m
                              445241672@qq.com
Chen Zhi Jie                  jiessie@vip.qq.com               powerports.net                    Group D
                              secureonlinepay@hotmail.com      www.footballsoccerjerseys.com     Group D
                              80338781@qq.com
Huang Xiuzhu                  paysmentsaccount@live.com                                          Group D
Jianhan Xie                   paysment2011@hotmail.com                                           Group D
Lai Li Ying                   safe-pays2012@live.com                                             Group D
                              safeonlinepay@live.com
                              safeonlinepay@hotmail.com
Larry Rhodes                  Bankrid3Calhar@Yahoo.com         dsmrecap.com/de/paypal/standar    Group D
                                                               d/success/
Lin Mei Ying                   itempays@live.com                                                 Group D
                               onlinepayup@hotmail.com
Liu Zheng Bin                  managepays@hotmail.com                                            Group D
Qunhong Ke                     onlinepayQH@hotmail.com                                           Group D
Ren Guo Ying                   annelaw2012@live.com                                              Group D
                               annelaw2012@hotmail.com
                               prosalepays@live.com
                               prosalepayAlive.com
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Ren Guoying                   shoppingpaysment@live.com                                        Group D
Ren Qing Huang                toppaysline @live .com                                           Group D
                              fastestpayslines@live.com
                              securespay@hotmail.com
                              paywe112012@hotmail.com
                              efashionbuy@hotmail.com
                              sanpays@live.com
Ren Zhi Jie                   diytradecenter@live.com                                          Group D
Ren Zhi Min                   payonlines2011@hotmail.com                                       Group D
                              payonlines01@hotmail.com
                              shoppingpayonline @live .com
Ren Zhi Tong                  shoppingcartpay@hotmail.com                                      Group D
                              okpays@live.com
                              beauty-onlines@hotmail.com

Ren Zhimin                    oksales2012@hotmail.com                                          Group D
                              okonsale2012@hotmail.com
                              customersupports @live .com        www . hone rshoe suk . com    Group D
CoSebastian Schwarz           80338781@qq.com                    dsmrecap.com                  Group D
Song Yong Gan                 parypays@live.com                                                Group D
Song Yong Jin                 pee laccepts@hotmail . com     I   dsmrecap.com                  Group D
Tiffany Jarvis                customerserviceNol@hotmail .co     cheapej erseys .com           Group D
                              m
Timothy Saulmon               saulmon_01@yahoo .com 7            dsmrecap.com                  Group D
Wagner Chris                  j iessie@vip .qq .com                                            Group D
Xie Han Zhou                  securetypay sline @live .com                                     Group D
Yu Bin Bin                    ebaupays@hotmail.com                                             Group D
Yu Hang                       secureonlinepay@hotmail.com                                      Group D
                              greenpayaccounts@hotmail.com
Yu Jie                        addtocart@live.com                                               Group D
Zhang Feng Chun               buypayonline@hotmail.com                                         Group D
Zhang Feng lan                be stypay s@live .com                                            Group D
                              paylinesfast@live .com
                              payj ump s @live .com
Zhang fengchun                jumppays@hotmail.com               hone rshoe suk.com            Group D
Zhi JieRen                    accspays2013@live.com                                            Group D
                              azkxxpays @live .com                                             Group D
Li Ning                       kavenpays@hotmail.com
                              xianxpays@hotmail .com
                              convenientpay s @hotmail .com
                              fasipays@live.com
                              itemspay@hotmail.com
                              payitems@hotmail.com
  %                           xunapays@hotmail.com               dsmrecap.com                  Group D
Song Yong Jin
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Zhang Wei Ping
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Ren Zhi Min                    corporationpays@hotmail.com
ILLS A                         payonlines@hotmail.com                                            Group D
Ren Zhi Tong
It                             huyuiifi5@l26.com                                                 Group D
Shi Hua                        j sadas12@yeah.net
                               znjaid@sina.com
                               guotradesusuxianxian@hotmail.c
                               om
                               tbs@prc-oem.com
                               huayiss5@yahoo.com
                               huayzui@yahoo.com
                               jiessie@vip.qq.com
                               yauaa22@yahoo.com
                               2696925368@qq.com
                               SpragueneniThomas@gmail.com
                               tbs520520@163 .com
                               supportsser@hotmail.com
                               shuang 1203 @gmail.com
                               weiweigbasp2@hotmail.com
                               kaishuntbs@l63.com
                               a7741551@gmail.com
                               miloom service @gmail com
                               592536808@qq.com
                               qianzhifei@hotmail.com
                               seoeasy@hotmail.com
                               navypays@hotmail.com                                              Group D
Zhang Feng Chun                navypays@live.com
                               onlinepay2011@hotmail scorn
                               yanlanpays@hotmail.com            cheapsoccercleatss.com          Group D
Li Yu hong
It A                           paysnice@hotmail.com                                              Group D
Lai Li Ying
                               pay s site s @live .com                                           Group D
Lin Mei Ying                   honorpays@hotmail .com
fi                             quickonlinepays @live .com                                        Group D
Zhang Feng Yu
                                                                 TOTAL AWARD (Group D)          $66.1 million




                               S ervice3@linkonline email. com   www.d3 classicshoe s .co .nz     Group E
                               Servicel@webseemial.com           www.aflshox.com                  Group E
Chen Minzhong                  fallenyinong@yahoo.com                                             Group E
Chris Hebert                   nfl2045@hotmail.com               www.kevindurantshoes.net         Group E
Cortez Shore                   convenience service @gmail. com   www.drun.co.uk                   Group E
                               wogan_ni_mama@yeah.net            www.jd2c.com                     Group E
                               nimamabea@l63.com
                               ihandba123@l63.com
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                                wogan_ni_mama@yeah.net            lqshoes.com                       Group E
                                ihandbag123@l63.com
Guohong Zheng                   youyan1990@yahoo.com                                                Group E
Huang Jintian                   linkcampus111@yahoo.com           usajumpman.com                    Group E
                                buybest365@yahoo.com
                                bestbuynike@yahoo.com
                                ecplaza999@163.com
                                linksinowears@yahoo.com
                                ineednikeshoes@hotmail.com
                                usajumpman@yahoo.com
                                nikeonlineservice@gmail.com
                                kungfumovie999@yahoo.com
                                bestbuynike@yahoo.com
HUANG XIAO                      buytheshoes84@yahoo.com           www.buytheshoes.com               Group E
                                48058406@qq.com
Huang Zhi Zhen                  48058406@qq.com                   48058406@qq.com                   Group E
Jack Zhang                      niceamas@gmail.com                cheapjordanshoes2014online.co     Group E
                                                                  m
                                                                  cheapnikefreeshoes2014.com
Jiang Hunying                   whole saleairj ordan@yahoo .com   usajumpman.com                    Group E
Jiang Junying                   whole sale airj ordan@yahoo.com                                     Group E
Jordan Batters                  convenience service @gmail. com   www.360chaussures.fr              Group E
                                chenlij ilu@l63.com
Kathy Peyton                    sdsar@yahoo.com                   a3classicshoes.co.nz              Group E
Krystian                        allenseng@hotmail.com             newsneakersoutlet.com             Group E
Lin Hua Cong                    teeblog@qq.com                    airj ordan23 shoe se .com         Group E
                                                                  nikeblazerfemmelb.org
                                                                  nikeschuhenikefree.com
                                                                  www.nike-outlet.us
Lin Meiqin                      youyanhg@yahoo.com                                                  Group E
Meilian Huang                   linajiao1990@yahoo.com                                              Group E
Motao                           servicel@webseemial.com           www.trainingshoesbuy.com          Group E
                                hbxpoolxcc@yahoo.com
Phillip Bell                    Phillip@hotmail.com                                                 Group E
                                niceamas@gmail.com                nikesb22.com                      Group E
                                customersupports@live.com         www.pcmarketlive.com              Group E
Sacaj BoxAngel                  yangziss@hotmail.com              airpennylforsale.net              Group E
SandyC                          morethanj ordan23@yahoo.com       www.usajumpman.com                Group E
Tang Guo                        tangguo2s@l63.com                 www.360runningshoes.com           Group E
Water Lin                       wogan_ni_mama@yeah.net            jordan4unc.com                    Group E
                                1197084292@qq.com                 shoxuk.com                        Group E
Xu Linying                      convenience service @gmail. com   convenience service @gmail. com   Group E
Xu Weihai                       vxvdsad@yahoo.com                 www.blazershiuk.com               Group E
                                1197084292@qq.com                 www.jdnsneakers.com
                                                                  maxshox2au.com
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                                                                       www.trainersmalluk.com
Yu Xian Wu                      j ordanshoescity@hotmail .com          usajumpman.com                       Group E
                                tonyche ap s @yahoo .com               www.bestbuynike.com
                                                                       www. jordanshoesusa.com
Zhao Min Gui                    mingui123@hotmail.com                                                       Group E
ill                             usashare @yahoo .com                   bestcnshoes.com (FOP, not            Group E
Chen Li Xian                                                           active) www.shoxuk.com
                                                                       (armor)
4                               teeblog@qq.com                         teeblog@qq.com                       Group E
Lin Hua Cong
     A"                         kendyj one @aol . co .uk               lqshoes .com                         Group E
Huang Yan Ying
T*                              goingpop@hotmail.com                                                        Group E
Chen Wei Zhu
                                                                       TOTAL AWARD (Group E)              $87.9 million

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          NAME                  EMAIL                                  DOMAIN NAME                         GROUP

Bodon Trading                                                          www.cheapkd5shoes.com                Group F
                                                                I.     www . free sruns store .com
Eric Lee                                                               www.cheapkd5shoes.com                Group F
Meij in Huang                                                          www.cheapkd5shoes.com                Group F
Zhizhen Li                                                             www . free sruns store .com          Group F
Dsjf lai                        douguaiaidegus@gmail.com             I www.tiffanyfreeruns.net              Group F
Jian Yin                        tongkudegaib@gmail.com                 www . yearofthe snakekobe 8. com     Group F
No Buh                          shentaishanglk@gmail.com               tiffanycofreeruns.org                Group F
                                ninetytrade store @gmail .com          tiffanyfreerunner.com
                                                                       tiffanyfreerunner.org
                                                                       www.freerun3volt.com
                                                                       www.limegreenfreeruns.com
                                                                       www.tropicaltwistfreeruns.com
Todd Amira                      toddamira883@gmail.com                 freeruns3v4.com                      Group F
Yujian Ran                      tebiedeaigei@gmail.com                 www.2012free.org                     Group F
                                ninetytrade store @gmail .com          www.tiffanyfreeruns.com
Yurong Huang                    ninetytrade store @gmail. com                                               Group F
                                                                       TOTAL AWARD (Group F)              $56 million



          NAME                  EMAIL                                  DOMAIN NAME                         GROUP

Cheap Nike Free Run Trade Co.                                          www.nikefree4s.com                  Group G
Ltd.
Huang Yamei                     limei53@hotmail.com                                                        Group G
Wu Ziqiang                      zigiang53 @163 .com                                                        Group G
                                zigiang53 @hotmail .com
                                manager@occidenttrade.com
                                pt3c@occidenttrade .com
                                sale s@occidenttrade .com

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                                     service@nikefreeruns30.com      www.nikefreeruns30.com        Group H
                                     d/b/a
    Bill King                        placeanorder@live.com           cheapfreerun2sale.com         Group H
                                     service@onlinenikefreesko.com   cheapfreerun3online.com
                                                                     cheapnikefreetr.com
                                                                     freerundkp.com
                                                                     nikefreedkp.com
                                                                     nikefreerun2shop.com
                                                                     nikefreerunlobesko.com
                                                                     nikefreeskodkt.com
                                                                     nikefreetilbudlobesko.com
                                                                     onlinenikefreesko.com
    Deng Dong Fang                   j ack20 12113 0@gmail.com                                     Group H
                                     nikefreerunsaleaus@gmail.com    gizvtnaita.com                Group H
                                     nikefreerunsaleaus@gmail.com    nikefreerunsaleaus.com        Group H
    Zita Binder                      binderzita@gmail.com            dkbilligenikefree.com         Group H
                                     freerunsdksalg@gmail.com        dkfreerun2.com
                                     dkfreeruns@gmail.com            dkfreerun3.com
                                     dkfreerun30@gmail.com           dkfreeruntilbud.com

          -                          dkfreerunstilbud@gmail.com      dkfreerun30.com
    fg.                              classiczopim@gmail.com                                        Group H
    Yang Jun Jie
    ,[1,.5.t                         placeanorder@live.com           placeanorder@live.com         Group H
    Liu Zhi Hong
    ;*                               lky20 12 104@gmail.com                                        Group H
    Liu Kai Yang
    ni m                             xlq20 12 10 8 @gmail . com                                    Group H
    Xia Ling Qin
    It                               newgoodsexplore@gmail.com                                     Group H
    Liu Zhen Hu
                                                                     TOTAL AWARD (Group H)       $18.5 million




                                     nikefreeonline2012@hotmail.co   www.freebuyshoes.com          Group I
1




                                     m                               www.newfreeshoes.com
    Jean Sabud                       nikefreeonline2012@hotmail.co   www.20 14new shoe s. com      Group I
                                     m
                                     onlyalice@hotmail.com
    Joe Tran                         service s20 13 @hotmail .com    www.shoesbuyeasy.com          Group I
                                     monicayy6 8 @hotmail .com
                                     amy_zsr@hotmail.com
    Lin Jun Da                      joshmicane@gmail.com                                           Group I
    Sun Jin                          admj one s 9 8 @hotmail .com                                  Group I

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Suqin Yang                        nikefreeonline2012@hotmail.co                                      Group I
                                  m
Surong Zhu                        nikefreeonline2012@hotmail.co                                      Group I
                                  m
Zhuo Zhen                         amy_zsr@hotmail.com                                                Group I
                                  sonyaweeks98@hotmail.com                                           Group I
Wang Bao Guo
                                  monicayy68@hotmail.com                                             Group I
Mao Guang Yuan
*-17-                             joeleesa98@hotmail.com                                             Group I
Yang Su Qin
                                  onlyalice@hotmail.com                                              Group I
Wang Xin Fen
                                                                  TOTAL AWARD (Group I)            $53 million



        NAME                      EMAIL

Chen Jinxing                                                      www.buywikionline.com              Group J
                                  lindajerseys@gmail.com d/b/a    www.lindajerseys.com               Group J
                                                                  www.linda-jerseys.com
Bunhon wong                       spectaclexjuc@gmail.com         2013thesaintsjerseys.com           Group J
                                  sfadf33333333333333333333@1
                                  26.com
Cai Jincan                        verynike_123@ymail.com          www.hot-cheap.com                  Group J
                                  verynike_123@yahoo.com.cn
                                  cntrade168@ymail.com
                                  Cntrade168@yahoo.com.cn
                                  cx3139@yahoo.com.cn
                                  hy_shoes@yahoo.com.cn
Chen JiaSheng                     xdffd232@hotmail.com                                               Group J
Chen Jin Feng                     linda.ch26@hotmail.com                                             Group J
Chen Jinxing                      jisehe212@l63.com                                                  Group J
Chen Longfei                      aidon109@hotmail.com                                               Group J
ChenYuanzhuo                      ceddd23@l63.com                                                    Group J
Huang Huacai                      nancywill1986@hotmail.com       chaussuresairmaxnike.com           Group J
                                  service-2013@hotmail.com        cheapairjordanshoesforsale.org
                                                                  greyjordanshoes.org
                                                                  nikeairjordanshoessale.org
                                                                  nikeairmaxl-fr.info
                                                                  nikeairmaxpascherfrance.com
                                                                  nikejordansforsale.com
                                                                  nikejordanshoes2013.com
                                                                  paschernikeairmax.info
                                                                  pickyourjerseys.org
JACK TABOR                       j_tabor76@yahoo.com              nikecheapshoes@hotmail.com         Group J
Jie Wang                          1783149795@qq.com               ravensjerseysforsale.com           Group J
Jie Xia                           by-nike s @yahoo .cn            by-nike23.com                      Group J
Jim Fricker                       Jim_F8279@outlook.com           lebron9dunkman.com/ipn_main_       Group J
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Kayla Moore                     service@kobe7supreme.org          kobe7supreme.org                 Group J
                                jenneyzhenlin@gmail.com
Lin Fang                        topnike098@hotmail.com            namebrand166.com                 Group J
                                namebrand123@yahoo.cn
                                namebrand123@hotmail scorn
Lin Fengying                    be stonline shop@hotmail. com     cheap-air-jordan.com             Group J
                                nikeche ap shoe s@yahoo com. cn   nike shoe s .pw
Michael Vick                    1783149795@qq.com                 airjordansfanatics.com           Group J
                                service@nbashoes.net              www.cheapkdshoes.com
                                1783149795@qq.com                 www.airmaxfanatics.com           Group J
Qian Shuying                    shuying9410@gmail.com             whole saledi scountusa.com       Group J
                                                                  www. chinalpg .com
                                                                  che apj ordanswhole sale .com
Qian Xiangong                   urbanclothing01@yahoo scorn cn    che apj ordanswhole sale .com    Group J
Samanta Bangaree                verynike_123@ymail.com            sellairjordan23.com              Group J
                                verynike_123@yahoo.com.cn
                                cntrade168@ymail.com
                                Cntrade168@yahoo.com.cn
                                hy_shoes@yahoo.com.cn
San Zhang                       lindajerseys@gmail.com            2014worldcupsoccerjerseys.us     Group J
                                services@6000jerseys.com          6000jerseys.com
                                be oltrade @hotmail .com          cheapkdiv.net
                                jenneyzhenlin@gmail.com           cheapnikeairmaxandfreerun.com
                                BABAYGOGOG0@gmail.com             lebronhyperdunks . com
                                zhengjf10@163.com                 nike2 store .net
                                service@lebronhyperdunks.com      nikefreebillig .org
                                jenneyzhenlin@gmail.com           nikekickcoo.com
                                jenneyzhehe952@gmail.com          www.buywiki sonline .com
                                qq123456@hotmail.com              www.goodshoe swhole sale . com
                                sfadf33333333333333333333@1       www.sportshoesoutlet.org
                                26.com
                                be oltrade @hotmail .com
                                buykicksonline@hotmail.com
                                service-2013@hotmail.com
                                sdaf3333333333@ 1 26.com
Wang Jie                         1783149795@qq.com                j ordans shoe sforcheap org      Group J
                                 17832154554@qq.com               lebron9dunkman.com
                                service@lebronjameslOshoes.org    lebronjameslOshoes.org

Wanlu Huang                     lindajerseys@gmail.com                                             Group J
Wen Ben Zhou                    se rvice@hotpunchnikefre e com    www.hotpunchnikefree.com         Group J
Xiongfei Trade Co. Ltd          namebrand123@yahoo.cn             namebrand123.com.cn              Group J
                                namebrand123@hotmail scorn
Zhang San                       jenney@gmail.com                  2013jordanshoes.org              Group J
                                jenneyzhenlin@gmail.com           cheapjordansforsales.org
                                jenney123456555@gmail.com         cheapkd.org
                                                                  jordan8sphoenixsuns.org
                                                                  kevindurant6.org
                                                                  kobe82013.com kobe8yots.com
                                                                  lebron2013.org
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7J7.                             namebrand123@hotmail scorn     namebrand123@hotmail.com       Group J
Zheng Wen Zong
                                 zhengjf10@l63.com              zhengjf10@l63.com              Group J
Zheng Jian Fen
ILLS                             steven.wawj@gmail.com          nikexyz.com                    Group J
Zheng Zhi Hong                                                  www.hot-cheap.com
** IT*                           jenneyzhenlin@gmail.com        jenneyzhenlin@gmail.com        Group J
Lin Bao Zhu
                                 cx3139@yahoo.com.cn            cx3139@yahoo.com.cn            Group J
Gui Yong Cai
a                                1783149795@qq.com                                             Group J
Huang Han Liang
                                 sjack.1368@gmail.com           sellairjordan23.com            Group J
Xu Min Fang
                                 a. starks1979@gmail .com       nikexyz.com                    Group J
Cai Gui Lan                                                     www.hot-cheap.com
                                 scottsha8@gmail.com            sellairjordan23.com            Group J
Cai Gui Yong
                                 linda.ch26@hotmail.com         nikekickcoo.com                Group J
Chen Jin Feng
                                                                TOTAL AWARD (Group J)        $85.4 million




University Jhug Limited                                         www.yes-shoe.com               Group K
                                                                www.yes-shoe.net
                                 sdert-xd6@163.com              bulk-nfl.com                   Group K
                                 kweg63403@l63.com              cheapnfljerseyscom.com         Group K
Huik                             kweg63403@163.com              likenfl2013.com                Group K
                                                                nflcheap800.com
Li Haidao                        lihaidao2002@l63.com                                          Group K
                                 510227969@qq.com
                                 sdert-xd6@163 .com             ok-shoes.net                   Group K
                                 sdert-xd6@163 .com             nfls-need.net                  Group K
                                 sdert-xd6@163 .com             yes2013nfl.net                 Group K
                                 sdert-xd6@163 .com             yesbuynfl.net                  Group K
                                 sdert-xd6@163 .com             yesgetnfl.com                  Group K
                                 sdert-xd6@163 .com             yesgetnfl.net                  Group K
                                 sdert-xd6@163 .com             yesshopnfl.com                 Group K
                                 sdert-xd6@163 .com             yesshopnfl.net                 Group K
                                 lihaidao2002@l63.com                                          Group K
Li Hai Dao
a FI                             foreverseller889@hotmail.com                                  Group K
Wang Xiang
                                                                TOTAL AWARD (Group K)        $59 million




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Zheng Jiangyang                                                www.great-wholesalejersyes.net     Group L
Extentbargain K.K.                                             www.for-jerseys.biz                Group L
                                                               www.myspeto.com
                               service2@emailkoca.com          trainersforsale.co.uk              Group L
Adam Vickers                   service2@storelinkmail.com      airmax20 13 sale .co.uk            Group L
Alfred La Mar                                                  freerunonlocke r.co .uk            Group L
Aretha Johnson                service2@storelinkmail .com    airmaxsneaker90.co.uk                Group L
Ba Fang                       sin.tong@hotmail.com           j ordan-taiwan .com                  Group L
                              sshopping8090@hotmail.com      nike666.com
Bonny Loposser                bonnjonl@yahoo.com                                                  Group L
                              wholesalejerseys@ec8j.com
Cai Cigui                     sin.tong@hotmail.com           sport-tw.com                         Group L
Cai LiMing                    paylessnfljerseyswholesale@gma authenticjerseyssupplierelite.com    Group L
                              il.com                         authenticjerseyssuppliersa.com
                              nfljersey2010@yahoo.com        authenticjerseyssupplierscheap.c
                              ldd@dingdian.cn                om
                              rqb@dingdian.cn                authenticjerseyssuppliershop.co
                              elitejerseyss@qq.com           m
                              doorjerseys86@hotmail.com      authenticjerseyssuppliersswholes
                              nfljerseys2000@gmail.com       ale.com
                              fsdgdsg@qq.com                 cheapjerseyswholesaleshop.com
                              nikepuma-2@hotmail.com         cheapjerseyswholesalesupplier.c
                              nikepuma-l@hotmail.com         om
                              jerseyscommunity@hotmail.com doorjerseys.com
                              selloffmlbgqq.com              elitecheapnflj erseysauthenticshop
                              sale@shoxvs.com                 .com
                              jersey2008@tom.com             elitejerseyssuppliers.com
                              fsafsagsg@qq.com               elitenfljerseyscheap.com
                              kundeservice@skounion.com      fashiongoods.cc
                              kundeservicegostyler.com       footballjerseyssuppliers.com
                              kundeservice@sneakerno.com     heelsko.com
                              sellysnow2046@outlook.com      jerseyauthenticcheap.com
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                                                              nfljerseywholesaleauthentic.com
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                                                              sportsjerseysauthenticcheap.com
                                                              stitchedjerseyssuppliers.com
                                                              topsportsjersey.com
                                                              wholesalenfljerseysauthentic.co

                                                              hiphopiop.cc
                                                              yingsoccer.com
Changqing Lin                linchangqing7602@yahoo.com.c     shoesspring@hotmail.com              Group L

Chaokevin Lebron             1309624870@qq.com                freeruns-tn-au.com                   Group L
                                                              noschaussuresfr.com
Chen Guo Jing                wiles@35zh.com                                                        Group L
Chen Yuanming                repdavid2009@hotmail.com         cheapreps.us                         Group L
                             Davide al2009@hotmail com        jordanmyth.us
                                                              exsneaker.us
Chen, Mingjin                airmaxyouneed@hotmail.com        airmaxsshop.co.uk                    Group L
Chen, Suzhen                 globe-trade@hotmail.com          reebokdepot@hotmail.com              Group L
Chen, Weifang                274024654@qq.com                 274024654@qq.com                     Group L
                             shuaistrade@hotmail.com          jerseysmember@hotmail.com
Chen Tong                    Nikes4wholesale@yahoo.com.cn     thenikeairmaxclassics .com           Group L
Chen Weizu                   shoesclothingcheapor@gmail.co    j erseysauthenticwholesaleauthent    Group L
                             m                                ic.com
Chenye Yang                  rqb@dingdian.cn                  elitenfljerseyscheapshop.com         Group L
Chunhai Song                 see ij erseys@gmail.com          greenbaypackersjerseys.com           Group L
                             j erseys-goodsusa@hotmail .com   newredskinsjerseys.com
                             see ij erseys @gmail .com        patriotsjerseysfreeshipping.com
                                                              seeijerseys.com
                                                              steelersjerseysforsale.com
                                                              superjerseysaol.com
Creshnaw, Andrew             interscopedemo@gmail.com         hiphopiop.ru                         Group L
Dai Jian Zhong               reebokdepot@hotmail.com          newnikejersey.in                     Group L
Danilo Yambao                fcvfsde0@yahoo.com               freerunshoponline .com               Group L
David Stevens                cheapsky2010@hotmail.com         jerseyslist.info                     Group L
                             sophieyuan3448@yahoo.com.cn      jerseystalk.info
                             shoesspring2003@hotmail.com
                             shoesbagschina88@gmail.com
                             jerseystops@gmail.com
Deng Xiao Jun                 1416658427@qq.com               niketw-2011.com                      Group L
Ding, Yi Na                  salegogol@hotmail.com            yingsoccer.com                       Group L
                             nfljerseys2000@gmail.com         jerseyswholesaleauthenticelite.co    Group L
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                                service3@storelinkmail.com       blazersnuk.com                  Group L

                                service2@storelinkmail.com       fshoesuk.com                    Group L

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                                 mylove198101@hotmail.com         sophieyuan3448@yahoo .com.cn
                                 businessonlinexyz@hotmail.com
                                 branngddd@hotmail.com            nikepuma-l@hotmail.com              Group L
Zheng Jin Tao
                                                                  TOTAL AWARD (Group L)             $25.9 million




                                 bbbpppkkk@yahoo.com              www.nikefreeruns-factory.com       Group M
Guang Zhou                       gzicnet@qq.com                   www.nikefreerunsfactory.com        Group M
Jingmei Zhou                     bbbpppkkk@yahoo.com              www.airjordanfrance.com            Group M
                                                                  www.nikefreeruns-factory.com
Rebeca Fosburgh                  lorenjin@hotmail.com             nikekobe-8.com                     Group M
                                                                  nike-lebron10.com
                                 globaltradeclubs@gmail.com       nikefreerunsfactory.com            Group M
Yan Li Fang
                                                                  TOTAL AWARD (Group M)             $22.5 million




Bi Ning Zhuo                                                      www . fre erunlinea. com           Group N
Chen Qing Wen                    shellycorall@yahoo.com                                              Group N
Chen Zusong                      trendslandy@yahoo.com                                               Group N
Huang Jian Ping                  Valdiviacaa@gmail.com                                               Group N
Jian Ping Huang                  Valdiviacaa@gmail.com            Valdiviacaa@gmail.com              Group N
JIANG LIN                        answer.online7@gmail.com         www . fre erunline .com            Group N
NAN CHEN                         answer.online7@gmail.com         www.freerunstoreus.com             Group N
PING LI                          answer.online7@gmail.com         www . fre erunline a. com          Group N
Qing Wen Chen                    shellycorall@yahoo.com           shellycorall @yahoo .com           Group N
Tie Ning Zhuo                    ningtie @yahoo .com              ningtie @yahoo . com               Group N
                                 answer.online7@gmail.com         freerunzone.com                    Group N
Zhuo Tie Ning                    ningtie @yahoo .com                                                 Group N
Zusong Chen                      trendslandy@yahoo.com            shellye silve r. com(fop clean)
                                                                                            .        Group N
                                                                  www.freerunzone.com
Jiang Lili                                                        www.cheapnikeairmax-mart.com       Group N
                                                                  TOTAL AWARD (Group N)             $21 million




                                 terrycn@live.cn                  cheapairjordansshoes2013.com       Group 0
                                 tomj ayjay1986@gmail .com                                           Group 0
                                 tomj ayjay1986@gmail .com        cheapsportsj erseys2013 .com       Group 0
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                                    terrycn@live.cn                 nikefreeshoesmall.com           Group 0
                                    terrycn@live.cn                 www.cheapsoccer-mall.com        Group 0         I




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                                    551907714@qq.com                www.thailandjerseystore.com     Group 0
    Huang Hui                       Eleanore147@hotmail.com         cheapsportsjerseys2013.com      Group 0
    Jack Wu                         love shophere@l63 .com          wheretobuysoccerjersey.net      Group 0
                                    terrycn@live.cn                 basketballmart365.com           Group 0
                                    tomjayjay1986@gmail.com         cheapairmaxshoesale2013.com     Group 0
                                    tomjayjay1986@gmail.com         www.2013 shoe sairmax.com       Group 0
                                    tomjayjay1986@gmail.com         www.shoesnikemall.com           Group 0
                                                                    www.cheapsoccer-mart.com        Group 0
    Qingshi Fang                    551907714@qq.com                www.soccerjerseytown.com        Group 0
    Shannon Bennett                 terrycn@live.cn                 basketballmart24.com            Group 0
                                                                    www.cheapairjordans-mart.com
    Shiyu Xu                        airmax-shop@hotmail.com                                         Group 0
    Winchester Dean                 tomjayjay1986@gmail.com         cheapairmax12.com               Group 0
                                                                    cheaperjersey2013.com
    tin                             Cecilia-meme@hotmail.com         cheaperjersey2013.com          Group 0
    Chen Bi Juan                    Beatrice-barbar@hotmail.com
    f4                              Wallislevel@hotmail.com         cheapairjordansshoes2013.com    Group 0
    Xu Li Li
    Mt                              johnxu1310@hotmail.com          cheapairjordans-mart.com        Group 0
    Xu Shi Yi
    V445t                           terrycn@live.cn                 terrycn@live.cn                 Group 0
    Xu Jin Tian                     micshoes@hotmail.com
                                    elinsale@gmail.com
                                    joz.christian@gmail.com
                                    uggnet@hotmail.com
    ILLS                            yoyo shoe s3 @gmail . com       terrycn@live.cn                 Group 0
    Yu Zhi Qiang                    coctrade @yahoo .com
                                    pay@australiauggshop.com
                                    yoyo shoe s3 @gmail . com
                                    CVV2008@hotmail.com
                                    trade1848@yahoo.com
                                    ccv2008@hotmail.com
                                    ccygoods@hotmail.com
                                    tradecn86@yahoo.com
                                    cnpaypal@foxmail.com

    V                               martinpettersson86@hotmail.co                                   Group 0
    Xu Zhi Qiang                    m
    5i                              Irmare2341@hotmail.com          basketballmart24.com            Group 0
    Jiang Rong Rong
    33i                             Susiesuke@hotmail.com           cheapsportsjerseys2013.com      Group 0
    Huang Shu Zhen                              A
    N /1 5                          Rachelmeris@hotmail.com         cheaperjersey2013.com           Group 0
    Xiao Xiao Ping
        _                                       I                   TOTAL AWARD (Group 0)          $26.8 million



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                              customerservice.ly@gmail.com         www.airmax90uksales.co.uk             Group P
                                                                   www.airmaxofficialshop.co.uk
Drew Pietan                   customerservice 0 E@gmail .com
                                               .                   www . airmaxstoreuk . co .uk          Group P
James Douglas                                                      www.airmax90uksales.co.uk             Group P
Joe Austin                    customerservice.0E@gmail.com         www.airmaxstoreonline.co.uk           Group P
Julie Lochhead                                                     www.air2013ukshop . co .uk            Group P
Kerry Bolton                                                       www.airmax2013ukshop . co .uk         Group P
Lauren Darke                                                       www.airmaxofficialshop.co.uk          Group P
                                                                   TOTAL AWARD (Group P)               $18.5 million




Kendrickvery PT                                                    www.oykununsesi.com                   Group R
                                                                   www.payfororder.com
Haima Xuan                    csj527581746@163.com                 oykununsesi .com                      Group R
                              uncboxing@gmail.com                  uncboxing.com
                              nikefreerunsaleservices@gmail.c      nikefreerunsalesaustralia.com         Group R
                              om                         L
Lisu Motol                    nikeairmaxcheapsales . co . uk@gm    nikeairmaxcheap sale s . co .uk       Group R
                              ail.com
                              billigenikefreerunskodk@gmail.c      billigenikefreerunskodk.com           Group R
                              om
                                                                   TOTAL AWARD (Group R)               $28.6 million



       NAME                   EMAIL                                DOMAIN NAME                           GROUP

                              whole salej erseyscenter@gmail.c     www.nflj e rsey sweb site .com        Group S
                              om
AUSTIN GATES                  whole salej erseyscenter@gmail . c   www.cheapj erseysbusiness .com        Group S
                              om
Cai Fengwei                   dannynelms@l26.com                    I                                    Group S
ChangYong Yang                vaildcalm@ho tmail .com                                                    Group S
Chen Xicheng                  troyblume@hotmail.com                                                      Group S
GREEN BROWN                   whole salej erseyscenter@gmail.c     www. . chine seunderj erseys .com     Group S
                              om
Guo Chunpeng                 j effhamilton668@gmail .com                                                 Group S
Guofu Zhang                   ericaceballo se @yahoo .com          di scountj e rseys . us               Group S
Hang Chen                    j ameshill13@                                                               Group S
                              hotmail.com
Holly Gasser                  whole salej erseyscenter@gmail.c     www. supplyj erseys .us               Group S
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Huang Huayou                    MelissaBarte1107@yahoo.com                                               Group S
Huang Xiaoqiu                   helendesotell@l63.com                                                    Group S
JianXian Zheng                  butshopping@hotmail.com              cheapgamej erseys . us              Group S
                                lovegamej erseys@gmail.com
Li Renfen                       renfen86@gmail.com                                                       Group S
Li Yangyang                     brandandelfino@gmail.com                                                 Group S
Li Yayun                        nitatimberlake@l63.com                                                   Group S
Lin Qingfeng                    farrokhnej adlotfi @yahoo .com                                           Group S
Liu Meihua                      stevensalcedo s @yahoo .com                                              Group S
Lizhu Ma                        nancycainly@yahoo.com                                                    Group S
Louisa Kornbergin               butshoppingonline@gmail.com         nflchinaj erseys . us                Group S
Luo Qiuhua                      atthewconney@hotmail.com                                                 Group S
Lv Huiwu                        michaelwindebanker@yahoo.co                                              Group S
                                m
Meiyan Liu                     butshoppingonline@gmail.com          butshoppingonline@gmail.com          Group S
                               butshoppingonline@gmail.com          cheap sportsj erseys .us             Group S
                               butshoppingonline@gmail.com          sportsj erseyswhole sale .us         Group S
Qin Yao                        j ohondiller@yahoo .com                                                   Group S
QUNAR LEE                      whole salej erseyscenter@gmail.c     www . cheapj erseyssupplybusine s    Group S
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                                underj erseys@gmail .com            www.jerseyssalemarket.com            Group S
Renfen Li                       renfen86@gmail.com                  supplyj erseys .us                   Group S
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                                whole salechinacenter@gmail . co    www.jerseysonly.us                   Group S
                                m
Shen Qingshui                   ellalynn16@gmail.com                                                     Group S
Shengze Yang                    mindyevans@l63.com                                                       Group S
Shijie Chen                     shinsakuonline@hotmail.com              1                                Group S
Tingting Xia                    wienfieldtibbs@l26.com                                                   Group S
Tong Zhenggang                  Brooke Sprang 707@yahoo .com                                             Group S
Wang Fulong                     luciapatell@yahoo.com                                                    Group S
Weng Yanchun                    maryannrodriguez@126.com                                                 Group S
                                butshoppingonline@gmail.com         chinanflj erseys .us .com            Group S
                               whole salej erseyscenter@gmail.c     NflJerseysWeb site .com              Group S
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Wu Yan                          online store sunglas se s @gmail . co                                       Group S
                                m
Xiaosi fu                       williamkinnaman@yahoo.com               nflj ersey sweb site .com           Group S
YanFen Weng                     butshopping@hotmail.com                                                     Group S
Yang Haiqi                      ChrisGagne42@yahoo.com                                                      Group S
Yang Rong'e                     robertdostt@yahoo.com                                                       Group S
Yanqing Zhu                     linneahedgecock@yahoo.com                                                   Group S
Yuan Xiaoyan                    rebeccasansberry@yahoo.com                                                  Group S
Zelda Spingarn                  whole salej erseyscenter@gmail.c        www.cheapnikej erseysdeal . us      Group S
                                om
zhang guofu                     e ricaceballo se @yahoo .com                                                Group S
Zhang Shan                      nancy20easy@yahoo.com                                                       Group S
Zhao Zeying                     daviddunn813@yahoo.com                                                      Group S
Zheng Limei                     zhenglimeipp@gmail.com                                                      Group S
Zheng Yuefen                    PatriciaPlatt707@yahoo.com                                                  Group S
Zhong Zhenning                  hattiknoppot@yahoo.com                                                      Group S
Zhou Dadi                       whole salej erseyscenter@gmail.c        www.jerseywholesalej erseys .us     Group S
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fg                              cheap 6688@hotmail .com                 cheap sportsj erseys .us            Group S
Chen Jun Xian
AA0                             jiumeiwu53@gmail.com                    supplyjerseys.us                    Group S




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Wu Jiu Mei                                                              www.nfl-cheap-j erseys.com
                                sobypal@gmail.com                                                           Group S
Wu Song Ye
                                yume ilili 62 @hotmail .com                                                 Group S
Li Yu Mei
T*                              2010gaohaizhu@gmail.com                 supplyjerseys.us                    Group S
Gao Hai Zhu                                                             nflreebokj erseys .com
                                                                        www.andhf.com(shell)
                                2010gaome iying@gmail scorn             supplyjerseys.us                    Group S
Gao Mei Ying
                                greenville29649@gmail.com               gieyel.com(offline)                 Group S
Gao Hua Ying                                                            www.andhf.com(offline)
                                                                        www. supplyj erseys.us(BC,need
                                                                        PW)
                                                                        TOTAL AWARD (Group S)             $12.2 million



       NAME                     EMAIL                                   DOMAIN NAME                         GROUP

Meion Online Store                                                      www.buyrealcheapj ordans .com       Group T
                                                                        www.fashionpay.com
Diante Johnson                  findnewfacelook@hotmail.com             airj ordan6 s sale .com             Group T
                                FashionJordanSky@gmail.com              airj ordans 11 s sale .com
                                lei surej ordankicks@gmail .com         authenticj ordan2013 sale .com
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                                                               j ordan6 sale .com
                                                               jordansale2014.com
Imogen Lockhart               doradvca@hotmail.com             allnewjordans.com                  Group T
                                                               cheapj ordansbuynow.com
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                                                               cheapzjordan.com
                                                               new-jordans .com
                                                               newjordanstore .com
                                                               nikeairmaxs .co .uk
Latin Malin                   findnewfacelook@hotmail.com      authenticj ordan2013 s sale .com   Group T
                              lei surej ordankicks@gmail.com   buyjordans2013sonline.com
                                                               buyj ordansonline sales .com
Malik Davis                   malikwwf@hotmail.com             www.thejordan4s.com                Group T
Rene Paley                    meyerjpat@hotmail.com            airj ordanretroiv.com              Group T
                              findnewfacelook@hotmail.com      buyjordans2013forsales.com
                              paley444666@yahoo.com            buyj ordanscheaponline .com
                                                               buyj ordansforcheaponline .com
                                                               buyrealcheapjordans .com
                                                               buyretroj ordansforsale .com
                                                               cheapsauthenticjordans.com
                                                               cheapsj ordanoutlet.com
                                                               j ordanshoesonlines .net
                                                               onlinebuyairjordans .com
Smith Chen                    findnewfacelook@hotmail.com      top sports store .com              Grouu T
Tracy Driver                  gilmercbqwwf@hotmail.com         www.thejordanair.com               Group T
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                                                                                           Group U
Tim Rhudy                      lessspam42@gmail.com         www.authentic-jordans.us       Group U
                               colepenam@gmail.com          cheapjordanllbred.us
                                                            jordansl3hegotgame.org
                                                            obj ordans .com
                                                            bredllscheap .us
                                                            bredsllforsale .us
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                                                            cheapj ordanllbred. org
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                                                            jordanl3hegotgamel3s.org
                                                            j ordan13 shegotgame .net
                                                            j ordan13 shegotgame .org
                                                            cheapjordanbredll.us
                                                            jordanl3hegotgamel3s.us
                                                            jordansl3hegotgame .us
                                                            TOTAL AWARD (Grout U)        $17.6 million



                                                                                           GROUP

Jinhui Zheng                                                www.shopuq.com                 Group V

Zheng Jinzhao                                               www.shopuq.com                 Group V

                                                            www.tradeut.com                Group V
                                                            tradeak.com                    Group V
Chen Min                       topbrarig@hotmail.com        echeapshoes@hotmail.com        Group V
                               inttopshopl@hotmail.com      www.echeapmk.com               Group V
Jinhui Zheng                   enikeshopl@yahoo.com         www.brandyz.com                Group V
                               topbrand-ol@hotmail.com      www.shopuq.com
                               inttopshopl@hotmail.com
Meixia Zheng                   inttopshop@hotmail.com                                      Group V
Pin Pai51                      echeapshoes@yahoo.com        www.cheapdk.com                Group V
                               enikeshopl@yahoo.com         brandpo.com
                               trade381@hotmail.com         brandnk.com
                               inttopshop@yahoo.com         shopaab .com
                               cheapshoesa@aliyun.com       cheapdk.com
                               740120070@qq.com             cheapbn.com
                               brandol@yahoo.cn             shoesob.com
                               brand-ol@,yahoo.com          shoeseb.com
                                                                                           Page 27 of 33
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Weng Tian Rong
                                              I
                                       brggingg@hotmail.com
                                       inttopshop@hotmail.com
                                                                     brandnn.com
                                                                     www.cheapbn.com
                                                                     www.brandcn.ru
                                                                                                    Group V

Zheng Jinhui                           inttopshopl@hotmail.com       www.shopyny.com                Group V
ZhiXiong Huang ZhiXiong                sdfasdfa@net.com              echeapshoes.com                Group V
Huang ZhiXiong Huang
ZhiXiong Huang ZhiXiong
Huang
                                       961393468@qq.com              brand-o166@hotmail.com         Group V
Zhang Jiu Chu
           ,,i,.
..&.
 .7,F.J. -1=1                          cheapb2b@yahoo.cn                                            Group V
Zheng Jin Hui                          nikepumaaa@yahoo.cn
                                       bagssell@yahoo.cn
                                       etopshopl@hotmail.com
                                       bestbrand51@hotmail.com
                                       brand-o188@hotmail .com
                                       fashion777-2@hotmail.com
                                       inttopshopl@hotmail.com
                                       trade381@hotmail.com
                                       brand-o177@hotmail.com
                                       etopshop3@hotmail.com
71<                                    740120070@qq.com             740120070@qq.com                Group V
Chen Shui Lian                         trade381@hotmail.com         trade382@hotmail.com
t.:1                                   brggingg@hotmail.com         inttopshop@hotmail.com          Group V
Weng Tian Rong
A :=P.,                                980965093@qq.com              enikeshop@yahoo.cn             Group V
Weng Qing Zhong
t.:1 ttopbrand-of@hotmail.com                                       echeapshoes.com                 Group V
Weng Qing Yun                          etopshop5@hotmail.com        www.cheaperol.com
                                       brand512@hotmail.com         wwwjeansb2b.com(no violation)
                                       trade383@hotmail.com         topbrand-ol@hotmail.com
                                       brando155@hotmail.com
                                       etopshop2@hotmail.com
                                       bragggdd@hotmail.com
                                       topbrand-ol@hotmail.com
                                       cheapb2b@yahoo.cn            trade382@hotmail.com            Group V
Zheng Jin Hui                          fashion777-5@hotmail.com     trade381@hotmail.com
                                       etopshopl@hotmail.com        trade381@hotmail.com            Group V
Zheng Jin Zhao                         brand-o188@hotmail.com
                                       inttopshopl@hotmail.com
                                       brand-o177@hotmail.com
                                       bestbrand51@hotmail.com
                                       trade381@hotmail.com
                                       brand-o166@hotmail.com
                                       enikeshop@hotmail.com
                                       brand511@hotmail.com
                                       trad381@hotmail.com
                                       inttopbrand@hotmail.com
                                       brando188@hotmail .com

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           Case    1:13-cv-08012-6AIS Mourffeeit163713
                1:13-cv-08012-CM-DCF    Document 211-67Fifikeld10620M5  Flagge7303V128
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                               sneakers2013@gmail.com          www.max-2013.com                Group W
Canganic Kong                  nikesneakersusstore@gmail.com   jordan11-us.com                 Group W
                               lebronlObasketball@gmail.com    j ordan5 -us .com
                               customerserviceonlinenow@gma    j ordanshoesusshopping .com
                               il.com                          nikeairmax2014new.com
                               lebronlObasketball@gmail.com    nikedunkfanatics .com
                                                               nikedunkhighfanatics .com
Dmmeli Duhaime                 customerserviceonlinenow@gma    airj ordanretrosbox.com         Group W
                               il.com                          hotairjordan13.com
                               hotairjordan13@gmail.com        hotairjordanretro.com
                               hotairjordanretro@gmail.com     jordanretroshoesinthebox.com
                               emmeliduhaime3502@hotmail.c     j ordanretrostation.com
                               om
                              jordanretrostation@gmail.com
Fanskel Lemuel                 Sneakers2013@gmail.com          www.dunkhigh2013.com            Group W
                                                               www.new2013airmax.com
Howard Linsa                  nikesneakersusstore@gmail.com    2013j ordanretros .com          Group W
                              jordanretrostation@gmail.com     airj ordaniv-us .com
                                                               jordanretro4-us.com
Jackson Smith                 customerserviceonlinenow@gma     jordanretrohot.com              Group W
                              il.com                           www.lebronxi2014s.com
                              Nikesneakersusstore@gmail.com
Jesus jimenez                 Sneakers2013@gmail.com           www.2013sbdunk.com              Group W
John Peir                     nikesneakersusstore@gmail.com    2013j ordanretrobox. com        Group W
                              j ordan132013 store @gmail com   jordan13-2013.com
                              johnpeir@gmail.com               jordanreto2013.com
                              nikesneakersusstore@gmail.com    retrosjordan13.com
                              Retrosjordan13@gmail.com
Join Lin                      linjian891022@gmail.com          airjordan5style.com             Group W
                              nikesneakersusstore@gmail.com    airj ordangetall .com
                              Sneakers2013@gmail.com           j ordan 11 available .com
                              Sneakers2013@gmail.com           j ordanllconcordbox. com
                              Nikesneakersaler@gmail.com       j ordanllcoolgreybox. com
                              Sale@airmax2013box.com           j ordanllfanatic s. com
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                                                               jordan4oreobox.com
                                                               jordan5shoes2013style.com
                                                               jordan5sretrosale.com
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                                                               jordanretro2014.com
                                                               j ordanretrofanatics .com
                                                               www.max-2013.com
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                                                                    nike-factorystore.com
                                                                    www.airmax2013box.com
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                                                                    www.lebronlOinstock.com
                                                                    jordanretroget.com
                                                                    www.womensjordan3.com

Mabelle We ig                  nikesneakersusstore@gmail.com        airjordan5-firered.com           Group W
                               airforce onelowbox@gmail .com        airjordan6retail.com
                                                                    j ordan13 shoe sretail .com
                                                                    soccercleatsnew2013.com
                                                                    newairjordan3firered.com
                                                                    jordan5retail.com

Marshall Matthew               nike sneake rsus store @gmail. com   nikeairmax9Ocheap.com            Group W
                                                                    nikeairmaxfanatic s .com
                                                                    nikedunkhighforcheap .com
                                                                    nikesbfanatics.com

Nian Hua                       nianhua.t@gmail.com                  2013bredlljordans.com            Group W
                               addjordanshoes@gmail.com             addj ordanshoe s .com
                               hotjordanshoessupermarket@gm         airjordanspecialsale .com
                               ail .com                             airj ordanus store . com
                               nikesneakersusstore@gmail.com        bredllj ordans .com
                               jordanshoesstation@gmail.com         bredjordanshoes.com
                               Sneakers2013@gmail.com               bredjordans-us.com
                                                                    hotjordanshoessupermarket.com
                                                                    j ordan l lbasketball .com
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                                                                    jordan3fireredbay.com
                                                                    jordan5basketball.com
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                                                                    jordansbred-us.com
                                                                    www.redjordanll.com
                                                                    jordanshoesfanatics.com
                                                                    j ordanshoe s station. com
                                                                    jordansspecialsale.com
                                                                    newretrojordan.com
                                                                    nikej ordan l lbred. com
                                                                    www.378037-010.com
                                                                    www.dunklowinthebox.com
                                                                    Sneakers2013@gmail.com
                                                                    www.lebronl0fans.com
                                                                    www.lebronshoesofficialshop.co
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          Case    1:13-cv-08012-6AIS Mourffeeit163713
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                                                               www.offerjordan4.com
                                                               jordanshoes2014.com

Nicol Duchaine                customerserviceonlinenow@gma     2013j ordansretro .com          Group W
                              il.com                           ejordanretrobox.com
                              nicolonline@hotmail.com          j ordanretrofans .com
                              nikesneakersusstore@gmail.com    j ordanretrogameshoes .com
                              Service sonlinenow@hotmail .co   j ordanretroshoes-us .com
                              m                                j ordanstore-us .com
                              Dunkhighkicks@gmail.com          www. 13 -retro .com
                                                               www.buyairjordan-us.com
                                                               www.dunkhighkicks.com

Nikolaj Chernets              Sa1e@offerairmax90.com           offerairmax90.com               Group W
Peir Junck                    johnpeir@l63.com                 2014retrojordan.com             Group W
                              customerserviceonlinenow@gma     airmax2014running.com
                              il.com                           ajasale .com
                              johnpeir@163.com                 jordanretrofor2014.com
                              sale@freerun3sshoes.com          jordanl 1 laneyfor2014.com
                              sale @j ordangalaxyshoes scorn   jordanl3retrofor2014.com
                              servicesonlinenow@hotmail.com    jordan3retrofor2014.com
                              Sale@offerbasketballshoes.com    jordan4retrofor2014.com
                              Sneakers2013@gmail.com           jordan5retrofor2014.com
                                                               j ordangalaxyshoes .com
                                                               jordanretroshoesbay.com
                                                               jordanretroshoesfans.com
                                                               freerun3sshoes.com
                                                               j ordanretrosneakerssale .com
                                                               jordans2013.com
                                                               lebronll-us .com
                                                               newairmax2014running.com
                                                               nikeblazer-fr.com
                                                               nikefree-denmarkstore .com
                                                               nikemercuria12014soccer.com
                                                               offerbasketballshoes .com
                                                               ownbasketballsneakers.com
                                                               bred-11.com
                                                               www.jordanllbredbox.com


Sale Jordaner                 nikesneakersusstore@gmail.com    enikesneakersbay.com            Group W
                              Sale@dunkhighsneaker.com         www.dunkhighsneaker.com
                              Sale@sbdunklow.com               www.sbdunklow.com

Shinsaku Drock                customerserviceonlinenow@gma     2013retrojordanbox.com          Group W
                              il.com                           airj ordanretroshoesbox.com
                              shinsakuonline@hotmail.com       foampositeonekicks.com
                              Sneakers2013@gmail.com           retrojordaninthebox.com
                                                               www.highdunkshoes.com

Tang Nianhua                  NianHua.T@gmail.com              NianHua.T@gmail.com             Group W

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           Case    1:13-cv-08012-6AIS Mourffeeit163713
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                               Servicesonlinenow@hotmail.co    www.airmax2013boxes.com             Group W
                               m
Wu Qingfeng                    efashionbiz@hotmail.com         nike-factorystore .com              Group W
Zeynab Bstalvey                zeynabstalvey@gmail.com         airj ordan3-firered.com             Group W
                               customerserviceonlinenow@gma    www.soccercleatscity.com
                               il.com                          getjordanretro.com
                               nikesneakersusstore@gmail.com   hotjordanretro4.com
                                                               hotjordansretro.com
                                                               j ordan l lnewrelease .com
                                                               jordanllrelease2013.com
                                                               jordanllretail.com
                                                               jordanretrocity.com
                                                               j ordanretroretails.com
                                                               airj ordanlowshoes .com

Mt                             linjian891022@gmail.com         linjian891022@gmail.com             Group W
Lin Jian
**A                            NianHua.T@gmail.com                                                 Group W
Nianhua Tang
                                                               TOTAL AWARD (Group W)              $30 million




                               nikefair@msn.com                www.cheapestlebron10.com            Group X
CHEN KUN                       Nikefair@msn.com                cheapnikelebrons .com               Group X
                               254740383@qq.com                www . cheaplebron10 s tar. com
                                                               www.cheapslebronll.com
                                                               www.lebronllcheap.com
                                                               www.salecheaplebron10.com

CHEN YU                        Nikefair@msn.com                www . cheaplebron10 shoe . com      Group X
                               1939762843@qq.com               www.lebronlOcheaps.com
Gao Wei                        Nikefair@msn.com                www.cheapestlebron10.com            Group X
                                                               www . cheap slebron10 . com
Kun Chen                       254740383@qq.com                cheapsnikefree.org                  Group X
QIU JING                       Nikefair@msn.com                salecheapnikefrees .com             Group X
Xianghang003 Lin               Bestfreeruns@hotmail.com        nikecheaprun.com                    Group X
ZHOU KAI                       Nikefair@msn.com                billigenikefrees .com               Group X
                               1939762843@qq.com               cheaplebron.org
                               Bestfreeruns@hotmail.com        cheaplebronlOnike.com
                                                               cheapnikelebronlOshoe.com
                                                               nikefoampositecheap.net
                                                               nikelebron l Ocheap.com
                                                               salecheapnikes .com
                                                               www.gofreeruns.com
                                                               www.cheaplebron.org
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                                                               www.cheap-lebrons.com
                                                               www. . cheap sale lebron10 . com

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                                                            www.cheapsfoamposite.com
                                                            www.freerunsinusa.com
                                                            www.bestlebronshoes.com

                                                            TOTAL AWARD (Group K)              S21.7 million




                              hotaiijordan13ggmail,corn     w-ww.hotairjo rdan 1 3 .com         Group Y
                                                            TOTAL AWARD (Group Y)              $15.1 million




Shan Peter                                                  w-ww.clieapuk-niketrainers.co.uk     Group Z
Chengfei Bei                  beichengfei@yeah.net          billignikeairmaxnorge.com            Group Z
                                                            TOTAL AWARD (Group Z)              $15.1 million




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            EXHIBIT 3
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                       Defendants by Group and Associated Bank Accounts

                                   PAYPAL ACCOUNT INFORMATION
                                       DEFENDANTS - GROUP A
    PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)                      GROUP A
 Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                              Account
a                                   yanuolv@yahoo.com.tw                                                  Group A
Dong Hong Lun
Lin Zheng Yu                          ebrand123@hotmail.com                                               Group A
                                      tradingspring@hotmail.coin

                                                                                TOTAL AWARD (Group A)     $84.2 million
                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 45 of 222
                         alemell1133TAKIEWI V? CMS DOnoin entra 331- 4 F   92/29/715 P .N114   853 aEff 142E8




                                             DEFENDANTS - GROUP C
     PayPal          PayPal               Email Address(es)/Domains        Bank Account(s)                      GROUP C
  Account Name   Account Number             Associated with PayPal  Associated with PayPal Account
                                                   Account
Zhan Cuibin                             onlinebizdiscount@gmail.com                                             Group C
Rick Li d/b/a                           billing@163.ca                                                          Group C
163.CA Inc.                             rick@l63.ca
                                        support@tongyong.net
                                        temp@phytocanada.corn

Wei Huangjie                            paypa18868@gmail.corn                                                   Group C


                                        bizfrom2003@gmail.com                                                   Group C
Zhan Cui Bin

Zhan Ruping                             ppzhanruping@gmail.com                                                  Group C




Chen Bingchao                           ppsalediscount@gmail.com                                                Group C


Wei Huangjie                            paypa1888999 i gmail.com                                                Group C
                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 46 of 222
                         alemell1133TAKIEWI V? CMS DOnoinentra331-4FiRiltd92/29/715 P   861(Iffi4293




                                          DEFENDANTS - GROUP C
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)                GROUP C
  Account Name   Account Number           Associated with PayPal  Associated with PayPal Account
                                                 Account
                                       paypalbank@l26.com
                                       whjsoft@126.corn
                                       shoxtn@hotmail.corn
Wei Huangjie                           paypalbank3@gmail.com                                           Group C
                                       paypalbank3g126.com


Fan Zhangmu                            588327030@139.com,                                              Group C
                                       orderservices@live.corn
                                       manningso@yahoo.corn
Yue Manager                            sellmanageridw@hotmail.com                                      Group C
Wei Huan,*ie                           paypa18889994139.com                                            Group C
Zhan Cuibin                            paypalbank2g126.com                                             Group C
                                       paypalbank2@gmail.corn
                                       dawintea@msn.corn
Toni Wu                                sellmanageridb@hotmail.com                                      Group C
bingchao Chen                          nikeairforcecentral.com                                         Group C
Huan ie Wei                            paypa1888999@139.com                                            Group C
                                                                               TOTAL AWARD (Group C)   $67.1 million
                                                                                                                       Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 47 of 222
                               aleme121133 issAMYffri V? CMS DOnoin entra 331- 4 F   CIBEIM/715 P   8Zaif 142E8




                                                  DEFENDANTS - GROUP D
           PayPal          PayPal               Email Address(es)/Domains        Bank Account(s)                  GROUP D
        Account Name   Account Number             Associated with PayPal  Associated with PayPal Account
                                                         Account
ii`_,-                                         paysnice@hotmail.com                                               Group D
Lai Li Ying
Benjamin Wilson                                 3WN69931GW723084L@                                                Group D
                                                dcc.paypal.com
                                               jiessie@vip.qq.com
ALP.                                           processokpays@live.com                                             Group D
Ren Zhi Min                                     corporationpays@hotmail.com
Zhan Fen. Chun                                 buypayonline@hotmail.com                                           Group D
Liu Zheng Bin                                  managepays@hotmail.com                                             Group D

Ren Qing Huang                                 toppaysline@live.com                                               Group D
                                               fastestpayslines@live.com

Yu Bin Bin                                     ebaupays@hotmail.com                                               Group D
i LIN   it                                     payonlines@hotmail.corn                                            Group D
Ren Zhi Tong
Song Yong Gan                                  parypays live.com                                                  Group D
Ren Guo Ying                                   annelaw2012@live.com                                               Group D
                                               annelaw2012@hotmail.com
                                               prosalepays@live.corn
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                        alme111133TAKIFffri122CSAS DOnoin entra 331- 4 F   aVe/2a/715 P .N114 8   aEff




                                          DEFENDANTS - GROUP D
    PayPal          PayPal               Email Address(es)/Domains        Bank Account(s)                GROUP D
 Account Name   Account Number            Associated with PayPal   Associated with PayPal Account
                                                 Account
                                       prosalepay@live . corn
a                                      huyuiifi5@l26.com                                                 Group D
Shi Hua                                jsadas12@yeah.net
                                       znjaid@sina.com
                                        guotradesusuxianxian@hotmail
                                       .com
                                       tbs@prc-oem.com
                                       huayiss5@yahoo . corn
                                       huayzuigyahoo.com
                                       j iessie@vip. qq. corn
                                       yauaa22@yahoo. corn
                                       2696925368@qq. corn
                                       S pragueneniTho mas @gmail. co
                                       m
                                       tbs520520@163.com
                                       supportsser@hotmail. corn
                                       shuang1203@gmail. corn
                                       we iwe igb as p2@hotmail. corn
                                       kai shuntb s@l63. corn
                                       a7741551ggmail.com
                                       miloomservice@gmail. corn
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                               alemell1133TAKIEWI V? CMS DOnoinentra331-4FiRiltd92/29/715 P ,r;:4 8g aEff 14293




                                                   DEFENDANTS - GROUP D
     PayPal                PayPal               Email Address(es)/Domains         Bank Account(s)                  GROUP D
  Account Name         Account Number             Associated with PayPal   Associated with PayPal Account
                                                          Account
                                               592536808@qq.com
                                               qianzhifei@hotmail.com
                                               seoeasy@hotmail.com
Ren Zhi Ton:                                   shoppingcartpay@hotmail.com                                        Group D
Zhan: Fen: lan                                bestypays@live.com                                                  Group D
Ren Zhi Ton:                                   okpays@live.com                                                    Group D
Ren Zhimin                                     oksales2012@hotmail.com                                            Group D
                                               okonsale2012@hotmail.com
Chen Tai shan                                  sho I la sment live.com                                            Grou I D
Allen Porter (Carley                          payaccounts@live.com                                                Group D
Mowatt Inc)                                    51C88575GU174691N
                                               @dcc.paypal.coin
                                              jiessie@vip.qq.com
Yu Han:                                        secureonlinepay@hotmail.com                                        Group D
Yu Hang                                        greenpayaccounts@hotmail.co                                        Group D
                                              m
Ren Guo in:                                   shoppingpaysment@live.com                                           Group D
Son. Yon. Jin                                 I eelacce 8 ts hotmail.com                                          Grou I D
Ren Zhi Min                                   payonlines2011@hotmail.com                                          Group D
Ren zhi min                                   payonlines01@hotmail.com                                            Group D
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                             alme111231swcniffn V? CMS DOnoin entra2a- 4 FiRi Itc192/2a/715 P.,t;:4   caEff




                                                DEFENDANTS - GROUP D
         PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                 GROUP D
      Account Name   Account Number            Associated with PayPal  Associated with PayPal Account
                                                       Account
                                            navypays@hotmail.com                                              Group D
Zhang Feng Chun                             navypays@live.com
ffi                                         quickonlinepays@live.com                                          Group D
Zhang Feng Yu
Huang Xiuzhu                                paysmentsaccount@live.com                                         Group D
Ren in. Huan:                               securespay@hotmail.com                                            Group D
Ren Zhi Tong                                beauty-onlines@hotmail.com                                        Group D
                                             onlinepay20 1 1 @hotmail. com                                    Group D
Zhang Feng Chun
Xie Han Zhou                                securetypaysline # live.com                                       Group D
Lai Li Ying                                 safe-pays2012@live.com                                            Group D
                                            safeonlinepay@live. corn
                                            safeonlinepay@hotmail.com
Chen Qing Guo                               rinazxpays@hotmail.com                                            Group D
                                            kavenpays@hotmail.corn
                                            xianxpays@hotmail.corn
Chen Qing Guo                               payssmile@hotmail.com,                                            Group D
                                            smallpays@hotmail.corn,
                                            payalways2012@hotmail.corn,
                                            wellspays@live.corn
                                                                                                                        Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 51 of 222
                         aleme121133TAKIEWI V? CMS DOnoinentra331-4FiRiltdaRY2a/715P ,r;:4   D aEff 14293




                                          DEFENDANTS - GROUP D
     PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                   GROUP D
  Account Name   Account Number           Associated with PayPal   Associated with PayPal Account
                                                 Account
Ren Qing Huang                         paywe112012@hotmail.com                                              Group D
Catina Johnson                         customersupports@live . com                                          Group D
                                       pcmarketlive. corn
Jianhan Xie                            paysment2011@hotmail.com                                             Group D
Zhi JieRen                             accspays20 13 @live . com                                            Group D
Ren Zhi Jie                            diytradecenter@live.com                                              Group D
 unhon Ke                              onlinepayQH@hotmail.com                                              Group D
Ren in. Huan:                          efashionbuy@hotmail.com                                              Group D
Lin Mei Yin_                           itempays@live.com                                                    Group D
Ren Zhi Min                            shoppingpayonline@live.com                                           Group D
Wagner Chris                           j iessie@vip. qq. com                                                Group D
Lin Mei Ying                           onlinepayup@hotmail.com                                              Group D
iV                                     azkxxpays@live.com                                                   Group D
Li Ning                                kavenpays@hotmail. corn
                                       xi anxp ays @hotmail. corn
                                       convenientp ay s@hotmail . corn
                                       fasipays@live . corn
                                       itemsp ay @hotmail . com
                                       payitems@hotmail . com
                                       payss ites@l ive . com                                               Group D
                                       honorp ays @hotmail . corn
                                                                                                                      Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 52 of 222
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                                         DEFENDANTS - GROUP D
     PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP D
  Account Name    Account Number         Associated with PayPal   Associated with PayPal Account
                                                Account
Lin Mei Ying
Zhang Feng Lan                         paylinesfast@live.com,                                      Group D
                                       payjumps@live.corn
Ren Qin. Huan                          sanpays@live.com                                            Group D
                                       quickpays@live.com                                          Group D
Zhan _ Wei Pin_
Yu Jie                                 addtocart@live.com                                          Group D
Larry Rhodes                                                                                       Group D


                                       dsmrecap.com/de/paypal/standa
                                       rd/success/
I"                                                                                                 Group D
li yu hong


                                       cheapsoccercleatss.com
Timothy Saulmon                                                                                    Group D
                                       dsmrecap.com
                                       footballsoccerjerseys.com                                   Group D
                                                                                                             Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 53 of 222
                         Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge9l1otyf146




                                         DEFENDANTS - GROUP D
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)            GROUP D
  Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                Account
Ou Kai Sen
*A                                                                                                  Group D
Song yong jin
                                      dsmrecap. corn
Zhang fengchun                        hottershoesuk.corn                                            Group D
Ren Zhi jie                           acceptpays@hotmail.com                                        Group D
                                      similarpays@hotmail.corn
A_F--                                 kakipays@hotmail.com                                          Group D
Huang Xiu Zhu
A*                                    xunapays@hotmail.com                                          Group D
Song Yong Tin
VT                                    safspays@live.com                                             Group D
Li Ning
                                                                            TOTAL AWARD (Group D)   $66.1 million




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                                                                                                                    Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 54 of 222
                         Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge941236146




                                          DEFENDANTS - GROUP E
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)            GROUP E
  Account Name   Account Number           Associated with PayPal  Associated with PayPal Account
                                                 Account
Guohong Zheng                          youyan1990@yahoo.com                                        Group E


Zhao MM Gui
                                   -
                                       mingui 123@hotmail.com                                      Group E
Huang Jintian                          linkcampus111@yahoo.corn                                    Group E
                                       buybest365@yahoo.com
                                       bestbuynike@yahoo.corn
                                       ecplaza999@l63.com
                                       linksinowears@yahoo.corn
                                       ineednikeshoes@hotmail.corn
                                       usajumpmangyahoo.corn
                                       nikeonlineservice@gmail.com
                                       kungfumovie999@yahoo.corn
Meilian Huang                          linajiao1990gyahoo.com                                      Group E


                                       goingpop@hotmail.com                                        Group E
Chen Wei Zhu
Xu Linying                             convenienceservice@gmail.co                                 Group E
                                       m
Yu Xian Wu                             jordanshoescity@hotmail.com                                 Group E

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                                                DEFENDANTS - GROUP E
          PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)            GROUP E
       Account Name   Account Number           Associated with PayPal   Associated with PayPal Account
                                                      Account
                                            tonycheaps@yahoo.com
Phillip Bell                                Phillip@hotmail.com                                          Group E
Jiang Junying                               wholes ale airj ordan@yahoo . co                             Group E
                                            m
Phillip Bell                                Phillip hotmail.com                                          Group E
Chen Minzhong                               fallenyinong@yahoo.corn                                      Group E



Lin Meiqin                                  youyanhg@yahoo.com                                           Group E


Huang Zhi Zhen
                                        -                                                                Group E
                                            48058406@qq.com
xu linying                                  convenienceservice@gm ail. co                                Group E
                                            m
4                                                                                                        Group E
Lin Hua Cong                                teeblog@qq.com
fill                                        bestcnshoes.com (FOP, not                                    Group E
Chen Li Xian                                active); www.shoxuk.com
                                            (armor)


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                         Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge91B44bf146




                                          DEFENDANTS - GROUP E
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)             GROUP E
  Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                Account
  Y -r.:                                                                                            Group E
Huang Yan Ying                        lqshoes.com
j iang junying                        usajumpman.com                                                Group E
 YU XIAN WU                           usajumpman.com,                                               Group E
                                      www.bestbuynike. corn,
                                      www.jordanshoesusa.corn
huan_ mtian                           usajumpman.com                                                Group E
                                                                            TOTAL AWARD (Group E)   $87.9 million




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                                                                                                                    Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 57 of 222
                           Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge9Tatf146




                                            DEFENDANTS - GROUP G
     PayPal            PayPal              Email Address(es)/Domains        Bank Account(s)           GROUP G
  Account Name     Account Number           Associated with PayPal   Associated with PayPal Account
                                     -             Account
Huang Yamei                              limei53@hotmail.com                                          Group G


Wu Ziqiang                               ziqiang53g163.com                                            Group G
                                         zigiang53ghotmail.com
                                         managergoccidenttrade.corn
                                         pt3cgoccidenttrade.com
                                         sales s occidenttrade.com
                                         onlinesales21@hotmail.com                                    Group G
Huang Jin Huanfi




                                                                             TOTAL AWARD (Group G)    $74.1 million




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                                                                                                                      Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 58 of 222
                         Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge9M6obf146




                                          DEFENDANTS - GROUP H
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)             GROUP H
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
l'i-ig                                xlq2012108@gmail.com                                          Group H
Xia Ling Qin

Den_ Don: Fan:                        jack20121130@gmail.com                                        Group H
                                       1ky2012104@gmail.com                                         Group H
Liu Kai Yang

                                      classiczopim@gmail.com                                        Group H
Yang Jun Jie
ik                                    newgoodsexplore@gmail.com                                     Group H
Liu Zhen Hu
     FA                               placeanorder@live.com                                         Group H
Liu Zhi Hong
                                                                            TOTAL AWARD (Group H)   $18.5 million




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                         Case 1:13-cv-08012-6MS CDoacrrea063714 FREdd106289YT5 Flagge997obf146




                                          DEFENDANTS - GROUP I
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)                 GROUP I
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
I* Ill                                sonyaweeks98@hotmail.com                                         Group I
                                                                                                   -
Wang Bao Guo
Lin Jun da                            joshmicane@gmail.com                                             Group I


W4t                                   joeleesa98@hotmail.com                                           Group I
Yang Su Qin

Sun Jin                               admjones98@hotmail.com                                           Group I
                                                                                                       Group I
Wang Xin Fen                          onlyalice@hotmail.com
   YEt                                                                                                 Group I
Mao Guang Yuan                        monicayy68@hotmail.com
zhuo zhen                             amy_zsr@hotmail.com                                              Group I
                                                                           TOTAL AWARD (Group I)       $53 million




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                         aleme12I13owellettIM CMS DiDnuti   rfb   1-4FiFet C10209/715 P .;r;:4 MB aEff 142E8




                                            DEFENDANTS - GROUP J
     PayPal           PayPal              Email Address(es)/Domains        Bank Account(s)                      GROUP J
  Account Name    Account Number           Associated with PayPal   Associated with PayPal Account
                                                  Account
Chen JiaSheng                            xdffd232@hotmail.com                                                  Group J



Chen Jinxing                             jisehe212 163.com                                                     Group J
                                         linda.ch26@hotmail.com                                                Group J
Chen Jin Feng                            nikekickcoo.com
ChenYuanzhuo                             ceddd23A163.com                                                       Group J
Chen Longfei                             aidon109@hotmail.com                                                  Group J

                                     -
4+*f--2                                  jenneyzhenlin@gmail.com                                               Group J
Lin Bao Zhu
V gt                                                                                                           Group J
Cai Gui Yong                             sellairjordan23.com
Q                                                                                                              Group J
Huang Han Liang                          1783149795@qq.com
it                                                                                                             Group J
Zheng Jian Fen                           zhengjfl0A163.com
Jim Fricker                              lebron9dunkman.com/ipn_main                                           Group J

                                                            17
                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 61 of 222
                            aleme 11 1B3ew OHM CMS Dikauti emara331-4 F RI It CI 0209/715 P ;'r; :44 CUD (f f 142E8




                                                 DEFENDANTS - GROUP J
         PayPal          PayPal                Email Address(es)/Domains        Bank Account(s)                        GROUP J
      Account Name   Account Number             Associated with PayPal   Associated with PayPal Account
                                                       Account
                                             _handler.php
                                             namebrand123@hotmail.com                                                 Group J
Zheng Wen Zong
qian shuying                                  shuying9410@gmail.com                                                   Group J
JACK TABOR                                   j tabor76@yahoo.com                                                      Group J
qian xiangong                                urbanclothing01@yahoo.com.c
                                             n                                                                        Group J
Vg                                           a. starks1979@gmail. com                                                 Group J
Cai Gui Lan
7-J                                          sjack.1368@gmail.com                                                     Group J
Xu Min Fang
                                                                                                                      Group J
Zheng Zhi Hong                               steven.wawj@gmail.com
      ffl v                                  cx3139@yahoo.com.cn                                                      Group J
Gui Yong Cai
                                                                                           TOTAL AWARD (Group J)      $85.4 million




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                         aleme12I13owellett1UESAS DOnutiemar6331-4FiRiltC10209/715P.;m4 agLaEff 142E8




                                            DEFENDANTS - GROUP K
     PayPal          PayPal               Email Address(es)/Domains        Bank Account(s)               GROUP K
  Account Name   Account Number             Associated with PayPal  Associated with PayPal Account
                                                   Account
Li Haidao                               lihaidao20024163.com,                                            Group K
                                        510227969@qq.com
@01                                     foreverse11er889@hotmail.com                                     Group K
Wang Xiang
---                                     lihaidao2002@163.com                                             Group K
Li Hai Dao
                                                                                 TOTAL AWARD (Group K)   $59 million




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                                                                                                                       Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 63 of 222
                        aleme12I13 owelEDIU CMS Di] Lum   rfb   1-4FiFet C10209/715 P .;r;:4 421 aEff 142E8




                                          DEFENDANTS - GROUP L
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)                        GROUP L
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                 Account
ni A                                  bestsevie2011@gmail.com                                                 Group L
Hu Xiu Bi


4i Mit                                tiantiansell@gmail.com                                                  Group L
Hu Guo Tian

Wu Xiuyan                             yaosipi@gmail.com                                                       Group L




4i 4                                  today0212@gmail.com                                                     Group L
Hu Li Ping



'.` A Pf                              sobypal@gmail.com                                                       Group L
Wu Song Ye
Milli                                 whugo201 1 @gmail. com                                                  Group L


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                                                                                                                         Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 64 of 222
                            aleme12I13owellettIM CMS Di] Lum   rfb   1-4FiFet CVED79/715 P .N14 a CM aEff 18




                                              DEFENDANTS - GROUP L
         PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)                    GROUP L
      Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                    Account
Hu Xian Di
4-+W                                       linchangqing2009@yahoo.com.                                         Group L
Lin Zhang Qing                             cn
                                           shoesspring2003@hotmail.corn
Lin Changqing                              linchangqing7602@yahoo.com.                                         Group L
                                           cn
                                           shoes spring@hotmail. corn
                                           linchangqing2009@yahoo.corn.
                                       _   cn
riA                                        weixiaottqwe@hotmail.com                                            Group L
Zhang Wei

14l:                                       sogoodcomcn@gmail.com                                               Group L
Lin Xiu Ying

frit\                                      kelinhai@hotmail.com                                                Group L
Ke Lin Hai                                 sell-topbrand@hotmail.com
ja/k/a Linhai Ke
Chen Guo Jing                              wiles@35zh.com                                                      Group L
AT                                         sophieyuan3448@sina.com                                             Group L


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                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 65 of 222
                              alemellIB3owellettlUCSASDOnutiemaraM-4FIRiltd0209/715P.;'n:4 aCEB arif 142E8




                                                   DEFENDANTS - GROUP L
           PayPal          PayPal                Email Address(es)/Domains        Bank Account(s)                 GROUP L
        Account Name   Account Number             Associated with PayPal   Associated with PayPal Account
                                                         Account
Yuan Ying Chun                               sophieyuan3448@yahoo.corn.c
                                             n
                                             mylove198101@hotmail.corn
                                              shoescapsxyz.corn
Bonny Loposser                               bonnjonl@yahoo.com                                                  Group L
                                             wholesalejerseys@ec8j.corn
Robert Smith                                 jerseys@hotmail.com                                                 Group L
Leo Paquette                                  1paquettel @cox.net                                                Group L
                                             wholesalesquare hotmail.com                                     _



1A                                           xiaganmeinv@gmail.com                                               Group L
Hu Xiu Feng                                   goodnewscaon@gmail.com

Creshnaw, Andrew                             hiphopiop.ru                                                        Group L
                                             interscopedemo@gmail.corn
Murra , John                                 bestjerseysgo.com/                                                  Group L
 ,...
                                                                                                                 Group L
Yang Hui Xin


                                             icenhljersey.corn


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                                                                                                                            Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 66 of 222
                           aleme12I13owellifi1UCSAS DOnutiemar6331-4FiRiltC10209/715P.;m4 aCc61(Iff14293




                                              DEFENDANTS - GROUP L
     PayPal             PayPal              Email Address(es)/Domains        Bank Account(s)                GROUP L
  Account Name      Account Number           Associated with PayPal   Associated with PayPal Account
                                                    Account
2                                                                                                          Group L

Wen Yu Shou
(Cai LiMing)                              selloffmlb. com
Zheng, Lanying                            maxdny. com(real)                                                Group L
                                          www. tradenny. com(shell)
Jianyu Tang,                              maxdny. com                                                      Group L
chen, weifang                             274024654@qq. corn                                               Group L
Woodson, Keion                            shoesbagonsale@hotmail.com                                       Group L
Youncofski, Conor                         shoesbagonsale@hotmail.com                                       Group L
Ding, Yi Na                               yingsoccer.com                                                   Group L
                                                                                                           Group L
Zhang Jia Fu                              be stj erseys88@gmail. com
                                                                                                           Group L
Shi Shao Lian                             j ersey-777. com
                                                                                                           Group L
Liu Gui Lan                               j ersey-777. com
chen, mingjin                             airmaxsshop.co.uk                                                Group L
lin, fengyun                              maxvd.corn/                                                      Group L
zhen , lan in                             maxvd.com/                                                       Group L

                                                                23
                                                                                                                      Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 67 of 222
                            aleme12I13 owelEDIU CMS DOnutiemar6331-4 RR] C10209/715 P .;r;:4 aCLIBeEff 142E8




                                               DEFENDANTS - GROUP L
        PayPal           PayPal              Email Address(es)/Domains        Bank Account(s)                   GROUP L
     Account Name    Account Number           Associated with PayPal   Associated with PayPal Account
                                                     Account
     5-n                                                                                                       Group L
Wang Bing Yuan                              replicajerseysoccer. com
 L_..                                      j ers eys community@hotmail . co                                    Group L
Zheng Shi Jie                              m
han, defang                                 reebokdepot@hotmail.com                                            Group L
chen, suzhen                                reebokdepot@hotmail.com                                            Group L
         ,4:                                cheaps-b2b.com(shell)                                              Group L
Tang Jian Ying                              www.nikedey.com/
                                                                                                               Group L
Zheng Yang Mei                              shoxvs. com(shell)
chen, weifang                              jerseysmember@hotmail.com                                           Group L
it                                         j ers eyswhole s ale authentic. com/                                Group L
Shi Sheng Xu                                3 7 -c -Contact -Us/
4-             111                                                                                             Group L
Fu Jian Shan                                nfljersey20 1 Ogyahoo . com
/\._T_                                                                                                         Group L
Zheng Jin Tao                               nikepuma- 1 @hotmail . com
":- :                                                                                                          Group L
Zheng Lan Ying                              nikepuma-2@hotmail.com


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                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 68 of 222
                         alemellIB3owellettlUCSASDOnutiemaraM-4FIRiltd0209/715P.;'nuaCHaif14293




                                          DEFENDANTS - GROUP L
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)             GROUP L
  Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                Account
                                                                                                    Group L
Pan Bing Huang                         sin.tong@hotmail.com
Changqing Lin                          shoesspring@hotmail.com                                      Group L
Xiaoqiong wu                          jersey-777.com                                                Group L
41:1i&.                                                                                             Group L
Wang Ru Jun                            icenhljersey.com
                                                                            TOTAL AWARD (Group L)   $25.9 million




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                                                                                                                    Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 69 of 222
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                                          DEFENDANTS - GROUP M
    PayPal          PayPal             Email Address(es)/Domains         Bank Account(s)                       GROUP M
 Account Name   Account Number           Associated with PayPal   Associated with PayPal Account
                                                 Account
i;                                    globaltradeclubs@gmail.com                                               Group M
Yan Li Fang                           nikefreerunsfactory.com
                                                                 TOTAL AWARD (Group M)                         $22.5 million




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                                                                                                                               Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 70 of 222
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                                               DEFENDANTS - GROUP N
     PayPal           PayPal                 Email Address(es)/Domains        Bank Account(s)                       GROUP N
  Account Name    Account Number               Associated with PayPal  Associated with PayPal Account
                                                      Account
Chen Zusong                                trendslandy@yahoo.com                                                   Group N

                                       -
Zhuo Tie Ning                              m. ngtiegyahoo. com                                                     Group N


Huang Jian Ping                            Val di vi acaa@gmail. com                                               Group N

Chen Qing Wen                              shellycorall@yahoo.com                                                  Group N

                                       _
Jian Ping Huang                            Valdiviacaa@gmail.com                                                   Group N
Zusong Chen                                shellye silver. com(fop. clean)                                         Group N
                                           wwvv. freerunzone. com
                                           trendslandy@yahoo. corn
Tie Ning Zhuo                              ningtie @yahoo . com                                                    Group N
 in! Wen Chen                              shellycorall@yahoo.com                                                  Group N
                                                                                         TOTAL AWARD (Group N)     $21 million




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                                                                                                                                 Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 71 of 222
                             aleme12I13 owelEDIU CMS D Onuti emara 1-4FiFet CI0209/715 P .N114 aR9 aEff 142E8




                                               DEFENDANTS - GROUP 0
          PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                  GROUP 0
       Account Name   Account Number           Associated with PayPal   Associated with PayPal Account
                                                      Account
,*--:*.i,                                   terrycn@live.cn                                                     Group 0
Xu Jin Tian                                 micshoes@hotmail.com
                                             elinsale@gmail.corn
                                            joz.christian@gmail.corn
                                            uggnet@hotmail.corn
tth'                                         Cecilia-meme@hotmail.com,                                          Group 0
Chen Bi Juan                                Beatrice-barbar@hotmail.com
la
la                                          martinpettersson86@                                                 Group 0
Xu Zhi Qian.                                hotmail.com
ALP.                                         yoyoshoes3@gmail.com,                                              Group 0
Yu Zhi Qiarr                                 coctrade@yahoo.com,
                                             pay@australiauggshop. corn
                                             yoyoshoes3@gmail.corn
                                             CVV2008@hotmail.corn
                                             trade1848@yahoo.com
                                             ccv2008@hotmail.com
                                             ccvgoods@hotmail.com
                                             tradecn86@yahoo.corn
                                             cnpaypal@foxmail.corn
                                             terrycn@live.cn


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                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 72 of 222
                             aleme12I13owellett1UESAS DiDnutiemaraM-4FIRiltd0209/715P.;'n:4 413D aEff 142E8




                                               DEFENDANTS - GROUP 0
          PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                GROUP 0
       Account Name   Account Number           Associated with PayPal   Associated with PayPal Account
                                                      Account
*--; I_                                      cheapairjordans-mart.com                                         Group 0
Xu Shi Yi                                   johnxu1310@hotmail.com
il i_Ni*                                     cheaperjersey2013.com                                            Group 0
Xiao Xiao Ping                              Rachelmeris@hotmail.com
 IE ff.                                     basketballmart24.com                                              Group 0
Jiang Rong Rong                             Irmare2341@hotmail.com
fi--                                         cheapairjordansshoes2013.corn                                    Group 0
Xu Li Li                                    Wallislevel@hotmail.com
Huang Hui                                    cheapsportsjerseys2013.com                                       Group 0
                                            Eleanore147@hotmail.com
T1('4_                                       cheapsportsjerseys2013.com                                       Group 0
Huang Shu Zhen                               Susiesuke@hotmail.com
                                                                                      TOTAL AWARD (Group 0)   $26.8 million




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                                                                                                                              Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 73 of 222
                             aleme12I13 owelECCLU CMS Di] Lum   ra   -4FiFet C10209/715 P .;r;:4 41331(ff 14293




                                               DEFENDANTS - GROUP S
         PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                          GROUP S
      Account Name   Account Number            Associated with PayPal  Associated with PayPal Account
                                                      Account
'='
      A. rlf                                sobypal@gmail.com                                                         Group S
Wu Song Ye
      _F t                                                                                                            Group S
                                        - yumeilili62@hotmail.com
Li Yu Mei
Tingting Xia                                wienfieldtibbs@l26.com                                                    Group S
Lizhu Ma                                    nancycainly@yahoo.com                                                     Group S
Qin Yao                                     johondiller@yahoo.com                                                     Group S
Shenize Yan                                 mindyevansg 163 . com                                                     Group S
Hang Chen                                   j ameshill13@                                                             Group S
                                            hotmail.corn
Zheng Yuefen                                PatriciaP1att707@yahoo.com                                                Group S
Yanqing Zhu                                  linneahe dgecockgyahoo. com                                              Group S
ChanYon Yan!                                vaildcalm hotmail.com                                                     Group S
      "-c.                                  supplyjerseys.us                                                          Group S
Gao Mei Ying                                2010gaomeiying@gmail.com
                                                                                                                  _


Zheng Limei                                 zhenglimeipp@gmail.com                                                    Group S

                                             .
                                        _
Li Yayun                                    mtatimberlake@l63.com                                                     Group S


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                                                                                                                                 Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 74 of 222
                        alemellIB3owellettIMESASDOnutiemara2a-4FIRiltd0209/715P.;'nuaB2aif14293




                                          DEFENDANTS - GROUP S
    PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)            GROUP S
 Account Name   Account Number            Associated with PayPal Associated with PayPal Account
                                                 Account
                                      victoriahoupter@yahoo.com                                   Group S
Shijie chen
                                      greenville29649@gmail.com                                   Group S
Gao Hua Ying                          gieyel. com(offline)
                                      www. andhf. com(offline)
                                      www. supplyjerseys .us (BC,need
                                      PW)
Yang Rong'e                           robertdostt@yahoo.com                                       Group S
Guo Chunpeng                          jeffhamilton668@gmail.com                                   Group S
Wu Yan                                online store sungl asses @gmail. c                          Group S
                                      om
Wang Fulong                           luciapatell@yahoo.com                                       Group S
Liu Meihua                            stevens al ce do s Ay ahoo. com                             Group S
Chen Xicheng                          troyb lume @hotmail . corn                                  Group S
Zhao Zeying                            daviddunn813@yahoo.com                                     Group S
Yang Haiqi                             ChrisGagne42@yahoo.com                                     Group S
Li Renfen                             renfen86@gmail.com                                          Group S
zhang guofu                            ericaceballose@yahoo.com                                   Group S
 ''' i-07.
                                      jiumeiwu53@gmail.com                                        Group S
Wu Jiu Mei                             supplyjerseys.us
                                      www.nfl-cheap-jerseys. corn

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                         alemellIB3owellettlUCSASDOnutiemara2a-4FIRiltd0209/715P.;'n:4 4E6 arif 14293




                                            DEFENDANTS - GROUP S
    PayPal           PayPal              Email Address(es)/Domains        Bank Account(s)                GROUP S
 Account Name    Account Number            Associated with PayPal  Associated with PayPal Account
                                                   Account
li yangyang                             brandandelfino@gmail.com                                        Group S
Tong Zhenggang                          Brooke Sprang707@yahoo. com                                     Group S

Huang Xiaoqiu                           helendesotell@163.com                                           Group S
Weng Yanchun                            maryannrodriguez@126.corn                                       Group S
Lin Qingfeng                            farrokhnej adlotfigyahoo. com                                   Group S
Zhang Shan                              nancy20easy@yahoo.com                                           Group S
Huang Huayou                            MelissaBarte1107@yahoo.com                                      Group S
Shen Qingshui                           ellalynn16@gmail.com                                            Group S
Yuan Xiaoyan                            rebeccasansberry@yahoo.com                                      Group S
Zhong Zhenning                          hattiknoppot@yahoo.com                                          Group S
Lv Huiwu                                michaelwindebanker@yahoo.c                                      Group S
                                        om
Cai Fengwei                             dannynelms@l26.com                                              Group S
Luo 0 iuhua                             atthewconney@hotmail.com                                        Group S
                                        2010gaohaizhu@gmail.com                                         Group S
Gao Hai Zhu                             supplyj erseys .us
                                        nflreebokjerseys.com
                                        www. andhf. com(shell)
Guofu zhang                             ericaceballose@yahoo.com                                        Group S


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                                                                                                                   Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 76 of 222
                         aleme 11 1B3 ow CIERIU CMS D Onuti emara 331- 4 F RI It 0209/71 5 P .;r;:4   MI. (f f 14293




                                              DEFENDANTS - GROUP S
     PayPal          PayPal                Email Address(es)/Domains        Bank Account(s)                             GROUP S
  Account Name   Account Number              Associated with PayPal  Associated with PayPal Account
                                                      Account
                                          discountjerseys.us

Xiaosi fu                                 nfljerseyswebsite.com                                                        Group S
                                          williamkinnaman@yahoo.com
Meiyan liu                                butshoppingonline@gmail.com                                                  Group S
                                          butshoppingonline@gmail.com
                                          cheapsportsjerseys.us                                                        Group S
Chen Jun Xian                             cheap6688@hotmail.com
Renfen Li                                 supplyjerseys.us                                                             Group S
                                          www.nfljersey.us
                                          oaocad.com
                                          renfen86@gmail.corn
                                                                                        TOTAL AWARD (Group S)          $12.2 million




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                                                                                                                                       Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 77 of 222
                          aleme12I133 owelECCLU CMS Di] Lum   ra   -4FiFet C10209/715 P .;yr;:4 413-5(ff 142E8




                                             DEFENDANTS - GROUP V
      PayPal          PayPal              Email Address(es)/Domains        Bank Account(s)                       GROUP V
   Account Name   Account Number            Associated with PayPal  Associated with PayPal Account
                                                   Account
.2\.._,..- 7k
"-y--,- ru ri                            cheapb2b@yahoo.cn                                                       Group V
Zheng Jin Hui                            nikepumaaa@yahoo.cn
                                         bagssell@yahoo. en
                                         etopshopl@hotmail. corn
                                         be stbrand51@hotmail. corn
                                         brand-o188@hotmail.com
                                         fashion777-2@hotmail . corn
                                         inttop shopl@hotmail. corn
                                         trade381@hotmail. corn
                                         brand-o177@hotmail. corn
                                         etopshop3@hotmail. corn
                                         branngddd@hotmail. corn
                                         trade382@hotmail. corn
±JEM                                     etopshopl@hotmail.com                                                   Group V
Zheng Jin Zhao                           brand-o188@hotmail.com
                                         inttop shopl@hotmail. corn
                                         brand-o177@hotmail. corn
                                         be stbrand51@hotmail. com
                                         trade381@hotmail. corn
                                         brand-o166@hotmail.com
                                         enikeshop@hotmail. corn

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                                                                                                                           Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 78 of 222
                             alemellIB3owellettlUCSASDOnutiemara2a-4FIRiltd0209/715P.;'nuaBIaif14293



                                               DEFENDANTS - GROUP V
         PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)           GROUP V
      Account Name   Account Number           Associated with PayPal  Associated with PayPal Account
                                                     Account
                                           brand511@hotmail.com
                                           trad381@hotmail . corn
                                           inttopbrand@hotmail.corn
Weng Tian Rong                             brggingg@hotmail.com                                        Group V
                                           inttopshop@hotmail.com
                                           inttopshop@hotmail.com
.4,,...
          H
              -                            topbrand-ol@hotmail.com                                     Group V
Weng Qing Yun                              etopshop5@hotmail.com
                                           brand512@hotmail.com
                                           trade383@hotmail.corn
                                           brando155@hotmail.com
                                           etopshop2@hotmail.corn
                                           bragggdd@hotmail.corn
                                           echeapshoes.com
                                           www.cheaperol.com
                                           wwwjeansb2b.com(no
                                           violation)
Chen Min                                   topbrarig@hotmail.com                                       Group V
.4..,...*
     'LLN                                  980965093@qq.com
Weng Qing Zhong                                                                                        Group V


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                         Tamge111133owMinWe3AS DOntruarktrfl33-1-4FIRIkdarlE09/715   42We-1142E8




                                          DEFENDANTS - GROUP V
    PayPal           PayPal             Email Address(es)/Domains        Bank Account(s)                GROUP V
 Account Name    Account Number           Associated with PayPal  Associated with PayPal Account
                                                 Account
*                                      740120070@qq.com
Chen Shui Lian                                                                                         Group V
                                       961393468@qq.com
Zhang Jiu Chu                                                                                          Group V
*                                      trade381@hotmail.com
Chen Shui Lian                                                                                         Group V
                                                                               TOTAL AWARD (Group V)   $65 million




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                         aleme12I13 owelEDIU CMS Di] Lum   ra   -4FiFet C10209/715 P .;r;:4   ZOB aEff 14293




                                          DEFENDANTS - GROUP W
     PayPal          PayPal             Email Address(es)/Domains        Bank Account(s)                       GROUP W
  Account Name   Account Number           Associated with PayPal  Associated with PayPal Account
                                                 Account
4-+J&,-:.                              NianHua.T@gmail.com                                                     Group W
Nianhua Tang




f4M                                                                                                            Group W
                                    - linjian891022@gmail.com
Lin Jian
Tang nianhua                           NianHua.T@gmail.com                                                     Group W
Wu Qingfeng                            efashionbiz@hotmail.com                                                 Group W
                                       nike-factorystore.corn
                                                                                TOTAL AWARD (Group W)          $30 million




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                                 DEFENDANTS - GROUP NO GROUP
     PayPal               PayPal       Email Address(es)/Domains        Bank Account(s)
  Account Name        Account Number     Associated with PayPal  Associated with PayPal Account
                                                Account
ii                                    janespanich@hotmail.com
Jiang Lili
(a/k/a Jiang Li Li)

4+                                            toplinwei@yahoo.cn
Lin Wei
(Suchun Zheng)


Kronebusch Ron                                 accoundocked@godaddy.cotn
(Tiffany Jarvis)




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                             alemellIB3owelECCLUCSASDOnutiemara2a-4FIRiltd0209/715P.NI:4 aZ2DaEff14293




                       WESTERN UNION/MONEYGRAM PAYEES

                                 DEFENDANTS - GROUP F
    Name         Associated Email Address(es)         Associated Websites                           Group
Yurong Huang   ninetvtradestore&gmail.com     I www.freeruns20.com                               Group F




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                          GleaelliB3owCWIWOMSDOnnua7elr133-7_-4FIF91k dean/715P N114112131.aff 103




                               DEFENDANTS - GROUP 1
     Name      Associated Email Address(es) =     Associated Websites                   -   ,
                                                                                                  Group
Surong Zhu   nikefreeonline2012@hotmail.com www.newfreeshoes.com                                Group I
                                            www.newcomeshoes.com
                                            www.2014newshoes.com
Suqin Yang   nikefreeonline2012@hotmail.com www.newfreeshoes.com                                Group I




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                            Gamielli133.)wWW1-9203AS DiDnuu extra 11-4 RR lida[1021292 5 Piirmi   cuff 14208




                                DEFENDANTS - GROUP J
    Name        Associated Email Address(es)        Associated Websites                               Group.
Wanlu Huang   lindajerseys@gmail.com         wvvw.linda-jerseys.com                                 Group J




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                                  alemellIB3owellettlUCSASDOnutiemara2a-4FIRiltd0209/715P.;'n:4 42EB arif 142E8




                                 DEFENDANTS - GROUP L
     Name         Associated Email Address(es)         Associated Websites                                   Group
Jianying Chen   lowjerseys@hotmail.com         www. gre at -who le s al ej ersye s . net                  Group L
Zhao Jun Pu     lowjerseys@hotmail.com and     www. gre at -who le s al ej ersye s . net                  Group L
                who le s al ej ersysx@ gmail . com        www. for -j erseys . biz
Jinying Ke      shoes capsxyz. com@gmail . com            www. shoe cap sxyz. corn                        Group L
Yong Lin Lin    shoes capsxyz. com@gmail . com            www. shoe cap sxyz. com                         Group L
Zhengyu Lin     shoescapsxyz.com@gmail.com                www. shoe cap sxyz. corn                        Group L
Shurong Lin     who le s al e -s quare@hotmail. corn      www.buyshoeclothing. corn                       Group L
                usherfashion@hotmail.corn
                trading spring@hotmail. corn
                jordans-china@hotmail. com
                wipwholesale20 12@yahoo. com. cn




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                          Gamielli133.)wORNI-9203AS DiDnuu extra 11-4 RR lida[1021292 5 P.N;:4   2)51 ucf f14208




                             DEFENDANTS - GROUP 0
     Name     Associated Email Address(es)       Associated Websites
Shiyu Xu
                                                                                                          Group
            airmax-shop@hotmail.com        www.cheapnikeairmax-mart.coln                                Group 0




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                                                                                                                   Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 87 of 222
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                                 DEFENDANTS - GROUP S
     Name         Associated Email Address(es)       Associated Websites                                          Group
JianXian Zheng   butshopping@hotmail.corn      www.cheapjerseysbusiness.com                                  Group S
YanFen Weng      butshopping@hotmail.com       www.cheapjerseysbusiness.com                                  Group S




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                                                                                                                          Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 88 of 222
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                                DEFENDANTS - GROUP V
    Name         Associated Email Address(es)       Associated Websites                                    Group
Meixia Zheng   inttopshop@hotmail.com         www.shopyny.com                                          Group V




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            ATTACHMENT 2
           Case 1:13-cv-08012-CM Document
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                                                                 Page 915of 222



                              Additional Email Addresses

-.IIW              Group     Email Address
 1.                  B       sale@j erseysgoogle.in
2.                   B       21nflshop@gmail.com
3.                   B       george_chen99@yahoo.com
4.                   B       georgechen35@yahoo.com
 5.                  B       googlejerseys@hotmail.com
6.                   B       googlejerseys@msn.com
7.                   B       googlejerseys@outlook.com
8.                   B       jeffcupto@foxmail.com
9.                   B       jeffcupto@gmail.com
10.                  B       nflshopes@msn.com
11.                  B       nflshopes@outlook.com
12.                  B       nikenflstore@hotmail.com
 13.                 B       nikenflshop@msn.com
 14.                 B       servicelilith@vip.163.com
 15.                 B       tanson35@gmail.com
 16.                 B       201ightshoes@outlook.com
 17.                 B       263821631@qq.com
 18.                 B       lightshoes@outlook.com
 19.                 B       loon_'erseys@hotmail.com
20.                  B       loongjerseys@outlook.com
21.                  B       shoesbox@yahoo.com
22.                  B       sobemany@hotmail.com
23.                  F       gongzuorenyuanmi@gmail.com
24.                  H       nikefactoryoutletservice@gmail.com
25.                  H       chaussuresnikevente@gmail.com
26.                  H       marielle_cantillon@hotmail.com
27.                  H       michelleyip214@hotmail.com
28.                  H       nikefactorystoreservice@gmail.com
29.                  H       nikeshoesoutletstore@gmail.com
30.                  H       nikeshoessalesservice@gmail.com
31.                  H       sammulkoo@hotmail.com
32.                  H       theerunwaylinda@gmail.com
33.                  H       topserviceforyou@gmail.com
34.                  H       topserviceteams@gmail.com
35.                  H       topteamservice@hotmail.com
36.                  H       2106440934@qq.com
37.                  H       527581746@qq.com
38.                  H       billigenikefreedktilbud@gmail.com
39.                  H       billignikefreedk@gmail.com
40.                  H       binderzita@hotmail.com
41.                  H       chaussuresnikevente@gmail.com
42.                  H       cheapnikeshoesservice@gmail.com
      Case 1:13-cv-08012-CM Document
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              Group     Email Address
43.             H       christiankoblitz@gmail.corn
44.             H       dknikefreesalg@gmail.com
45.             H       dknikefreeskosalg@gmail. corn
46.             H       factorycustomer10@hotmail.corn
47.             H       gotosources@hotmail.com
48.             H       jerseyssite@hotmail.com
49.             H       nikefreerunsalg-no@gmail.coni
50.             H       nikeshoesoutletservice@gmail. corn
51.             H       nikeskobutik@gmail.com
52.             H       nikesshoesforsale@gmail.com
53.             H       sammulkoo@gmail.com
54.             H       servicenikefactory@gmail.com
55.             H       trxworkoutsservice@gmail. corn
56.              J      fanatics. servi ce@gmail. com
57.              J      notification 09@orderstatusinform.coni
58.              J      1783149795@qq.com
59.              J      service@hotfreerunshoes.com
60.              J      314255531@hxmail.com
61.              J      henrireneforyou@gmail. corn
62.              J      hhldux@l63.com
63.              J      hhldux@yeah.net
64.              J      rose.mail@foxmail.com
65.              J      servcetrade2014@hotmail.com
66.              J      servicetrade2014@hotm ail. com
67.              J      servicetrade2015@hotm ail. com
68.              J      servicetrades2016@gmail.com
69.              J      sportsgear@foxmail.com
70.              L      cheapfreetnau@gm ail .com
71.              L      hotfoampositeoneshoes@gmail.com
72.              L      supplyjerseyus@aliyun.com
73.              L      kf@dingdian.cn
74.              L      ardyceliu@yahoo.com
75.              L      bella _j uan1986@hotmail.com
76.              L      bella _j uan1986@yahoo.com
77.              L      bussadeals@hotmail.com
78.              L      buyshoesclothing88@gmail.com
79.              L      copukicks@hotmail.com
80.              L      eshoppingthebest2015@hotmail.com
81.              L      exsneaker@hotmail. corn
82.              L      exsneaker@yahoo.com
83.              L      goonvipshop sales@hotmail. corn
84.              L      hiphop_sales@hotmail.com
85.              L      hiphoplinda2012@gmail.com
86.              L      hiphoplindaservice@hotmail. corn
      Case 1:13-cv-08012-CM Document
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MI            Group     Email Address
87.              L      hiphopxplinda@gmail.com
88.              L      idsolesara@yahoo.com
89.              L      jordans-china@hotmail.corn
90.              L      kicksgridservice@gmail.com
91.              L      maccosmeticservice@hotmail.com
92.              L      magicalshoes2015@hotmail.com
93.              L      mdffootball-mall@hotmail.com
94.              L      mjkickz@hotmail.com
95.              L      nikenflshops@126.com
96.              L      repmallshop@hotmail.com
97.              L      repmallshop2009@hotmail.com
98.              L      repmallstore@hotmail.com
99.              L      repmallstoreardyce@gmail.corn
100.             L      sac@stennis.com.br
101.             L      sales@shoesoutletau.com
102.             L      salesbussarepsvip@hotmail.corn
103.             L      sarabussadeals@yahoo.com
104.             L      shopmallcn@gmailcom
105.             L      sportsytb@gmail.com
106.             L      sportsytb@hotmail.com
107.             L      usherfashion@hotmail.com
108.             L      wangjingyi313@gmail.com
109.             L      wendyliu324@yahoo.com
110.             L      wholesalehats9@gmail.com
111.             L      wholesalejordan@hotmail.com
112.             L      zhangjiaqib@gmail.com
113.            M       angelamagento@gmail.com
114.            M       897506116@qq.com
115.            M       customerservicedepts09@gmail.com
116.            M       dana@oncustomerservice.corn
117.            M       debbiekapper@gmail.com
118.            M       gimi218@qq.com
119.            M       globaltradecenters@gmail.corn
120.            M       keitehsmith@yahoo.com
121.            M       lankecms@hotmail.com
122.            M       sac@stennis.com.br
123.            M       service.trade1688@hotmail.com
124.            M       worldtradeclubs@gmail.com
125.            M       aneglamp@yeah.net
126.             S      benxin.xuson@foxmail.com
127.             S      3296651040@qq.com
128.             S      benxin.xuson@aol.com
129.             S      benxin.xuson@qq.com
130.             S      cheaplovejerseys@gmail.com
      Case 1:13-cv-08012-CM Document
 Case 1:13-cv-08012-CM-DCF           63-2 Filed
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              Group     Email Address
131.             S      customizesportswear@gmail.com
132.             S      customizesportswearsale@gmail.com
133.             S      dadalu.oluo@gmail.com
134.             S      jerseyscustomeronlineservice@gmail.com
135.             S      kimmy@oncustomerservice.com
136.             S      lina@oncustomerservice.com
137.             S      lovestitchedj erseys@gm ail . com
138.             S      nacy@oncustomerservice.com
139.             S      offi ci al onlinej ersey@gmail.com
140.             S      retrol3onlineshop@gmail.com
141.             S      servicesportsleen@gmail.com
142.             S      undersportsjerseys@gmail.com
143.            W       jerseys.betty@hotmail.com
144.            W       customerserviceonlinenow@gmail.com
145.            W       com1125@yeah.net
146.            W       dt11888@126.com
147.            W       e59e@qq.com
148.            W       hotjordanretrobox@gmail.com
149.            W       lebron9lowshoes@gmail.com
150.            W       linjian891022@gmail.com
151.            W       names998@l63.com
152.            W       nikesneakersusstore@gmail.com
153.            W       sal e@j ordan7raptors shoes . com
154.            W       serviceonlinenowl @hotmail.com
155.            W       servicesonlinenow2@hotmail.com
156.            W       vintageblazerbox@gmail.com
157.            W       llbredshoes@gmail.com
158.            W       airj ordanusstore@gm ail. com
159.            W       airjordanusstore@hotmail.com
160.            W       ajstores2014@hotmail.com
161.            W       bottesuggsolde@hotmail.com
162.            W       diyphonecaseol@hotmail.com
163.            W       dunkhighbox@gmail.com
164.            W       names998@l63.com
165.            W       newb al anceusstore@gm ail . com
166.            W       suprafootwearsal er@gm ail. com
167.            X       1228893815@qq.com
168.            X       kellytradenet@gmail.com
169.            X       occidentsale@outlook.com
170.            Y       lebron9lowshoes@gmail.com
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S           g         .s/CasJaf-aiSboE woo
.9          g         ojul.sAasnl-aiSboE
L           EE
                      aw.s/Cosnf-aiSboE
*8          EE        md.s/Cosnf-aiSboE
*6          EE
                      laiSboE .s/Cosn pies
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                      wm.s/Cosnf-aiSboE
*171        EE
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SI          EE        uo.woo.a0ooEsAasJor
.91         EE
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*81         EE        ..mpausl woo
*61         EE        .u.TEll sp.:Ns
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ZZ          EE
                      fEuooi siCasn woo.
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         Group     Websit
43.      B         luckyjerseys.win
44.      B         lucky -j erseys.xyz
45.      B         marketgooglej erseys.com
46.      B         NikeNflStore.net
47.      B         seogooglej erseys.com
48.      B         shopzun.ru
49.      F         bluefree30v4.com
50.      F         cloutlet2013.com
51.      G         Cheaphuarache2016.com
52.      H         adidasboots.us
53.      H         adidasfactory-outlet.us
54.      H         adidas-originals.us
55.      H         adidasoriginalszxflux.us
56.      H         adidasoutletstoreonline.us
57.      H         adidasrunningshoessale.us
58.      H         adidassamoa.us
59.      H         adidasshoesoutletsstore.com
60.      H         adidasskateshoes.us
61.      H         adidassoccercleatsshoes.us
62.      H         adidassuperstarwomens.us
63.      H         adidasy3.us
64.      H         airjordanretrocheapshoes.com
65.      H         airjordanretroofficial.com
66.      H         airjordanretroshoes.org
67.      H         airmax90.us
68.      H         billigenikefreedktilbud.com
69.      H         billigenikeskotilbud.com
70.      H         borselouis-it.com
71.      H         boutiquenikechaussures.fr
72.      H         byebyebo.com
73.      H         celofts.com
74.      H         chaussurenikepascherfr.fr
75.      H         chaussuresnikepaschersoldes.fr
76.      H         cheapjordansforsale.org
77.      H         cheap-nikebasketballshoes.us
78.      H         cheapnikekevindurantshoes.us
79.      H         cheapnikerunningshoes.us
80.      H         cheapnikeshoes.us
81.      H         cheapnikeshoesonline.us
82.      H         cheapnikeshoesonlineforsale.us
83.      H         cheapnikeshoesonsale.us
84.      H         cheapnikeshoesstore.us
85.      H         cheapnikeshoeswholesale.us
86.      H         christiankoblitz.com
 Case Case 1:13-cv-08012-CM Document
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         Group     Websit
87.      H         christianlouboutinheels.us
88.      H         christianlouboutinmensshoes.us
89.      H         christianlouboutin-outlet.us
90.      H         christianlouboutin--sale.us
91.      H         christianlouboutin-shoes.us
92.      H         christianlouboutinsneakers.us
93.      H         discountclshoessale.com
94.      H         discountnikeshoes.us
95.      H         discountnikeshoesonline.us
96.      H         dknikefreesalg.com
97.      H         dknikefreeskosalg.com
98.      H         ec-volunteer.com
99.      H         hotelpap.com
100.     H         jordanl 1.us
101.     H         jordanretrol3.us
102.     H         kds-shoes.us
103.     H         kevindurantbasketballshoes.us
104.     H         kobesshoes.us
105.     H         landind.com
106.     H         lebronj amesbasketballshoes11.us
107.     H         lyborse-it.com
108.     H         lygrand.com
109.     H         michaelkorsbagsoutletonlinesale.com
110.     H         montblancpensoutletsales.com
111.     H         newbalanceoutletbuy.com
112.     H         newbalanceoutletsbuy.com
113.     H         new-nikeshoes.us
114.     H         nikeairmax-90.us
115.     H         nikeairmax90womens.us
116.     H         nikeairmax-cheap.us
117.     H         nikeairmaxpaschersolde.fr
118.     H         nikeairmaxsale.us
119.     H         nikeairpresto.us
120.     H         nikebasketballshoesforsale.us
121.     H         nikecheapshoesoutlet.us
122.     H         nikeclearancestore.us
123.     H         nikediscountshoesstore.us
124.     H         nikefactoryoutlet.us
125.     H         nikefactorystore.be
126.     H         nikefactorystore.us
127.     H         nikefactorystorefr.fr
128.     H         nikefree.org
129.     H         nikefreerunsalg-no.com
130.     H         nike-huarache.us
 CaseCase 1:13-cv-08012-CM Document
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         Group     Websit.
131.     H         nikehuarachepaschersoldes .fr
132.     H         nikekobeshoes.us
133.     H         nikeoutletstoreonline.us
134.     H         nikerunningshoesonline.us
135.     H         nikerunningshoesstore.us
136.     H         nikeshoesfactoryoutletstoreonlinesale. co. uk
137.     H         nikeshoesonlineforsal e.us
138.     H         nikeshoesonsal e.us
139.     H         nikeshoesoutletonlinesale.us
140.     H         nikeshoesoutletsal e.us
141.     H         nikeshoesoutletstore.us
142.     H         nikeshoesoutletstoreuk. cam
143.     H         nikeshoesstore.us
144.     H         nikeshoeukoutlet.com
145.     H         nikeshoxclearance.us
146.     H         nikes shoesforsal e. com
147.     H         pdesupport.com
148.     H         pol oralphl aurensal es online
                                           .




149.     H         recumbot.com
150.     H         redbottomheel s.us
151.     H         redbottom-- shoes .us
152.     H         redbottomshoesformen.us
153.     H         redbottom shoesforwomen. us
154.     H         retroj ordan13.us
155.     H         retroj ordansforsal e. us
156.     H         semj acka.com
157.     H         senike-skor.com
158.     H         timberlandsoutletstore.com
159.     H         trxforce.fr
160.     H         whyftt.com
161.     H         womensnikeshoes.us
162.     H         yeezyadidas.us
163.     J         2014airjordanll.com
164.     J         2014airjordan4.com
165.     J         2014airjordan5.com
166.     J         2014airjordanshoes.com
167.     J         abbigliamentobasketbambinonba.top
168.     J         abbigliamentobasketnba.top
169.     J         abbigliamentobasketnbaonline.top
170.     J         abbigliamentobasketonline.top
171.     J         abbigliamentodab asket.top
172.     J         abbigli amentonb a.top
173.     J         abbigliamentonbabambino.top
174.     J         abbigliamentonbaonline.top
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        Group     Website
175.    J         achatmaillotnb a.top
176.    J         achetermaillotdebasket.top
177.    J         achetermaillotnb a.top
178.    J         achetermaillotsnb a.top
179.    J         airj ordanllforsale. com
180.    J         as survi esansfrai s. fr
181.    J         b asketmaill ot.top
182.    J         b asketmaill otsnb a.top
183.    J         basketstoreonline.top
184.    J         beatscolor. com
185.    J         beatscompany.com
186.    J         camisetanba2016.net
187.    J         camisetasdefutbolbaratas2017.com
188.    J         canottabasketpersonalizzata.top
189.    J         canottaitali ab asket.top
190.    J         canottebasketnba.top
191.    J         canottebasketonline.top
192.    J         canottebasketpocoprezzo.top
193.    J         canottenbaapocoprezzo.top
194.    J         canottenbabambino.top
195.    J         canottenbachampion.top
196.    J         canottenb aoutl et.top
197.    J         canottenbapocoprezzo.top
198.    J         cheapkobe9.com
199.    J         compl etob asketnb a.top
200.    J         compl etob asketnb ab ambino.top
201.    J         derrickrose5.com
202.    J         fahrradbekleidung2016.net
203.    J         florent-porta.fr
204.    J         gullivertown. it
205.    J         j ordanllretrocheap. com
206.    J         j ordanretrolcheap. com
207.    J         j ordanretrob est. com
208.    J         j ordanretroboy.com
209.    J         j ordanretrofan.com
210.    J         kdshoes.org
211.    J         kobe9cheap.com
212.    J         ladressecomtoi se. fr
213.    J         lbj shoes. net
214.    J         liens-pratique.fr
215.    J         lindaj erseys.ru
216.    J         magasindemaillotdebasket.top
217.    J         magliabasketpersonalizzata.top
218.    J         magli acelti cnb a.top
 Case Case 1:13-cv-08012-CM Document
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         Group     Website
219.     J         magli eb asketap oc oprezzo. top
220.     J         m agl i eb asketital i a. top
221.     J         magliebasketnba.top
222.     J         m agli eb asketpocoprezzo.top
223.     J         magli edabasketnba.top
224.     J          maglienbashop.top
225.     J          magli ettabasket.top
226.     J          m agl i ettab ask etnb a.top
227.     J          magli ettacelti csb asket.top
228.     J          magliettadabasket.top
229.     J          magliettebasketmilano.top
230.     J          magli ettedab asket.top
231.     J          magliettedabasketnba.top
232.     J          magli ettedibasket.top
233.     J          m agli ettenb aapocoprezzo.top
234.     J          magli ettenb apocoprezzo.top
235.     J          m ai llotam an ch enb a.top_
236.     J          maill otb asketbrookl yn.top
237.      J         maill otb asketbull s. top
238.      J         maill otb asketequi p edefrance. top
239.      J         maillotbasketfemme.top
240.      J         maill otb asketfemm enb a.top
 241.     J         main otb asketj uni or. top
 242.     J         maillotbasketnbapascher.top
 243.     J         maillotbasketpersonnalise.top
 244.     J         maillotcyclism epro. com
 245.     J         maill otcycli smepro2017. corn
 246.     J         m aill otdeb asketcelti cs.top
 247.     J         maill otdeb asketnb apascher. top
 248.     J         maul otdebasketoklahomacity.top
 249.     J       , maill otdeb asketpaschemb a.top
 250.     J         main otdeb asketpersonnali se.top
 251.     J         maillotdefootpascher.tqp
 252.     J         maill otdenb a.top
 253.     J         m aill otequipedefranceb asket. top
 254.     J         m aillote stshortdeb asket. top
 255.     J         m aillotetshortdeb as ket.top
 256.     J         maill otnb a.top
 257.     J         maillotnba2017.com
 258.        J      maill otnb aauthenti que. top
 259.        J      maill otnb achampi on.top
 260.        J      m aill otnb aenfant.top
 261.        J      maill otnb afrance. top
 262.        J      maill otnbajunior.top
     Case 1:13-cv-08012-CM Document
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        Group     Websit
263.    J         maillotnbaoccasion.top
264.    J         maillotnbaofficiel.top
265.    J         maillotnbaparis.top
266.    J         maillotnbapascher.top
267.    J         maillotnbapersonnalise.top
268.    J         maillotnbareplica.top
269.    J         maillotreplicanba.top
270.    J         maillotsbasketnba.top
271.    J         maillotsbasketnbaenfant.top
272.    J         maillotsbasketpascher.top
273.    J         maillotscyclisme2016.net
274.    J         maillotsdebasketnba.top
275.    J         maillotsdebasketnbapascher.top
276.    J         maillotsdefootballpascher.top
277.    J         monclerpascher2017.com
278.    J         nbaabbigliamento.top
279.    J         nbaitalia.top
280.    J         nbamaglie.top
281.    J         nbamaillot.top
282.    J         nbanegozio.top
283.    J         nbashopitalia.top
284.    J         nbastoreitalia.top
285.    J         newbalancesoldes.net
286.    J         nikeairpegasus.fr
287.    J         nouveaumaillotfoot.top
288.    J         nouveaumaillotnba.top
289.    J         nouveaumaillotsdefootball.top
290.    J         nouveauxmaillots.fr
291.    J         nouveauxmaillotsnba.top
292.    J         pantalonibasketnba.top
293.    J         passparcours.fr
294.    J         personnalisermaillotdebasket.top
295.    J         radbekleidungoutlet.com
296.    J         retrolljordans2014.com
297.    J         retrol3j ordans2014.com
298.    J         sacscelineprix.com
299.    J         shopandfun.fr
300.    J         storydance.fr
301.    J         tenuecyclistepro.com
302.    J         venditacanottenba.top
303.    J         venditamaglienba.top
304.    J         ventedemaillotdebasket.top
305.    J         ventemaillotnba.top
306.    L         360kicks.ru
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        Group     Websit
307.    L         bussareps.ru
308.    L         buyshoesclothes.ru
309.    L         buyshoesclothing.ru
310.    L          digdeal.ru
311.    L         etaobaoagent.com
312.    L         exsneaker.ru
313.    L         fashionbagtrade.cn
314.    L         fashionbagtrade.ru
315.    L         fashionbagtrade.top
316.    L         fashionbagtradecn.cn
317.    L         fashionbagtradecn.com
318.    L         freerun-tn-au.biz
319.    L         heatkickz.ru
320.    L         hiphopxp.ru
321.    L         idsole.ru
322.    L         jerseysforcheap.ru
323.    L         jerseystops.biz
324.    L         jerseystops.org
325.    L         jerseystops.ru
326.    L         jordankickz.cn
327.    L         jumpmanzoom.ru
328.    L         kicksdream.ru
329.    L         kicksfans.ru
330.    L         kicksfashion.ru
331.    L         kickzelite.ru
332.    L         kickznote.ru
333.    L         macmakeuponline.com
334.    L         maillotdefoot-mall.com
335.    L         mastereps.ru
336.    L         MonChaussure-Fr.com
337.    L         nflusaclub.cn
338.    L         nioshop.ru
339.    L         repmallstore.ru
340.    L         repsperfect.ru
341.    L         shoes-bags-china.cn
342.    L         shoesbagtrade.com
343.    L         sneakeri.ru
344.    L         styleing.ru
345.    L         swagstyling.ru
346.    L         tradingaaa.com
347.    L         youtotaobao.com
348.    M         adidasboostonline.com
349.    M         arrayproxima.com
350.    M         bestjerseysvip.com
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        Group     Website
351.    M         best-nikefreerun.com
352.    M         best-nikefreeruns.com
353.    M         best-nikefrees.com
354.    M         bestnikerosherun.com
355.    M         b i rken stockoutl ets al e. de
356.    M         bului . com
357.    M         cami satimefutebol . com
358.    M         chri sti anl oub outi noutl ete s al e s. corn
359.    M         chri stianlouboutinoutletsale. org.uk
360.    M         chutei rani ke so ci ety. com
361.    M         chuteirasfutebolnike. com
362.    M         j ordan soffi ci al . com
363.    M         karenmillenoutletsale.com
364.    M         kengriffeyj rshoes2016.com
365.    M         kobellxi .com
366.    M         nbakobej p.com
367.    M         newbalanceukshoes. com
368.    M         nicenike.com
369.    M         nikedunkheel sale. com
370.    M         ni kefre e50outl et. com
371.    M         ni kefre edam e sko. dk
372.    M         nikefreedanmarksko.com
373.    M         nikefree-factory.com
374.    M         nikefreeflyknit. de
375.    M         ni kefre eoffi ci al . com
376.    M         nikefreerunclearance. com
377.    M         nikefreerundktilbud. com
378.    M         ni kefre erundk-ti lbud. com
379.    M         ni kefre erunl aufs chuhe. de
380.    M         nikefreerunskoidk.com
381.    M         ni kefre erun s offi ci al . com
382.    M         ni kefre e sl aufschuh e. de
383.    M         nikelebron14.com
384.    M         nikemartj p.com
385.    M         nikeoffi ci al online. com
386.    M         ni kero shel aufs chuhe. de
387.    M         ni kero sheruni danm ark. com
388.    M         nikerosherunlaufschuhe. de
389.    M         ni kero sherunonl i ne. com
390.    M         nikesneakerstores.com
391.    M         occhi alirayb ansol e.it
392.    M         odoa. site
393.    M         offi ci al kengri ffey shoe s . c om
394.    M         offi ci al ni kefree s. com
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         Group    Website
395.    M          officialnikefreesale.com
396.    M          olgaollson.com
397.    M          outdoorfurniture.club
398.    M         pennyhardawayshoesus.com
399.    M         pennyhardawaysshoes.us
400.    M         rollertrade.com
401.    M          scarpecalcioonline.it
402.    M          socceronlinejp.com
403.     S        basketstoremaillotnbapascher.fr
404.     S        buyjersey.org
405.     S        buyjerseys.ru
406.     S        cheapjerseysfan.us
407.     S        cheapjerseysfree.us
408.     S        cheapnfljerseyschina.cn
409.     S        cheapsportsgears.ru
410.     S        cheapsportsgears.us
411.     S        cheapwholesalegears.com
412.     S        cowboysfan.us
413.     S        customizesportswear.com
414.     S        diysportsshirts.com
415.     S        gamesjerseys.ru
416.     S        greatnewjerseys.biz
417.     S        greatnewjerseys.org
418.     S        hotsalej erseys.net
419.     S        ideologiefreie-astrologie.de
420.     S        jerseysvip.net
421.     S        jerseysvip.ru
422.     S        jerseyswholesalechina.ru
423.     S        lovej erseysshop.com
424.     S        lovestitchedj erseys.com
425.     S        nfljerseysale.us.com
426.     S        nflsupply.ru
427.     S        projerseyscheap.com
428.     S        shopcheapjersey.us
429.     S        shopjerseyhere.com
430.     S        sneakersonfire.net
431.     S        underjersey.vip
432.     S        underjerseys.top
433.    S         underjerseysnacy.us
434.    S         undersportsjerseys.com
435.    S         wholesalefreeshipping.biz
436.    S         wholesalefreeshipping.co
437.    S         wholesalefreeshipping.ru
438.    S         wholesalej erseys4u.net


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        Group     Website
439.    S         wholesalej erseysshop.ru
440.    S         wholesalenflgears.com
441.    S         wholesalenflprice. org
442.    S         wholesalercheapj erseys.us
443.    S         wholesaleteamj erseys.com
444.    W         20131ebronxi.com
445.    W         2014j ordan6infared.com
446.    W         2014kd6.com
447.    W         2014kevindurantvi.com
448.    W         2014kobe-shoesstore.com
449.    W         2016airmax90.com
450.    W         2016airmax-fr.com
451.    W         2016customizedjerseys.com
452.    W         2016flyknitshoes.com
453.    W         2016freerunflyknit.com
454.    W         2016freesale.com
455.    W         2016j ordankicks. com
456.    W         2016j ordanretail. com
457.    W         2016kd8hot.com
458.    W         20161ebron13 sale. com
459.    W         20161ebron13 shoes.com
460.    W         2016mvpshoes.com
461.    W         2016nbakicks.com
462.    W         2016newairmax.com
463.    W         2016retrollsale.com
464.    W         2016retrojordans.com
465.    W         2016retros.com
466.    W         2017basketballshoes.com
467.    W         2017curry4shop.com
468.    W         2017freeflyknit.com
469.    W         2017newmax.com
470.    W         2017newnikefree.com
471.    W         2017nmd.com
472.    W         2017yeezy.com
473.    W         adidasoutletsale. com
474.    W         airjordanstore-us.com
475.    W         airjordan-usstore.com
476.    W         air -max -2017. com
477.    W         airmax2017nike.com
478.    W         airmax2017release.com
479.    W         aj store -us. com
480.    W         beatsbydre-us.com
481.    W         bestcustomizedjerseys.com
482.    W         bestsneakerclub.com


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        Group     Website
483.    W         bootsoutlets-us. com
484.    W         boots-us.com
485.    W         buyauthenticretrojordans.com
486.    W         concord -11. com
487.    W         concordlllowj ordans.com
488.    W         curry2allstar.com
489.    W         curry2backshoes.com
490.    W         curry3basketball shoes. com
491.    W         curry3mvpshoes.com
492.    W         curry4hotsale.com
493.    W         curry4releasedate.com
494.    W         curry4shoes.com
495.    W         diyucases.com
496.    W         dunkhighbox.com
497.    W         dunkhighkicks.com
498.    W         ejordansbay.com
499.    W         free5flyknitsale.com
500.    W         freerun2016hot.com
501.    W         freerun2016new.com
502.    W         freerun2016sale.com
503.    W         freerun2017new.com
504.    W         freerun2box.com
505.    W         freerun3hot.com
506.    W         freerun5hot.com
507.    W         freeshoes2016hot.com
508.    W         freeshoes2016new.com
509.    W         hotjordanretrobox.com
510.    W         hotkd2016sale.com
511.    W         jordanlOretrobox.com
512.    W         j ordanllconcordnew. com
513.    W         jordan2016fr.com
514.    W         jordan2016s.com
515.    W         jordan7raptorsshoes.com
516.    W         jordanontheway.com
517.    W         jordanretrojordans.com
518.    W         jordanretro-us.com
519.    W         jordanshoesontheway.com
520.    W         kevindurant-vshoes. com
521.    W         kyrieshoesoutlet.com
522.    W         lebronlOinstock.com
523.    W         lebronllboxes.com
524.    W         lebronl3mvpshoes.com
525.    W         lebronl3nba.com
526.    W         lebronl4sneaker.com


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        Group     Website
527.    W         lebron2016sale.com
528.    W         lebron9lowshoes.com
529.    W         lebronxiallshoes.com
530.    W         max2017best.com
531.    W         max2017sale.com
532.    W         max2017shoesale.com
533.    W         new2014sbdunk.com
534.    W         newbalance-es.com
535.    W         newbalance-factorystore.com
536.    W         newjordanretrobox.com
537.    W         nflstoreid.com
538.    W         nicebasketballshoes.com
539.    W         nikedunk2014new.com
540.    W         nikedunks2017.com
541.    W         nikekyrieshoesoutlets.com
542.    W         nikelebron14releasedate.corn
543.    W         osneakerus.com
544.    W         retro-13.com
545.    W         retro2017sale.com
546.    W         retrojordansfan.com
547.    W         retrojordansretail.com
548.    W         sneakersrun.org
549.    W         soccercleatsstation.com
550.    W         stephencurrymvpshoes.com
551.    W         supra-factorystore.com
552.    W         topjordans2014.com
553.    W         topnbashoes.com
554.    W         twicebuy.com
555.    W         us-airjordan.com
556.    W         vintageblazerbox.com
557.    W         womensretro3.com
558.    W         yeezy350black.com
559.    W         yeezy350v2beluga.com
560.    W         yeezyboost2017.com
561.    X         06nba.com
562.    X         airmaxpop.com
563.    X         cheaphuarache2016.com
564.    X         firerunningb.com
565.    X         hao9188.com
566.    Y         lebron9lowshoes.com




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                           All Additional Bank Accounts

                         Bank                             Account Number
        Bank of China
2.      Bank of China
3.      Bank of China
4.      Bank of China
5.      Bank of China
6.      Bank of China
7      Bank of China
8.      China Construction Bank
9.      China Construction Bank
10.     China Construction Bank
11.China      Construction Bank
12.    China Construction Bank
13.    Industrial and Commercial Bank of China
14.    Industrial and Commercial Bank of China
15.    Industrial and Commercial Bank of China
16.    Industrial and Commercial Bank of China
17.    Industrial and Commercial Bank of China
18.    Industrial and Commercial Bank of China
19.    Industrial and Commercial Bank of China
20.    Industrial and Commercial Bank of China
21.    Industrial and Commercial Bank of China
22.    Industrial and Commercial Bank of China
23.    JPMorgan Chase

24.    USAA Federal Savings Bank
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                noi   samsciam
                      IdolAnci S.I3 AD zIcis
Z          EE         OooEduago 13 S.I3 AD ciwo.s
£          g          laiEoaduago .s/CasTa woo
.17        g          .s/CasTaf-aiSboE woo
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.9         g          aw.s/CasTaf-aiSboE
L          EE
                      md.s/CasTaf-aiSboE
.8         g          laiSboE .s/CasTa pies
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 £i        EE
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 17I       EE
                      [ uo.woo.aiSboEsAasTa
 SI        EE         [ t.aiSboEsAasTa
 *9i       EE
                      alSboEsAasJor dol.
 IL        EE         .Taluausl woo
 *81       EE         fEuooi oo.s/CasTa
 *61       EE         fEuooi S.I3 AD uo.s
OZ         il         fFuooi siCasJa woo.
Z     1    EE
                      [Euooi sAasTa Tau.
ZZ         EE
                      fEuooi S.I3 AD S EJO'


£Z         EE         fEuooi oTd.s/CasTa
17Z        EE         fEuooi S.I3 AD s md.
SZ         EE
                      [Euooi sAasTa dogs  .



9Z         EE
                      PUO0I S.I3 AD s dol.
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Z8         EE
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                      Mon' sAasTa pp.
£Z         EE
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                                      .



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                      [Aloni ADS.13 s dol.
*Of        EE         S.131-Aloni AD S ' EUEM
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                      Mon' siCasn MM.
Zi7        EE
                      [-Aloni S.I3 AD S       '   ZAX
     Case 1:13-cv-08012-CM Document
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        Group    Website
43.     B         marketgooglej erseys.com
44.     B        NikeNflStore.net
45.     B         seogooglej erseys.com
46.     B         shopzun.ru
47.     F        bluefree30v4.com
48.     G         Cheaphuarache2016.com
49.     H         airjordanretroofficial.com
50.     H         airjordanretrocheapshoes.com
51.     H         airjordanretroshoes.org
52.     H         airmax90.us
53.     H        billigenikefreedktilbud.coln
54.     H        billigenikeskotilbud.com
55.     H        boutiquenikechaussures.fr
56.     H        byebyebo.com
57.     H         celofts.com
58.     H         chaussurenikepascherfr.fr
59.     H         chaussuresnikepaschersoldes.fr
60.     H         cheapjordansforsale.org
61.     H         cheap-nikebasketballshoes.us
62.     H         cheapnikekevindurantshoes.us
63.     H         cheapnikerunningshoes.us
64.     H         cheapnikeshoesonline.us
65.     H         cheapnikeshoes.us
66.     H         cheapnikeshoesonlineforsale.us
67.     H         cheapnikeshoesonsale.us
68.     H         cheapnikeshoesstore.us
69.     H         cheapnikeshoeswholesale.us
70.     H         discountnikeshoes.us
71.     H         discountnikeshoesonline.us
72.     H         dknikefreesalg.com
73.     H         dknikefreeskosalg.com
74.     H         ec-volunteer.com
75.     H         hotelpap.com
76.     H        jordanl 1.us
77.     H        jordanretrol3.us
78.     H         kds-shoes.us
79.     H         kevindurantbasketballshoes.us
80.     H        kobesshoes.us
81.     H        landind.com
82.     H        lebronj amesbasketballshoes11.us
83.     H        lygrand.com
84.     H        massagepraktijkmaxwell.n1
85.     H        new-nikeshoes.us
86.     H        nikeairhuaracheblack.com
     Case 1:13-cv-08012-CM Document
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        Group    Websites
87.     H        nikeairmax-90.us
88.     H        nikeairmax90womens.us
89.     H        nikeairmax-cheap.us
90.     H        nikeairmaxpaschersolde.fr
91.     H         nikeairmaxsal e.us
92.     H         nikeairpresto.us
93.     H         nikebasketball shoesforsal e.0 s
94.     H         nikecheapshoesouti et.us
95,     H         nikecl earancestore.us
96.     H         nikediscountshoesstore.us
97.     H         nikefactoryoutlet.us
98.     H         nikefactorystore.be
99.     H         nikefactorystore.us
100.    H         nikefactorystorefr.fr
101.    H         nikefree.org
102.    H         nikefreerun sal g -no. com
103.    H         nike-huarache.us
104.    H         nikehuarachepaschersol des .fr
105.    H         nikekobeshoes.us
106.    H         nikeoutletstoreonline.us
107.    H         nikerunningshoesonline.us
108.    H         nikerunningshoes store.us
109.    H         nikeshoesonlineforsale.us
110.    H         nikeshoesonsal e.us
111.    H         nikeshoesoutletonlinesale.us
112.    H         nikeshoesoutl etsa1 e.us
113.    H         nikeshoesoutletstore.us
114.    H         nikeshoesouti etstoreuk, corn
115.    H         nikeshoesstore.us
116.    H         nikeshoeukoutlet.com
117,    H         nikeshoxclearance.us
118.    H         nikeskorse. se
119.    H         nikesshoesforsale. com
120.    H         niketrainersstoreuksale.com
121.    H         recumbot.com
122.    H         retroj ordan13 .us
123.    H         retroj ordansforsal e.us
124.    H         senike-skor.com
125.    H         whyftt.com
126,    H         womensnikeshoes.us
127.    J         2014airjordan11.com
128.    J         2014airjordan4.com
129.    J         2014airjordan5.com
130.    J         2014airjordanshoes.com
     Case 1:13-cv-08012-CM Document
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        Group    Website
131.    J        abbigli amentob asketb ambinonb a. top
132.    J        abbigli amentob asketnb a. top
133.    J        abbigli amentob asketnb aonline. top
134.    J        abbigliamentobasketonline.top
135.    J        abbigliamentodab asket.top
136.    J        abbigli amentonb a. top
137.    J        abbigli amentonb ab ambino. top
138.    J        abbigliamentonbaonline.top
139.    J        airj ordanllforsale. com
140.    J        basketstoreonline.top
141.    J        camisetasdefutbolbaratas2017.com
142.    J        canottabasketpersonalizzata.top
143.    J        canottaitali ab asket.top
144.    J        canotteb asketnb a. top
145.    J        canottebasketonline.top
146.    J        canotteb asketp ocoprezzo. top
147.    J        canottenb aap ocoprezzo. top
148.    J        canottenbab ambino.top
149.    J        canottenbachampion.top
150.    J        canottenbapocoprezzo.top
151.    J        cheapkob e9.com
152.    J        compl etob asketnb a.top
153.    J        compl etob asketnb ab ambino. top
154.    J        derrickrose5.com
155.    J        fahrradb ekl ei dung2016. net
156.    J        gulliyertown. it
157.    J        j ordanllretrocheap. corn
158.    J        j ordanretro 1 cheap. corn
159.    J        j ordanretrob est. com
160.    J        j ordanretroboy. com
161.    J        j ordanretrofan.com
162.    J         kdshoes. org
163.    J         kobe9cheap.com
164.    J         ladressecomtoi se. fr
165.    J        lbj shoes. net
166.    J        lindaj erseys.ru
167.    J        magliabasketpersonalizzata.top
168.    J        magli eb asketap ocoprezzo. top
169.    J        magli eb asketitali a.top
170.    J        magli eb asketp ocoprezz o.top
171.    J        magli ettab asket.top
172.    J        magli ettab asketnb a.top
173.    J        magli ettacelti csb asket. top
174.    J        magli ettadab asket.top
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        Group    Websites
175.    J        magliettebasketmilano.top
176.    J        magli ettedab asket.top
177.    J        magli ettedab asketnb a.top
178.    J        magli ettedib asket.top
179.    J        magli ettenb aapocoprezzo.top
180.    J        magli ettenb apocoprezz o.top
181.    J        maillotdefootpascher.top
182.    J        nb aabbi gli amento.top
183.    J        nb aitali a.top
184.    J        nbanegozio.top
185.    J        nbashopitalia.top
186.    J        nb astoreitali a.top
187.    J        newj ordanllgammablue.com
188.    J        nikeairpegasus.fr
189.    J        nouveaumaillotfoot.top
190.    J        nouveaumaill otsdefootb all .top
191.    J        nouveauxmaillots. fr
192.    J        pantal onib asketnb a.top
193.    J        radb ekl ei dungoutl et. com
194.    J        retrol 1 j ordans2014.com
195.    J        retrol3j ordans2014.com
196.    J        shopandfun.fr
197.    J        storydance.fr
198.    J        tenuecyclistepro.com
199.    L        360kicks.ru
200.    L        air-foamposite-galaxy. com
201.    L        bussareps.ru
202.    L        buyshoesclothes.ru
203.    L        buyshoesclothing.ru
204.    L        computer-sl ave. fr
205.    L        digdeal . ru
206.    L        ex sneaker.ru
207.    L         fashionbagtrade.cn
208.    L         fashionbagtrade.ru
209.    L         fashionbagtradecn.cn
210.    L         fashionbagtradecn.com
211.    L         foamposite-pro.com
212.    L         freerun-tn-au.biz
213.    L        heatkickz.ru
214.    L        hiphopxp.ru
215.    L        idsole.ru
216.    L        j erseysforcheap.ru
217.    L        j erseystops.biz
218.    L        j erseystops.org
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        Group    Website
219.    L        jerseystops.ru
220.    L        jordankickz.cn
221.    L        jordanretrointhebox.com
222.    L        jumpmanzoom.ru
223.    L         kicksdream.ru
224.    L         kicksfans.ru
225.    L         kicksfashion.ru
226.    L         kickzelite.ru
227.    L         kickznote.ru
228.    L         lebronxiieaster.com
229.    L         maillotdefoot-mall.com
230.    L         mastereps.ru
231.    L         nflusaclub.cn
232.    L         nioshop.ru
233.    L         repmallstore.ru
234.    L         repsperfect.ru
235.    L         shoes-bags-china.cn
236.    L         sneakeri.ru
237.    L         styleing.ru
238.    L         supplyj erseyus.co
239.    L         swagstyling.ru
240.    M         allthecodes.co.uk
241.    M         apotek2003. se
242.    M        bestjerseysvip.com
243.    M        best-nikefreerun.com
244.    M        best-nikefreeruns.com
245.    M        best-nikefrees.com
246.    M        bestnikerosherun.com
247.    M         camisatimefutebol.com
248.    M         cersec.co.uk
249.    M         chuteiranikesociety.com
250.    M         chuteirasfutebolnike.com
251.    M        jordansofficial.com
252.    M         kengriffeyjrshoes2016.com
253.    M        kobellxi.com
254.    M        monzabimbi.it
255.    M        nbakobejp.com
256.    M        nicenike.com
257.    M        nikedunkheelsale.com
258.    M        nikefree50outlet.com
259.    M        nikefreedamesko.dk
260.    M        nikefreedanmarksko.com
261.    M        nikefree-factory.com
262.    M        nikefreeflyknit.de
     Case 1:13-cv-08012-CM Document
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        Group    Websites
263.    M        nikefreeofficial.com
264.    M        nikefreerunclearance.com
265.    M        nikefreerundktilbud.com
266.    M        nikefreerundk-tilbud.com
267.    M        nikefreerunlaufschuhe.de
268.    M        nikefreerunskoidk.com
269.    M        nikefreerunsofficial.com
270.    M        nikefreeslaufschuhe.de
271.    M        nikelebronl4.com
272.    M        nikemartjp.com
273.    M        nikeofficialonline.com
274.    M        nikeroshelaufschuhe.de
275.    M        nikerosherunidanmark.com
276.    M        nikerosherunlaufschuhe.de
277.    M        nikerosherunonline.com
278.    M        nikesneakerstores.com
279.    M        officialkengriffeyshoes.com
280.    M        officialnikefrees.com
281.    M        officialnikefreesale.com
282.    M        olgaollson.com
283.    M        pennyhardawayshoesus.com
284.    M        pennyhardawaysshoes.us
285.    M        pricebook.ch
286.    M        scarpecalcioonline.it
287.    M        socceronlinejp.com
288.    M        trancegate.it
289.    S        buyjersey.org
290.    S        cheapjerseysfan.us
291.    S        cheapsportsgears.ru
292.    S        cheapsportsgears.us
293.    S        cheapwholesalegears.com
294.    S        cowboysfan.us
295.    S        diysportsshirts.com
296.    S        gamesjerseys.ru
297.    S        greatnewjerseys.biz
298.    S        greatnewjerseys.org
299.    S         hotsalej erseys.net
300.    S        jerseysvip.net
301.    S        jerseysvip.ru
302.    S        jerseyswholesalechina.ru
303.    S         lovej erseysshop.com
304.    S         lovestitchedj erseys.com
305.    S         nfljerseysale.us.com
306.    S         nflsupply.ru
     Case 1:13-cv-08012-CM Document
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        Group    Websites
307.    S        projerseyscheap.com
308.    S        shopcheapjersey.us
309.    S        sneakersonfire.net
310.    S        underjersey.vip
311.    S        underjerseys.top
312.    S        underjerseysnacy.us
313.    S        undersportsjerseys.com
314.    S        wholesalefreeshipping.biz
315.    S        wholesalefreeshipping. co
316.    S        wholesalefreeshipping.ru
317.    S        wholesalej erseys4u.net
318.    S        wholesalej erseysshop.ru
319.    S        wholesalenflgears.com
320.    S        wholesalenflprice. org
321.    S        wholesaleteamj erseys.com
322.    W        20131ebronxi.com
323.    W        2014j ordan6infared.com
324.    W        2014kd6.com
325.    W        2014kevindurantvi.com
326.    W        2014kobe-shoesstore.com
327.    W        2016airmax-fr.com
328.    W        2016customizedjerseys.com
329.    W        2016flyknitshoes.com
330.    W        2016freerunflyknit.com
331.    W        2016freesale.com
332.    W        2016kd8hot.com
333.    W        20161ebron13 sale.com
334.    W        20161ebron13 shoes.com
335.    W        2016nbakicks.com
336.    W        2016newairmax.com
337.    W        2016newlebronl3hot.com
338.    W        2016retrollsale.com
339.    W        2016retros.com
340.    W        2017basketballshoes.com
341.    W        2017curry4shop.com
342.    W        2017freeflyknit.com
343.    W        2017newmax.com
344.    W        2017newnikefree.com
345.    W        airjordan-usstore.com
346.    W        airjordanstore-us.com
347.    W        air -max -2017. com
348.    W        airmax2017nike.com
349.    W        airmax2017release.com
350.    W        aj store -us. com
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        Group    Websites
351.    W        bestcustomizedjerseys.com
352.    W        bestsneakerclub.com
353.    W        buyauthenticretrojordans.com
354.    W         concord -11. com
355.    W         concordlllowj ordans.com
356.    W         curry2backshoes.com
357.    W         curry3basketball shoes. com
358.    W         curry4hotsale.com
359.    W         curry4releasedate.com
360.    W         curry2allstar.com
361.    W         dunkhighbox.com
362.    W         dunkhighkicks.com
363.    W         ejordansbay.com
364.    W         free5flyknitsale.com
365.    W         freerun2016hot.com
366.    W         freerun2016new.com
367.    W         freerun2016sale.com
368.    W         freerun2017new.com
369.    W         freerun2box.com
370.    W         freerun3hot.com
371.    W         freerun5hot.com
372.    W         freeshoes2016hot.com
373.    W         freeshoes2016new.com
374.    W         hotjordanretrobox.com
375.    W         hotkd2016sale.com
376.    W        jersey-kingdom.co
377.    W        jordanlOretrobox.com
378.    W        j ordanllconcordnew. com
379.    W        jordan2016s.com
380.    W        jordan7raptorsshoes.com
381.    W        j ordanontheway. corn
382.    W        jordanretrojordans.com
383.    W        jordanretro-us.com
384.    W        jordanshoesontheway.com
385.    W        jordanshoesstore-us.com
386.    W         kevindurant-vshoes. com
387.    W         kyrieshoesoutlet.com
388.    W         lebron9lowshoes.com
389.    W         lebronlOinstock.com
390.    W         lebronllboxes.com
391.    W         lebronl3mvpshoes.com
392.    W         lebronl4sneaker.com
393.    W         lebron2016sale.com
394.    W         lebronxiall shoes. com
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        Group     Websites
395.    W         max2017best.com
396.    W         max2017sale.com
397.    W         max2017shoesale.com
398.    W         new2014 sb dunk. com
399.    W         newj ordanretrobox.com
400.    W         nflstoreid.com
401.    W         nicebasketball shoes. com
402.    W         nikedunk2014new.com
403.    W         nikedunks2017.com
404.    W         nikekyrieshoesoutlets.com
405.    W         nikelebron14rel easedate. corn
406.    W         osneakerus.com
407.    W         retro-13. com
408.    W         retro2017sale.com
409.    W         retroj ordansfan.com
410.    W         retroj ordansretail. com
411.    W         soccercl eatsstati on. com
412.    W         stephencurrymvp shoes. com
413.    W         topj ordans2014.com
414.    W         topnbashoes.com
415.    W         us-airj ordan.com
416.    W         vintageblazerb ox . com
417.    W         womensretro3.com
418.    X         airj ordanfly. com
419.    X         airmaxpop.com
420.    X         cheaphuarache2016.com
421.    X         firerunningb . com
422.    X         hao9188.com




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             ATTACHMENT 6
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                            Judgment Debtor Aliases

'nn
 1.
                      Group
                        B
                                      Name
                                      Wu Jinzhao
 2.                     B             George Chen
 3.                     B             Weiming Yang
 4.                     B             Yang Yan
 5.                     B
                                      rgrX
 6.                     B             Chen Zhihui
 7.                     B             Fu Jiang Li
 8.                     B             Li Fu Jiang
 9.                     B             Tang Jinying
 10.                    B             Hua Ping Xiong
 11.                    B             Xiong Hua Ping
 12.                    B             Hong Jin Zheng
 13.                    B             Zheng Hong Jin
 14.                    B             CaiLiMing
 15.                    B             Linhao
 16.                    B             liting dai
 17.                    B             tang jingying
 18.                    B
                                      PkIPT
 19.                    F             Chong Seng
 20.                    F             tian xiawei
 21.                    G             wuzigiang
 22.                    H             Yu Lao Da
 23.                    H             Linda
 24.                    H             Linda K
 25.                    H             Annmarie Rivera
 26.                    H             Bags Sell Inc
 27.                    H             Bag Selling
 28.                    H             Emily McBean
 29.                    H             Feng Ningxue
 30.                    H             Fengningxue Fengningxue
 31.                    H             Haima Xiao
 32.                    H             Loetitia Tibi
 33.                    H             Lynette Ulaskas
 34.                    H             Marielle Cantillo
 35.                    H             Marielle Cantillon
 36.                    H             Micheal CJB
 37.                    H             Mirabel Wolseley
 38.                    H             Sammul Koo
 39.                    H             Sarah Crews
 40.                    H             Season Lee
 41.                    H             Wai Tong
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                      Group        Name
 42.                    H          haima xuan
 43.                    H          Zita Binder
 44.                    J          Henri Rene
 45.                    J           alexander hueber
 46.                    J          anj a eiffel
 47.                    J          annett junker
 48.                    J          birgit eggers
 49.                    J          Brigitte Neumann
 50.                    J          christin wirth
 51.                    J          christina baumgartner
 52.                    J          Diana Kuhn
 53.                    J          Diana Schneider
 54.                    J          dirk baader
 55.                    J          eric diederich
 56.                    J          He Yao Long
 57.                    J          He Yaolong
 58.                    J          johanna schweitzer
 59.                    J          Julia Lehmann
 60.                    J          Juliane Bar
 61.                    J          karolin beike
 62.                    J          Kathrin Lemann
 63.                    J          klaudia naumann
 64.                    J          leonie berg
 65.                    J          Liang Xing Zhu
 66.                    J          Liang Xingzhu
 67.                    J          lisa gersten
 68.                    J          lukas sankt
 69.                    J          Manuela Schiffer
 70.                    J          maria faerber
 71.                    J          Matthias Engel
 72.                    J          Max Foerster
 73.                    J          maximilian schroeder
 74.                    J          Mikkel Knudsen
 75.                    J          Nuno Santos
 76.                    J          Philipp Hahn
 77.                    J          stefan kaufmann
 78.                    J          steffen freytag
 79.                    J          thorsten lehrer
 80.                    J          tobias beckenbauer
 81.                    J          Shubham Sedo
 82.                    J          Zhao Jin
 83.                    J          Andrew Marcell
 84.                    J          canganic kong
 85.                    J          li minge
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                      Group         Name
 86.                    J           lukas eichel
 87.                    J           Zhang Shan
 88.                    L           Sophie
 89.                    L           Lin Sandy
 90.                    L           Brent Lin
 91.                    L           Bella Lin
 92.                    L           0 li
 93.                    L           Chen Wei Zu
 94.                    L           China Fashion Trade Co.,Ltd
 95.                    L           Sophie
 96.                    L           wang can qi
 97.                    L           Andrew Marcell
 98.                    L           Fanskel Lemuel
 99.                    L           fu dan dan
 100.                   L           Mabelle Weig
 101.                   L           Yang lin
 102.                   L           yibao chen
 103.                   L           yu xiao
 104.                   L                *'
 105.                   L           01Ni
 106.                   M          Z Mandy
 107.                   M          Electronic Arts Norway AS
 108.                   M          Global Domain
 109.                   M          Global Trade
 110.                   M          Jason Ballard
 111.                   M          Jovan Milenkovic
 112.                   M          Karin Eiffel
 113.                   M          Karry
 114.                   M          Loren Jackson
 115.                   M          Lu Bang Jin
 116.                   M          Qing Hua
 117.                   M          Sandra Ozturk
 118.                   M          Sjovar Schjelderup
 119.                   M          Smith Keith
 120.                   M          Wendle Schonig
 121.                   M          Zhong Mao
 122.                   M          Daniel Keller
 123.                   M          Leanne Scott
 124.                   M          Loren Jin
 125.                   M          mathias holtzmann
 126.                   M          Michael Witherington
 127.                   M          phillipp frei
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                      Group         Name
 128.                   S           Xiao Rong
 129.                   S           Bosutongda
 130.                   S           Dana
 131.                   S           Lina
 132.                   S           Una Ji
 133.                   S
                                    1.1)ri]
 134.                   S          Benxin Xuson
 135.                   S          Un Jerseys
 136.                   S          Un Jerseys Co Ltd
 137.                   S          Xuxianshuai
 138.                   S          Xianshuai Xu
 139.                   S          Yongheng Co Ltd
 140.                   S          Rene Paley
 141.                   W          Chris li y1002
 142.                   W           Liujiaxin
 143.                   W          Jian Lin
 144.                   W          Adrian Fontanez
 145.                   W          Lucy Jackson
 146.                   W          Quang Wen
 147.                   W          Wen Quang
 148.                   W           shadhiyah hasychak
 149.                   W          chen jun hui
 150.                   W          emmeli duhaime
 151.                   W          Howard Linsa
 152.                   W          john peir
 153.                   W          Join Lin
 154.                   W          Nian Hua
 155.                   W          nicol Duchaine
 156.                   W          When Ben Zhou
 157.                   X          Lanzhengbin
 158.                   X          Kelly Juddy
 159.                   X          shun sun
 160.                   X          wuzigiang
 161.                   X          Wu Zhihong
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             114.   luckyj erseys .cc
             115.   luckyjerseys.club
             116.   lucky -jerseys .cn
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             431.   cheapnikefreetr.com
             432.   cheapnikekevindurantshoes .us
             433.   cheapnikerunningshoes.us
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             436.   cheapnikeshoesonlineforsale.us
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              469.   lygrand.com
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              472.   newbalanceoutletbuy.com
              473.   newbalanceoutletsbuy.com
              474.   new-nikeshoes.us
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              476.   nikeairmax90womens.us
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             485.    nikefactoryoutlet.us
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             496.    nikefreetilbudlobesko.com
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             500.    nikeoutletstoreonline.us
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              520.    redbottomshoesformen.us
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             584.    achetermaillotnba.top
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             601.    canottebasketpocoprezzo.top
             602.    canottenbaapocoprezzo.top
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             608.    cheap- air -j ordan.c om
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             619.    fahrradbekleidung2016.net
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             622.    gull i vertown.it
             623.    jordanllretrocheap.com
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              646.   magliacelticnb a.top
              647.   magliebasketapocoprezzo.top
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              649.   maglieb asketnba. top
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              651.   magliedabasketnba.top
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              653.    magliettabasket.top
              654.    magliettabasketnba.top
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             936.   che apj ers ey swholes ale shop.c om
             937.   che apj ers ey swholes ale supplier.c om
             938.   cheapjordansuk.co.uk
             939.   che aplebronshoes info
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             940.   cheapnikeairmaxtrainers3sale.co.uk
             941.   cheapnikefree.info
             942.   che apnikefree shoe s .info
             943.   che apnikenflelitej ersey s . org
             944.   che apniketn. info
             945.   cheapnikeusa.info
             946.   che aprep s . cc
             947.   che aprep s . org
             948.   cheapreps.us
             949.   cheapsize.cc
             950.   cheapsize.com
             951.   cheapsize.ru
             952.   cheapu.co.uk
             953.   coojerseys.us
             954.   countrykickz.com
             955.   deyvip.com
             956.   deyvip.net
             957.   digdeal.ru
             958.   doorjerseys.com
             959.   ecflea.com
             960.   elitecheapnflj ersey s authentic shop.c om
             961.   elitej ersey s suppliers .com
             962.   elitenfljerseyscheap.com
             963.   elitenflj ersey scheap shop.com
             964.   elitesportjerseys.com
             965.   etaobaoagent.com
             966.   ex sneaker.net


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                       Website
             967.      exsneaker.ru
             968.      exsneaker.us
             969.      exsneaker2.com
             970.      eyjordans.com
             971.      fansjerseys site.com
             972.      fashionbagtrade.cn
             973.      fashionbagtrade.com
             974.      fashionbagtrade.ru
             975.      fashionbagtrade.top
             976.      fashionbagtradecn.cn
             977.      fashionbagtradecn.com
             978.      fashiongoods.cc
             979.      fashion sneaker.co .uk
             980.      findsavemall.com
             981.      footballj erseys suppliers .com
             982.      foot supershop .co. uk
             983.      footswearonline.co.uk
             984.      footwearsuper.co.uk
             985.      free2k.co.uk
             986.      freerunfr.fr
             987.      freerunonlocker.co.uk
             988.      freerunshoponline.com
             989.      freeruns-tn-au.com
             990.      freerun-tn-au.biz
             991.      freerun-tn-au.com
             992.      fshoesuk.com
             993.      greenbaypackersjerseys .com
              994.     heatkickz.ru
              995.     heelsko.com
              996.     hiphopfootlocker.com
              997.     hiphopiop.cc
              998.     hiphopiop.cn
              999.     hiphopiop.ru
              1000.    hiphoplinda.cc
              1001.    hiphoplinda. org
              1002.    hiphoplinda.ru
              1003.    hiphoplp.com
              1004.    hiphopnp.com
              1005.    hiphopnp.ru
               1006.   hiphopxp.ru
              1007.    icenhljersey.com
              1008.    ids ole.com
               1009.    idsol exit
               1010.   jersey-777.com


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                      Wehsite
             1011.    jerseyauthenticcheap.com
             1012.    jerseyauthenticcheapshop.com
             1013.    jerseyauthenticwholesaleshop.com
             1014.    jerseyfantas tic . com
             1015.    jerseysauthenticcheapeliteshop.com
             1016.    jerseysauthenticcheaps.com
             1017.    jerseysauthenticcheapsshop.com
             1018.    jerseys authenticcheapsuppliers .com
             1019.    j ers ey s authenticsuppliers .com
             1020.    jerseysauthenticwholesaleauthentic.com
             1021.    jersey sauthenticwholesalej ersey .com
             1022.    jerseysauthenticwholesalej erseys.c om
             1023.    jerseysauthenticwholesalenfl.com
             1024.    jerseysauthenticwholesaleshop.com
             1025.    jerseysfantastics .com
             1026.    jerseysforcheapsu
             1027.    jerseysgoodsusa.com
             1028.    jerseys-goodsusa.com
             1029.    jerseyslist.info
             1030.    jerseysma112012.com
             1031.    jerseysnatural.com
             1032.    jerseystalk.info
             1033.    jerseystops.biz
             1034.    jerseystops.org
             1035.    jerseystops .ru
             1036.    jerseyswholesaleauthentic.com
             1037.    jerseys wholes aleauthenticelite.com
             1038.     jersey swholesalecheapsuppl iers .com
             1039.     jerseyswholesalesuppliers .com
             1040.    j ers ey s wholes alesuppliers authentic .com
             1041.     jerseys wholes alesuppliers che ap.c om
             1042.     jordankickz.cn
             1043.    jordanmyth.cc
             1044.    jordanmyth.com
             1045.    jordanmyth.org
             1046.    jordanmyth.ru
             1047.    jordanmyth.us
             1048.    jordan-taiwan.com
             1049.    j ourschaus sures .fr
              1050.   jumpmanzoom.ru
             1051.    kfree2uk.com
              1052.   kicksdream.ru
              1053.   kicksfans .ru
              1054.    kicksfashion.ru


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                      Website
             1055.    kickzelite.ru
             1056.    kickznote.ru
             1057.    lalunetteshopfr.com
             1058.    largestore-online.com
             1059.    levisbt.com
             1060.    luckytobuy.com
             1061.    lunettesshopfi-.com
             1062.    macmakeuponline.com
             1063.    maillotdefoot-mall.com
             1064.    mall-jordan.com
             1065.    mall-vans.com
             1066.    mastereps.ru
             1067.    maxls.co.uk
             1068.    maxluksports.co.uk
             1069.    max90store.co.uk
             1070.    maxdny.com
             1071.    maxfreeshoes-ru.com
             1072.    maxshox.fr
             1073.    maxsneakers.co.uk
             1074.    maxvd.coM
             1075.    minenike.com
             1076.    MonChaussure-Fr.com
             1077.    newnikejersey.com
             1078.    newnikejersey.in
             1079.    newnikejersey.net
              1080.   newnikejersey.org
              1081.   newnikejerseys.com
              1082.   newnikejerseys.in
              1083.   newredskinsjerseys.com
              1084.   newyorkgiantsjerseys.org
              1085.   nflfootballejerseyscheap.com
              1086.   nfljerseyfreeshipping.org
              1087.   nfljerseysauthenticsuppliersshop.com
              1088.   nfljerseysglobal.com
              1089.   nfljerseysoutlet.info
              1090.   nfljerseywholesaleauthentic.com
              1091.   nflnike.us
              1092.   nflusaclub.cn
              1093.   nike528.com.cn
              1094.   nike666.com
              1095.   nike888888.com
              1096.   nikeblazershoes.info
              1097.   nikeblazersonline.co.uk
              1098.   nikedey.com


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                        Website                           -1111F-
             1099.      nike-dunk-sb-afl.com
             1100.      nikefreeplus-au.info
             1101   .   nikenfldepot.com
             1102.      nikenfljerseys.org
             1103.      nikepascheres.info
             1104.      nikepascheresshox.info
             1105.      nikerequinpascher.info
             1106.      nikeskosalg.info
             1107.      nikesportjersey.in
             1108.      nikesportjersey.net
             1109.      nikesportj ersey.org
             1110.      nikesportjerseys.in
            _1111.      niketns-au.info
             1112.      niketnshoes.info
            _1113.      niketw-2011.com
             1114.      nike-zoom-kobe-1719.com
             1113.      nikickz.com
             1116.      nioshop.ru
             1117.      nkfreerunshoes .com
             1118.      nmgdesign.co.uk
             1119.      noschaussuresfr.com
             1120.      noschaussuresfr.info
             1121.      onenflnike.com
             1122.      onenflnike.net
             1123.      onenflnike.org
             1124.      onenflnike.us
             1125.      onsavemall.com
             1126.      onufoot.com
             1127.      orderfree2.co.uk
              1128.     ordernewshoes.co.uk
              1129.     outletblazer.co.uk
              1130.     paranor2.co.uk
              1131.     patriotsjerseysfreeshipping.com
              1132.     picknicekicks.com
              1133.     pickupj ordan23 .org
              1134.      premiervirtual.com
              1135.      premiervirtual .us
              1136.      presentshoes.com
              1137.      puma-t-shirt.com                           _


              1138.      repcheap.cc
              1139.      repcheap.net
              1140.      repcheap.org
              1141.      repcheap.ru
              1142.      repkicks.com


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                      Website
             1143.    repkickz.net
             1144.    repkiks.com
             1145.    replicajerseysoccer.com
             1146.    repmallstore.ru
             1147.    repsperfect.ru
             1148.    runningfreesale.co.uk
             1149.    salebestjersey.in
             1150.    salebestj ersey.net
             1151.    salebestjersey.org
             1152.     salebestjerseys.net
             1153.     savemalls.com
             1154.     savemallsen.com
             1155.     seeijerseys.com
             1156.     selloffmlb.com
             1157.     shoesbagonline.com
             1158.     shoes-bags-china.cn
             1159.     shoesbagtrade.com
             1160.     shoescapsxyz.biz
             1161.     shoescapsxyz.com
             1162.     shoe snikeairmax90.info
             1163.     shoes-tw.net
             1164.     shopmallcn.com
              1165.    shoprunfree.co.uk
              1166.    shoxvs.com
              1167.    sirhiThop.com
              1168.   sirkicks .com
              1169.    skoeno.com
              1170.    skosnorge.com
              1171.    skounion.com
              1172.    skowave.com
              1173.    sneakerhome.com
              1174.    sneakerisu
              1175.    sneakeroutlet.co.uk
              1176.   _sneakeroutletuk.com
              1177.    soccerjersey365.com
              1178.    soledream.cc
              1179.    sol edream.net
              1180.    soledream.org
              1181.    soledream.ru
              1182.    solekumpsu
              1183.    sorenlarsen.co.uk
              1184.    sportauthenticjerseys.com
              1185.    sportsjerseysauthenticcheap.com
              1186.    sport-tw.com


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                      Website         a       MID
             1187.    stargoaol.com
             1188.    steelersjerseysforsale.com
             1189.    stitchedjerseyssuppliers.com
             1190.    styleing.ru
             1191.    superjerseysaol.com
             1192.    swagstyling.ru
             1193.    tl -nike.net
             1194.    tc-jordan.com
             1195.    tc-nike.net
             1196.    thekeytrade.net
             1197.    thenikeairmaxclassics.com
             1198.    topfanjersey.com
             1199.    topfanjersey.net
             12(X).   topfanjersey.org
             1201.    topfansjerseys.info
             1202.    topfansjerseys.net
             1203.    topfansjerseys.org
             1204.     top sportsjersey.com
             1205.    tp-nike-shop.net
             1206.     tpoy-adidas.com
             1207.     tpoy-converse.com
             1208.     tpoy-new-balance.com
             1209.     tpoy-nike.com
             1210.     tradegoods-online.com
             1211.     tradingaaa.com
             1212.     trainersforsale.co.uk
             1213.     trainersukmalls.com
             1214.     ublazer2uk.com
             1215.     ublazers.co.uk
             1216.     uk2shoes.co.uk
             1217.     ukblazer2u.co.uk
             1218.     ukmaxonline.co.uk
             1219.     vpjordan.com
             1220.     wholesaelejerseys .info
             1221.     wholesaleelitenfljerseys.com
             1222.     wholesalejerseysoccer.com
              1223.    wholesalejerseysoccer.net
              1224.    wholesalenfljerseyauthentic.com
              1225.    wholesalenfljerseysauthentic .com
              1226.    wholesalenikeshoes.info
              1227.     wholesalesunglasseshut.info
              1228.     www .2014j ordan.com
              1229.     www.360reps.us
              1230.     www.365reps.net


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                      Website
             1231.    www.59ishoes.com
             1232.    www.66buy-nike.com
             1233.    www.7buy-nike.com
             1234.    www.99buy-nike.com
             1235.    www.9buy-nike.com
             1236.    www.adidas-mall.com
             1237.    www.airmax2013sa1e.co.uk
             1238.    www.airmaxsneaker90.co.uk
             1239.    www.airmaxsshop.co.uk
             1240.    www.airyeezy2pascher.info
             1241.    www.authenticjerseyssuppliercheap.com
             1242.    www.authenticjerseyssupplierelite.com
             1243.    www.authenticjerseyssuppliersa.com
             1244.    www.authenticjerseyssupplierscheap.com
             1245.    www.authenticjerseyssuppliershop.com
             1246.    www.authenticjerseyssuppliersscheap.com
             1247.    ww w. authenticj erseyssupplierssh op.com
             1248.    www.authenticjerseyssuppliersswholesa1e.com
             1249.    www.authenticjerseyssupplierswholesale.com
             1250.    www.authenticjerseysupplierswholesale.com
             1251.    www.bestfanjersey.com
             1252.    www.bestfanjersey.net
             1253.    www.bestfanjersey.org
             1254.    www.bestfanjersey.us
             1255.    www.bestfanjerseys.net
             1256.    www.bestfanjerseys.org
             1257.    www.bestfanjerseys.us
             1258.    www.bestjerseysgo.com
             1259.    www.bestjerseysgo.com
             1260.    www.bestk.co.uk
              1261.   www.blazer2uk.co.uk
              1262.   www.blazerhigher.co.uk
              1263.   www.blazersdeonlines.co.uk
              1264.   www.blazershoeuk.co.uk
              1265.   www.blazersnuk.com
              1266.   www.blazerwomens.co.uk
              1267.   www.brandd.co.uk
              1268.   www.brandstrade123.com
              1269.   www .btbbuy .com
              1270.   www.buycoltsjerseys.org
              1271.   www.buyshoeclothing.org
              1272.   www.caps-sell.org
              1273.   www.chaussuresdefree.com
              1274.   www.chaussurespaschernike.info


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                      Website
             1275.    www.chaussurestnrequin-paschere.com
             1276.    www.cheapcustomjerseys.us
             1277.    www.cheapdiscountnfljerseyshere.com
             1278.    www.cheapfree-tn-au.com
             1279.    www.cheapjerseyswholesaleshop.com
             1280.    www.cheapjerseyswholesalesupplier.com
             1281.    www.cheapjordansuk.co.uk
             1282.    www.cheaplebronshoes.info
             1283.    www.cheapnikeairmaxtrainers3sale.co.uk
             1284.    www.cheapnikefree.info
             1285.    www.cheapnikefreeshoes.info
             1286.    www.cheapnikenflelitejerseys.org
             1287.    www.cheapniketn.info
             1288.    www.cheapnikeusa.info
             1289.    www.cheapreps.cc
             1290.    www.cheapreps.org
             1291.    www.cheapreps.us
             1292.    www.cheapsize.cc
             1293.    www.cheapsize.com
             1294.    www.cheapsize.ru
             1295.    www.cheapu.co.uk
             1296.    www.collectteam.com
             1297.    www.coojerseys.us
             1298.    www.countrykickz.com
             1299.    www.deyvip.com
             1300.    www.deyvip.net
             1301.    www.doorjerseys.com
             1302.    www.ecflea.com
             1303.    www.elitecheapnfljerseysauthenticshop.com
             1304.    www.elitejerseyssuppliers.com
             1305.    www.elitenfljerseyscheap.com
             1306.    www.elitenfljerseyscheapshop.com
             1307.    www.elitesportjerseys.com
             1308.    www.exsneaker.net
             1309.    www.exsneaker.us
             1310.    www.exsneaker2.com
             1311.    www.eyjordans.com
             1312.    www.fansjerseyssite.com
             1313.    www.fashionbagtrade.com
             1314.    www.fashiongoods.cc
              1315.   www.fashionsneaker.co.uk
              1316.   www.findsavemall.com
              1317.   www.footballjerseyssuppliers.com
              1318.   www.footsupershop.co.uk


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                       Website
             1319.     www.footswearonline.co.uk
             1320.     www.footwearsuper.co.uk
             1321.     www.for-jerseys.biz
             1322.     www.for-jerseys.com
             1323.     www.for-jerseys.net
             1324.     www.free2k.co.uk
             1325.     www.freerunfr.fr
             1326.     www.freerunonlocker.co.uk
             1327.     www.freerunshoponline.com
             1328.     www.freeruns-tn-au.com
             1329.     www.freerun-tn-au.com
             1330.     www.fshoesuk.com
             1331.     www.great-wholesalejerseys.us
             1332.     www.great-wholesalejersyes.net
             1333.     www.greenbaypackersjerseys.com
             1334.     www.heelsko.com
             1335.     www.hiphopfootlocker.com
             1336.     www.hiphopiop.cc
             1337.     www.hiphopiop.cn
             1338.     www.hiphopiop.ru
             1339.     www.hiphoplinda.cc
             1340.     www.hiphoplinda.org
             1341.     www.hiphoplinda.ru
             1342.     www.hiphoplp.com
             1343.     www.hiphopnp.com
             1344.     www.hiphopnp.ru
             1345.     www.icenhljersey.com
             1346.     www.idjerseys.com
             1347.     www.idsole.com
             1348.     www jerseyauthenticcheap.com
             1349.     www jerseyauthenticcheapshop.com
             1350.     www jersey authenticwholesaleshop.com
             135 1 .   www jerseyfantastic.com
             1352.     www jerseysauthenticcheapeliteshop.com
             1353.     www jersey sauthenticcheaps .com
             1354.     www jerseysauthenticcheapsshop.com
             1355.     www jersey sauthenticcheapsuppliers.com
             1356.     www.jerseysauthenticsuppliers.com
             1357.     www jerseysauthenticwholesaleauthentic.com
             1358.     www jerseysauthenticwholesalejersey.com
             1359.     www jerseysauthenticwholesalejerseys.com
             1360.     www. ersey sauthenticwholesalenfl.com
             1361.     www jerseysauthenticwholesaleshop.com
             1362.     www jersey sfantastics .com


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                      Website
             1363.    www.jerseysgoodsusa.com
             1364.    wwwjerseys-goodsusa.com
             1365.    www jerseyslist.info
             1366.    wwwjerseysma112012.com
             1367.    wwwjerseysnatural.com
             1368.    www jerseystalk.info
             1369.    www jerseyswholesaleauthentic.com
             1370.    www jerseyswholesaleauthenticelite.com
             1371.    www jersey swholes alecheapsuppliers .com
             1372.    www jerseyswholesalesuppliers.com
             1373.    www . 'erseyswholesalesuppliersauthentic .com
             1374.    www jerseyswholesalesupplierscheap.com
             1375.    www jordanmyth.cc
             1376.    www jordanmyth.com
             1377.    wwwjordanmyth.org
             1378.    wwwjordanmyth.ru
             1379.    www jordanmyth .us
             1380.    www Jordan-taiwan.com
             1381.    www.jourschaussures.fr
             1382.    www.kfree2uk.com
             1383.    www.lalunetteshopfr.com
             1384.    www .large store -online .com
             1385.    www.levisbt.com
             1386.    www.luckytobuy.com
             1387.    www.lunettesshopfr.com
             1388.    www.mall-jordan.com
             1389.    www.mall-vans.com
             1390.    www.maxls.co.uk
             1391.    www.maxluksports.co.uk
             1392.    www.max90store.co.uk
             1393.    www.maxdny.com
             1394.    www.maxfreeshoes-ru.com
             1395.    www.maxshox.fr
             1396.    www.maxsneakers.co.uk
             1397.    www.minenike.com
             1398.    www.myspeto.com
             1399.    www.newnikejersey.com
             1400.    www.newnikejersey.in
             1401.    www.newnikejersey.net
             1402.    www.newnikejersey.org
              1403.   www.newnikejerseys.com
              1404.   www.newnikejerseys.in
              1405.   www.newredskinsjerseys.com
              1406.   www.newyorkgiantsjerseys.org


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                      Websi le
             1407.    www.nflcustomic.com
             1408.    www.nfifootballejerseyscheap.com
             1409.    www .nfij erseyfreeshipping. org
             1410.    www.nfljerseysauthenticsuppliersshop.com
             1411.    www.nfljerseysglobal.com
             1412.    www.nfljerseysoutlet.info
             1413.    www.nfljerseywholesaleauthentic.com
             1414.    www.nflnike.us
             1415.    www.nike528.com.cn
             1416.    www.nike666.com
             1417.    www.nike888888.com
             1418.    www.nikeblazershoes.info
             1419.    www .nikeblazers online. co.uk
             1420.    www.nikedey.com [1]
             1421.    www .nike-dunk-sb-af 1 .com
             1422.    www.nikefreeplus-au.info
             1423.    www.nikenfldepot.com
             1424.    www.nikenfljerseys.org
             1425.    www.nikepascheres.info
             1426.    www .nikepascheres shox. info
             1427.    www.nikerequinpascher.info
             1428.    www.nikeskosalg.info
             1429.    www.nikesportjersey.in
             1430.    www.nikesportjersey.net
             1431.    www .nike sportjers ey. org
             1432.    www .nikesportjerseys. in
             1433.    www.niketns-au.info
             1434.    www .niketn shoes info
              1435.   www.niketw-2011.com
             1436.    www.nike-zoom-kobe-1719.com
              1437.   www.nikickz.com
              1438.   www.nkfreerunshoes.com
              1439.   www.nmgdesign.co.uk
              1440.   www.noschaussuresfr.corn
              1441.   www.noschaussuresfr.info
              1442.   www.onenflnike.com
              1443.   www.onenflnike.net
              1444.   www.onenflnike.org
              1445.   www.onenflnike.us
              1446.   www.onsavemall.com
              1447.   www.onufoot.com
              1448.   www.orderfree2.co.uk
              1449.   www.ordernewshoes.co.uk
              1450.   www.outletblazer.co.uk


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                     Website
             1451.   www.paranor2.co.uk
             1452.   www.patriotsjerseysfreeshipping.com
             1453.   www.picknicekicks.com
             1454.   wwwpickupjordan23.org
             1455.   www.premiervirtual.com
             1456.   www.premiervirtuaLus
             1457.   www.presentshoes.com
             1458.   www.puma-t-shirt.com
             1459.   www.repcheap.cc
             1460.   www.repcheap.net
             1461.   www.repcheap.org
             1462.   www.repcheap.ru
             1463.   www.repkicks.com
             1464.   www.repkickz.net
             1465.   www.repkiks.com
             1466.   www.replicajerseysoccer.com
             1467.   www.runningfreesale.co.uk
             1468.   www.salebestjersey.in
             1469.   www.salebestjersey.net
             1470.   www.salebestjersey.org
             1471.   www.salebestjerseys.net
             1472.   www.savemalls.com
             1473.   www.savemallsen.com
             1474.   www.seeijerseys.com
             1475.   www.selloffmlb.com [1]
             1476.   www.shoesbagonline.com
             1477.   www.shoescapsxyz.biz
             1478.   www.shoescapsxyz.com
             1479.   www.shoesnikeairmax90.info
             1480.   www.shoes-tw.net
             1481.   www.shopmallcn.com
             1482.   www.shoprunfree.co.uk
             1483.   www.shoxvs.com
             1484.   www.sirhiphop.com
             1485.   www.sirkicks.com
             1486.   www.skoeno.com
             1487.   www.skosnorge.com
             1488.   www.skounion.com
             1489.   www.skowave.com
             1490.   www.sneakerhome.com
             1491.   www.sneakeroutlet.co.uk
             1492.   www.sneakeroutletuk.com
             1493.   www.soccerjersey365.com
             1494.   www.soledream.cc


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             1496.    www . soledream. org
             1497.    www.soledream.ru
             1498.    www.solejump.ru                       _.
             1499.    www.sorenlarsen.co.uk
             1500.    www.sportauthenticjerseys.com
             1501.    www.sportsjerseysauthenticcheap.com
             1502.    www.sport-tw.com
             1503.    www.stargoaol.com
             1504.    www.steelersjerseysforsale.com
             1505.    www.stitchedjerseyssup_pliers.com
             1506.    www .superj erseysaol .com
             1507.    www.tl-nike.net
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             1509.    www.tc-nike.net
             1510.    www.thekeytrade.net
             1511.    www .thenikeairmaxclassics.com
             1512.    www.topfanjersey.com
             1513.    www.topfanjersey.net
             1514.    www.topfanjersey.org
             1515.    www.topfansjerseys.info
             1516.    www.topfansjerseys.net
              1517.   www.topfansjersey s. org
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              1519.   www .tp-nike- shop .net
              1520.   www.tpoy-adidas.com
              1521.   www.tpoy-converse.com
              1522.   www.tpoy-new-halance.com
              1523.   www.tpoy-nike.com
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              1525.   www.trainersforsale.co.uk
              1526.   www.trainersukmalls.com
              1527.   www.ublazer2uk.com
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              1529.   www.uk2shoes.co.uk
              1530.   www.ukblazer2u.co.uk
              1531.   www.ukmaxonline.co.uk
              1532.   www .vpj ordan .com
              1533.   www.wholesaelejerseys.info
              1534.   www.wholesaleelitenfljerseys.com
              1535.   www.wholesalegreatjerseys.com
              1536.   www.wholesalejerseysoccer.com
              1537.   www.wholesalejerseysoccer.net
              1538.   www.wholesalejerseysx.com


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             1540.    www. . whole salenfljerseys authentic .com
             1541.    www.wholesalenikeshoes.info
             1542.    www .whole salesunglas se shutinfo
             1543.    www.yingsoccer.com
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             1545.    youtotaobao.com
             1546.    adidasboostonline.com
             1547.    arrayproxima.com
             1548.    bestjerseysvip.com
             1549.    be st-nikefreerun. com
             1550.    best-nikefreeruns.com
             1551.    best-nikefrees .com
             1552.    bestnikerosherun.com
             1553.    birkenstockoutletsale.de
             1554.    bului.com
             1555.    camisati mefutebol.com
             1556.    christianlouboutinoutletesales.com
             1557.    chri s tianlouboutinoutlets ale .org.uk
             1558.    chuteiranikesociety.com
             1559.    chuteirasfutebolnike.com
             1560.    j ordan s official. com
             1561.    karenmillenoutletsale.com
             1562.    kengriffeyjrshoes2016.com
             1563.    kobellxi.com
              1564.   nbakobejp.com
             1565.    newbalanceukshoes.com
              1566.   nicenike.com
              1567.   nikedunkheelsale.com
              1568.   nikefree50outlet.com
              1569.   nikefreedarnesko.dk
              1570.   nikefreedanmarksko.com
              1571.   nikefree-factory.com
              1572.   nikefreeflyknit.de
              1573.   nikefreeofficial.com
              1574.   nikefreerunclearance. com
              1575.   nikefreerundktilbud.com
              1576.   nikefreerundk-tilbud.com
              1577.   nikefreerunlaufs chuhe. de
              1578.   nikefreerunskoidk.com
              1579.   nikefreerunsofficial.com
              1580.   nikefree s laufschuhe. de
              1581.   nikekobe-8 .com
              1582.   nike-lebron10.com


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            1         Website
             1581     nikelebron14.com
             1584.    nikemartjp.com
             1585.    nikeofficialonline.com
             1586.    nikeroshelaufschuhe.de
             1587.    nikerosherunidanmark.com
             1588.    nikerosherunlaufschuhe.de
             1589.    nikerosherunonline.com
             1590.    nikesneakerstores .com
             1591.    occhialiraybansole.it
             1592.    odoa. site
             1593.    officialkengriffeyshoes.com
             1594.    officialnikefrees .com
            _1595.    officialnikefreesale.com
             1596.    olgaoll s on. com
            _1597.    outdoorfurniture.club
             1598.    pennyhardawayshoesus.com
             1599.    pennyhardaways shoes. us
             1600.    rollertrade.com
             1601.    scarpecalcioonline. it
             1602.    socceronlinejp.com
             1603.    www.airjordanfrance.com
             1604.    www.nikefreerunsfactory.com
             1605.    www.nikefreeruns-factory.com
             1606.    www.nikekobe-8.com
             1607.    www.nike-lebron10.com
             1608.    freerunzone.com
             1609.    www.freerunline.com
             1610.    www.freerunlnea.com
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             1612.    www.freerunzone.com
             1613.    basketballmart24.coM
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             1616.    cheapairmax12.com
             1617.    cheapairmaxshoesale2013.com
              1618.   cheaperjersey2013.com
              1619.   cheapsportsjerseys2013.com
              1620.   nikefree shoe small.com
              1621.   wheretobuys occ erjersey. net
              1622.   www.2013 shoe s airmax.com
              1623.   www.basketballmart24.com
              1624.   www.basketballmart365.com
              1625.   www.cheapairjordans-mart.com
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             1628.    www.cheapairmaxshoesa1e2013.com
             1629.    www.cheaperjersey2013.com
             1630.    www.cheapnikeairmaxii.com
             1631.    www.cheapnikeairmax-mart.com
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             1634.    www .cheapsportsjerseys2013.com
             1635.    www.nikefree shoe small.com
             1636.    www . shoe snikemall.com
             1637.    www.soccerjerseytown.com
             1638.    www.thailandjerseystore.com
             1639.    www .wheretobuy s occerjersey .net
             1640.    www.air2013ukshop.co.uk
             1641.    www.airmax2013ukshop.co.uk
             1642.    www.airmax90uksales.co.uk
             1643.    www.airmax official shop.co.uk
             1644.    www.airmaxstoreonline.co.uk
             1645.    www.airmaxstoreuk.co.uk
             1646.    billigenikefreerunskodk.com
             1647.    nikeairmaxcheapsales.co.uk
             1648.    nikefreerunsalesaustralia.com
              1649.   oykununsesi.com
             1650.    uncboxing.com
              1651.   www.billigenikefreerunskodk.com
              1652.   www.nikeairmaxcheapsale.co.uk
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              1655.   www.oykununsesi.com
              1656.   www.payfororder.com
              1657.   baskets toremaillotnbapas cher.fr
              1658.   buyjersey.org
              1659.   buyjerseys .ru
              1660.   cheapgamejerseys.us
              1661.   cheapjerseysfan.us
              1662.   cheapjerseysfree.us
              1663.   cheapnfljerseyschina.cn
              1664.   cheapsportsgears .ru
              1665.   cheapsportsgears .us
              1666.   cheapsportsjerseys.us
              1667.   cheapwholesalegears.com
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              1669.   cowboysfan.us
              1670.   customize sportswear.com


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             1671.    diysportsshirts.com
             1672.    gamesj erseys .ru
             1673.    greatnewj erseys. biz
             1674.    greatnewjerseys.org
             1675.    hotsalej erseys .net
             1676.    ideologiefreie-astrologie.de
             1677.    jerseysvip. net
             1678.    jerseysvip.ru
             1679.    jerseyswholesalechina.ru
             1680.    lovejerseysshop.com
             1681.    lovestitchedjerseys .com
             1682.    nflchinaj erseys.us
             1683.    nfljerseysale.us.com
             1684.    NflJerseysWebsite.com
             1685.    nfl suppl y.ru
             1686.    onlyjers eyswholes ale.com
             1687.    projerseyscheap.com
             1688.    shopcheapjersey.us
             1689.    shopjerseyhere.com
             1690.    sneakersonfire.net
             1691.    sportsjerseyswholesale.us
             1692.    underjersey.vip
             1693.    underjerseys.top
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             1695.    undersportsjerseys.com
             1696.    whol esalefreeshippin g. biz
             1697.    wholesalefreeshipping.co
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              1700.   wholesalejerseysshop.ru
              1701.   wholesalenflgears.com
              1702.   wholesalenflprice.org
              1703.   wholesalercheapjerseys.us
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              1705.   www.2013cheapjerseys.us
              1706.   www.buyjerseys.us
              1707.   www.buyjerseysfree.com
              1708.   www.cheapgamejerseys.us
              1709.   www .cheapj ersey sbu sine s s .com
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             1716.    www.chinajerscyscheckout.com
             1717.    www.chinanfljerseys.us.com
             1718.    www.chineseunderjerseys.com
             1719.    www.discountjerseys.us
             1720.    www jerseysbiz.us
             1721.    www jerseysdeal.us
             1722.    www jersey sonly.us
             1723.    www jerseyssalemarket.com
             1724.    www.jerseyssupply.us
             1725.    www jerseywholesalejerseys.us
             1726.    www.nflbiz.us.com
            _1727.    www.nflchinajerseys.us
             1728.    www.nfljerseys.us.com
             1729.    www.nfljerseyschinese.com
             1730.    www.nfljerseyswebsite.com
             1731.    www.nfljerseywebsite.com
             1732.    www.nflnikejerseysdeal.com
             1733.    www.nikejerseysfreeshipping.com
             1734.    www .onlyjerseyswhole sale .com
             1735.    www.sportsjerseyswholesale.us
             1736.    www.supplyjerseys.us
             1737.    www.underjerseys.us
             1738.    www.wholesalecheapjerseyssupply.com
             1739.    www.wholesalejerseysbusiness.com
             1740.    www.wholesalenfljerseyschina.us
             1741.     airjordan2014sales.com
              1742.    airjordan3infrared23.com
              1743.    airjordan6s.com
              1744.    an] ordan6ssale.com
              1745.    airjordanretroiv.com
              1746.   airjordansllssale.com
              1747.   ajgammabluellsale.com
              1748.    allnewjordans.com
              1749.    authentiejordan2013sale.com
              1750.    authenticjordan2013ssale.com
              1751.    authenticjordan2014.com
              1752.    authenticjordan2014sale.com
              1753.    authenticjordankicks2014.com
              1754.    authenticjordansale.com
              1755.    authenticjordansonsales .com
              1756.    authenticsjordans2013.com
              1757.    buyauthentiejordanstore2014.com
              1758.    buycheapjordansale.com


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             1760.    buyj ordan2014online store .com
             1761.    buyjordanonlinesales.com
             1762.    buyjordans2013forsales.com
             1763.    buyj ordans2013 s online. com
             1764.    buyjordanscheaponline.com
             1765.    buyjordansforcheaponline.com
             1766.    buyjordansforsale2014.com
             1767.    buyjordansonlinesale2014.com
             1768.    buyjordansonlinesales.com
             1769.    buyrealcheapj ordans.com
             1770.    buyretrojordansforsale.com
             1771.    cheapjordan2014sale.com
             1772.    cheapjordansbuynow.com
             1773.    cheapnewj ordans .com
             1774.    cheapsauthenticj ordans .com
             1775.    cheapsjordanoutlet.com
             1776.    cheapzjordan.com
             1777.    customizedjerseysforsale.com
             1778.    fear4s2013.com
             1779.    firered5ssale.com
             1780.    firstlevelsportshop.com
             1781.    gammabluellssale2013.com
             1782.     gammabluellssales.com
             1783.     gammabluellstore.com
              1784.   jordan2013sonsale.com
              1785.   jordan6sale.com
              1786.   jordansale2014.com
              1787.   j ordansforreal .com
              1788.   jordanshoesonlines.net
              1789.    new-jordans.com
              1790.    newjordanstore.com
              1791.    nikeairmaxs.co.uk
              1792.    onlinebuyairjordans .com
              1793.    realjordan2013ssales.com
              1794.   realj ordanss ales .com
              1795.   salejordansonline.com
              1796.   socceronline2014.com
              1797.   topsports store.com
              1798.   www.airjordan2014sales.com
              1799.   www.airjordan3infrared23.com
              1800.   www.airjordan6s.com
              1801.   www.airjordan6ssale.com
              1802.   www.airjordanretroiv.com


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             1804.    www.ajgammab1ue11sale.com
             1805.    www.allnewjordans.com
             1806.    www.authenticjordan2013sale.com
             1807.    www .authenticj ordan2013 s sale .com
             1808.    www.authenticjordan2014.com
             1809.    www.authenticjordan2014sa1e.com
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             1811.    www.authenticjordansale.com
             1812.    www .authenticj ordansonsales .com
             1813.    www .authenticsj ordans 2013 .com
             1814.    www.buyauthenticjordanstore2014.com
             1815.    www.buycheapjordansale.com
             1816.    www.buyjordan2013on1ines.com
             1817.    www .buyj ordan2014 online store .com
             1818.    www .buyj ordanonlines ales .com
             1819.    www.buyjordans2013forsales.com
             1820.    www .buyj ordans 2013 s online .com
             1821.    www.buyj ordanscheaponline.com
             1822.    www.buyjordansforcheaponline.com
             1823.    www.buyjordansforsa1e2014.com
             1824.    www.buyjordansonlinesa1e2014.com
             1825.    www.buyjordansonlinesales.com
             1826.    www.buyrealcheapjordans.com
             1827.    www .buyretroj ordansfor sale .com
             1828.    www.cheapjordan2014sa1e.com
             1829.    www.cheapjordansbuynow.com
             1830.
             1831.    www.cheapnewjordans.com
             1832.    www.cheapsauthenticjordans.com
             1833.    www.cheapsjordanoutlet.com
             1834.    www.cheapzjordan.com
             1835.    www.customizedjerseysforsale.com
             1836.    www.fashionpay.com
             1837.    www.fear4s2013.com
              1838.   www.firered5ssale.com
             1839.    www.firstlevelsportshop.com
             1840.    www.gammab1ue11ssa1e2013.com
              1841.   www.gammabluellssales.com
              1842.   www.gammabluellstore.com
              1843.   www.globaljordanforsale.com
              1844.   www.jordan2013sonsale.com
              1845.   www.jordan6sale.com
              1846.   www.jordanretroshoesinthebox.com


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                      Website
             1847.    wwwj ordansale2014.com
             1848.    www.jordansforreal.com
             1849.    www j ordanshoesonlines .net
             1850.    www.jordansonlinestorecheap.com
             1851.    www.m_yfashionsjordans.com
             1852.    www .new -j ordans .com
             1853.    www.newjordanstore.com
             1854.    www.nikeairmaxs.co.uk
             1855.    www.onlinebuyairjordans.com
             1856.    www sealj ordan2013 s sales .com
             1857.    www.realjordanssales.com
             1858.    www.salejordansonline.com
             1859.    www.socceronline2014.com
             1860.    www.thejordan4s.com
             1861.    www.thejordanair.com
             1862.    www.thejordanconcord.com
             1863.    www .topsports store _com
             1864.    authentic-jordans.us
             1865.    bredl 1 scheap.us
             1866.    bredsllforsale.us
             1867.    cheapjordanllbred.net
             1868.    cheapj ordanllbred. org
             1869.    cheapjordanllbred.us
             1870.    cheapjordanbredll.com
             1871.    cheapjordanbredll.net
              1872.   cheapjordanbredll.org
              1873.   cheapjordanbredl Lus
              1874.   cheapj ordansfors ales .com
              1875.   hegotgamel3sale.us
              1876.   jordanl3hegotgamel3s .org
              1877.   jordanl3hegotgamel3s.us
              1878.   j ordan13 shegotgame.net
              1879.   j ordan13 shegotgame .org
              1880.   j ordans 13hegotgame.org
              1881.   jordansl3hegotgame.us
              1882.   obj ordans .com
              1883.   www.authentic-jordans.us
              1884.   www.bredllscheap.us
              1885.   www.bredsllforsale.us
              1886.   www.cheapjordanllbred.net
              1887.   www.cheapjordanllbred.org
              1888.   www.cheardordanllbred.us
              1889.   www.cheapjordanbredll.com
              1890.   www.cheapjordanbredll.net


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             1891.    www.cheapj ordanbredll .org
             1892.    www.cheapjordanbredll.us
             1893.    www.cheapjordansforsales.com
             1894.    www.hegotgamel3sale.us
             1895.    www.jordani3hegotgamel3s.org
             18%.     www.jordanl3hegotgamel3s.us
             1897.    www.jordanl3shegotgame.net
             1898.    www.jordanI3shegotgame.org
             1899.    www.jordansl3hegotgame.org
             1900.    www.jordansl3hegotgame.us
             1901.    www.objordans.com
             1902.    brandnk.com
             1903.    brandnn.com                         _


             1904.    brandpo.com
             1905.    cheapbn.com
             1906.    cheapdk.com
             1907.    echeapshoes .com
             1908.    shoeseb.com
             1909.    shoesob.com
             1910.    shopaab.com
             1911.    tradeak.com
             1912.    www.brandcn.ru
             1913.    www.brandnk.com
             1914.    www.brandnn.com
              1915.   www.brandpo.com
              1916.   www.brandyz.com
              1917.   www.cheapbn.com
              1918.   www.cheapdk.com
              1919.   www.cheaptd.com
              1920.   www.echeapmk.com
              1921.   www.echeapshoes.com
              1922.   www.shoeseb.com
              1923.   www.shoesob.com
              1924.   www.shopaab.com
              1925.   www.shopuq.corn
              1926.    www.shopyny.com
              1927.    www.tradeak.com
              1928.    www.tradeut.com
              1929.    2013bredl 1 j ordans.com
              1930.    2013jordanretrobox.com
              1931.    2013j ordanretros.com
              1932.    2013j ordansretro.com
              1933.    20131ebronxi.com
              1934.    2013retrojordanbox.com


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              1935.     2014j ordan6infared.com
              1936.     2014kd6.com
              1937.     2014kevindurantvi.com
              1938.     2014kobe-shoesstore.com
            _ 1939.
                        2014retroj ordan. com
              1940.     2016airmax90.com
              1941.     2016airmax-fr.com
            _1942.      2016customizedjerseys.com
              1943.     2016flyknitshoes.com
              1944.     2016freerunflyknit.com
              1945.     2016freesale.com
              1946.     2016jordankicks.com
              1947.     2016jordanretail.com
              1948.     2016kd8hot.com
              1949.     20161ebron13 s ale.com
              1950.     20161ebron13 shoes.com
              1951.     2016mvpshoes.com
              1952.     2016nbakicks.com
              1953.     2016newairmax.com
              1954.     2016retrollsale.com
               1955.    2016reqojordans.com
              1956.     2016retros.com
               1957.    2017basketballshoes.com
               1958.    2017 curry4shop.com
               1959.    2017freeflyknit.com
               1960.    2017newmax.com
               1961.    2017newnikefree.com
               1962.    2017nmd.com
               1963.    2017yeezy.com
               1964.    addj ordanshoes .com
               1965.    adidasoutletsale.com
               1966.    airjordan3-firered.com
               1967.    airjordan5-firered.com
               1968.    airjordan5style.com
               1969.    airjordan6retail.com
               1970.    airjordangetall.com
               1971.    airjordaniv-us .com
               1972.    airj ordanl ow shoe s .com
               1973.    airj ordanretrosbox.com
               1974.    airj ordanretroshoesbox.com
               1975.    airj ordan speci al sale. com
                1976.   airjordanstore-us.com
                1977.   airjordanusstore.com
             1  1978.   airjordan-usstore.com


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                      Website
             1979.    airmax2014running.com
             1980.    air-max-2017.com
             1981.    airmax2017nike.com
             1982.    airmax2017release.com
             1983.    aj asale.com
             1984.    aj store -us .com
             1985.    beatsbydre-us .com
             1986.    bestcustomizedjerseys.com
             1987.    bestsneakerclub.com
             1988.    bootsoutlets-us .com
             1989.    boots-us.com
             1990.    bred-11.com
             1991.    bredlljordans.com
             1992.    bredjordanshoes.com
             1993.    bredjordans-us.com
             1994.    buyauthenticretrojordans.com
             1995.    concord-11.com
             1996.    concordlllowjordans.com
             1997.    curry2allstar.com
             1998.    curry2backshoes.com
             1999.    curry3basketballshoes.com
             2000.    curry3mvpshoes.com
             2001.    curry4hotsale.com
             2002.    curry4releasedate.com
             2003.    curry4shoes.com
             2004.    diyucases.com
             2005.    dunkhighbox.com
             2006.    dunkhighkicks.com
             2007.    ejordanretrobox.com
              2008.   ejordansbay.com
              2009.    enikesneakersbay.com
              2010.    foampositeonekicks.com
              2011.    free5flyknitsale.com
              2012.    freerun2016hot.com
              2013.    freerun2016new.com
              2014.    freerun2016sale.com
              2015.    freerun2017new.com
              2016.    freerun2box.com
              2017.    freerun3hot.com
              2018.    freerun3sshoes.corn.
              2019.    freerun5hot.com
              2020.    freeshoes2016hot.com
              2021.    freeshoes2016new.com
              2022.    getj ordanretro. corn


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                      Website
                                                   w--
             2023.    hotairjordan13.com
             2024.    hotairjordanretro.com
             2025.    hotjordanretro4.com
             2026.    hotjordanretrobox.com
             2027.    hotjordanshoessupermarket.com
             2028.    hotjordansretro.com
             2029.    hotkd2016sale.com
             2030.    jordanlOretrobox.com
             2031.    jordanllavailable.com
             2032.    jordanllbasketball.com
             2033.    jordanllconcordbox.com
             2034.    jordanllconcordnew.com
             2035.    jordanllcoolgreybox.com
             2036.    jordan1lfanatics.com
             2037.    jordanlllaneyfor2014.com
             2038.    jordanllnewrelease.com
             2039.    jordan 11release2013.com
             2040.    jordanllretail.com
             2041.    jordan 11 spacej ambox.com
              2042.   jordanllspacejam-us.com
             2043.    jordan11-us.com
             2044.    jordan13-2013.com
              2045.   jordanl3basketball.com
              2046.   jordanl3retrofor2014.com
              2047.   jordanl3shoesretail.com
              2048.   jordan2016fr.com
              2049.   jordan2016s.com
              2050.   jordan3fireredbay.com
              2051.   jordan3retrofor2014.com
              2052.   jordan4oreobox.com
              2053.   jordan4retrofor2014.com
              2054.   jordan5basketball.com
              2055.   jordan5fireredbay.com
              2056.   jordan5retail.com
              2057.   jordan5retrofor2014.com
              2058.   jordan5shoes2013style.com
              2059.    jordan 5sretrosale.com
              2060.    jordan5-us.com
              2061.    jordan6retrosale.com
              2062.   jordan7raptorsshoes.com
              2063.   jordangalaxyshoes .com
              2064.   jordannewretroshoes.com
              2065.   jordanontheway.com
              2066.   jordanreto2013.com


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                      IN ebstte                        III
             2067.    jordanretrollfanatics .com
             2068.    jordanretro2014.com
             2069.    jordanretro4-us .com
             2070.    jordanretrocity.com                    _.

             2071.    j ordanretrofanatic s .com
             2072.    jordanretrofans.com
             2073.    jordanretrofirered.com
             2074.    jordanretrofor2014.com
             2075.     jordanretrogameshoes .com
             2076.     jordanretroget.com
             2077.    jordanretrohot.com
             2078.    jordanretrojordans .com
             2079.    jordanretroretails .com
             2080.    jordanretroshoesbay.com
             2081.    j ordanretro shoe sfan s .c om
             2082.    jordanretroshoesinthebox.com
             2083.    jordanretroshoes-us.com
             2084.    jordanretrosneakerssale.com
             2085.    j ordanretrostati on. com
             2086.    jordanretro-us .com
             2087.    jordanretrovip.com
             2088.    jordans2013.com
             2089.    jordansbred-us .com
              2090.   jordanshoes2014.com
              2091.   jordanshoesfanatics.com
              2092.   jordanshoesinbox.com
              2093.   j ordan shoe sonthew ay. com
              2094.   jordanshoesparadise.com
              2095.   j ordan shoe s station .com
              2096.   jordan shoe suss hopping.com
              2097.   j ordan shoe swithinhere.com
              2098.   jordansretrogethome.com
              2099.   jordansretrosetout.com
              2100.   jordans speci al s ale.com
              2101.   j ordanstore-us .com
              2102.   kevindurant-vshoes.com
              2103.   kyrieshoesoutlet.com
              2104.    lebronlOinstock.com
              2105.    lebronllboxes. com
              2106.    lebronll-us.com
              2107.    lebronl3mvp shoe s . com
              2108.    lebronl3nba.com
              2109.    lebronl4sneaker.com
              2110.    lebron2016sale.com


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                       Website
             211 1 .   lebron9lowshoes.com
             2112.     lebronxiallshoes .com
             2113.     max2017best.com
             2114.     max2017sale.com
             2115.     max2017shoesale.com
             2116.     new2014sbdunk.com
             2117.     new airj ordan3firered.com
             2118.     newairmax2014running.com
             2119.     newbalance-es .com
             2120.     newbalance-factorystore.com
             2121.     newjordanretrobox.com
             2122.     newjordansretroshoes .com
             2123.     newretrojordan.com
             2124.     nflstoreid.com
             2125.     nicebasketballshoes.com
             2126.     nikeairmax2014new.com
             2127.     nikeairmax90cheap_com
             2128.     nikeairmaxfanatics.com
             2129.     nikeblazer-fr.com
             2130.     nikedunk2014new.com
             2131.     nikedunkfanatics.com
             2132.     nikedunkhighfanatics.com
             2133.     nikedunkhighforcheap.com
             2134.     nikedunks2017.com                  _
              2135.    nike-factorystore.com
              2136.    nikefree-denmarkstore.com
              2137.    nikejordanllbred.com
              2138.    nikekyrieshoesoutlets .com
              2139.    nikelebron14releasedate.com
              2140.    nikemercuria12014soccer.com
              2141.    nikesbfanatics.com
              2142.    offerairmax90.com
              2143.    offerbasketballshoes.com
              2144.    osneakerus.com
              2145.    ownbasketballsneakers _corn
              2146.    retro-13.com
              2147.    retro2017sale.com
              2148.    retrojordaninthebox.com
              2149.    retrojordansfan.com
              2150.    retrojordansretail.com
              2151.    retrosjordanl3.com
              2152.    sneakersrun.org
              2153.    soccerc1eatsnew2013.com
              2154.    soccercleatsstation.com


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                      Website
             2155.    stephencurrymvpshoes .com
             2156.    supra-factorystore.com
             2157.    topjordans2014.com
             2158.    topnbashoes.com
             2159.    twicebuy.com
             2160.    us-airjordan.com
             2161.    vintageblazerbox.com
             2162.    womensretro3.com                    _
             2163.    www.13-retro.com
             2164.    www.2013bredlljordans.com
             2165.    www.2013jordanretrobox.com
             2166.    www .2013j ordanretros.com
             2167.    www .2013j ordansretro.com
             2168.    www.2013retrojordanbox.com
             2169.    www .2013 sbdunk.com
             2170.    www.2014retrojordan.com
             2171.    www.378037-010_com
             2172.    www.addjordanshoes.com
             2173.    www.airjordan3-firered.com
             2174.    www.airjordan5-firered.com
             2175.    www.airjordan5style.com
             2176.    www.airjordan6retail.com
             2177.    www.airjordangetall.com
              2178.   www.airjordaniv-us.com
              2179.   www .airj ordanlow shoes .com
              2180.   www.airjordanretrosbox.com
              2181.   www.airjordanretroshoesbox.com
              2182.   www.airjordanspecialsale.com
              2183.   www.airjordanusstore.com
              2184.   www.airmax2013box.com
              2185.   www.airmax2013boxes.com
              2186.   www.airmax2014running.com
              2187.   www.airmaxhyperfuse2013.com
              2188.   www.ajasale.com
              2189.   www.bred-11.com
              2190.   www .bred 1 ljordans.com
              2191.   www.bredjordanshoes.com
              2192.   www.bredjordans-us.com
              2193.   www.buyairjordan-us.com
              2194.   www.dunkhigh2013.com
              2195.   www.dunkhighkicks.com
              2196.   www.dunkhighsneaker.com
              2197.   www.dunklowinthebox.com
              2198.   www.ejordanretrobox.com


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                      Websiie
             2199.    www.enikesneakersbay.com
             2200.    www.foampositeonekicks.com
             2201.    www.freerun3sshoes.com
             2202.    www.getjordanretro.com
             2203.    www.highdunkshoes.com
             2204.    www.hotairjordan13.com
             2205.    www.hotairjordanretro.com
             2206.    www.hotjordanretro4.com
             2207.    www.hotjordanshoessupermarket.com
             2208.    www.hotjordansretro.com
             2209.    www . ' ordanllavailable.com
             2210.    www jordanllbasketball.com
             2211.    www jordanllbredbox. com
             2212.    www.jordanllconcordbox.com
             2213.    wwwjordanl lcoolgreybox.com
             2214.    www j ordanllfanatics .com
             2215.    www jordanl 1 laneyfor2014.com
             2216.    www jordanllnewrelease.com
             2217.    wwwjordan 1 lrelease2013.com
             2218.    wwwjordanllretail.com
             2219.    www jordanllspacejambox.com
             2220.    www jordan11 spacej am -us .com
             2221.    www jordan11-us .com
             2222.    wwwjordan13-2013.com
             2223.    wwwjordanl3basketball.com
             2224.    wwwjordanl3retrofor2014.com
              2225.   www jordan13 shoesretail .com
              2226.   www.jordan3fireredbay.com
              2227.   wwwjordan3retrofor2014.com
              2228.   www.jordan4oreobox.com
              2229.   www.jordan4retrofor2014.com
              2230.   wwwjordan5basketball.com
              2231.   wwwjordan5fireredbay.com
              2232.   wwwjordan5retail.com
              2233.   www.jordan5retrofor2014.com
              2234.   wwwjordan5shoes2013sty1e.com
              2235.   wwwjordan5sretrosale.com
              2236.   wwwjordan5-us.com
              2237.   www.jordan6retrosale.com
              2238.   www jordangalaxyshoes.com
              2239.   www jordannewretroshoes.com
              2240.   www.jordanreto2013.com
              2241.   www jordanretrollfanatic s.com
              2242.   www jordanretro2014.com


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                      Websi le
             2243.    www .jordanretro4-us.com
             2244.    wwwjordanretrocity.com
             2245.    www jordanretrofanatics.com
             2246.    www jordanretrofans.com
             2247.    www jordanretrofirered.com
             2248.    www.jordanretrofor2014.com
             2249.    www jordanretrogame shoe s.c om
             2250.    wwwjordanretroget.com
             2251.    www jordanretrohot.com
             2252.    www j ordanretroretails .com
             2253.    wwwjordanretroshoesbay.com
             2254.    www jordanretroshoe sfans .com
             2255.    www jordanretroshoesinthebox.com
             2256.    www jordanretroshoes-us.com
             2257.    www.jordanretrosneakerssale.com
             2258.    wwwjordanretrostation.com
             2259.    www jordanretrovip.com
             2260.    www.jordans2013.com
             2261.    wwwjordansbred-us.com
             2262.    www j ordanshoes2014 .com
             2263.    www jordanshoesfanatics.com
             2264.    www jordanshoesinbox.com
             2265.    www.jordanshoesinthebox.com
             2266.    www jordanshoesparadise.com
             2267.    www jordanshoesstation.com
             2268.    www jordanshoesusshopping.com
             2269.    www j ordanshoe swithinhere.com
             2270.    www jordansretrogethome.com
             2271.    www.jordansretrosetout.com
             2272.    www.jordansspecialsale.com
             2273.    wwwjordanstore-us.com
             2274.    www.lebronl0fans.com
             2275.    www.lebronlOinstock.com
             2276.    www.lebronll-us.com
             _2277.   www.lebronshoesofficialshop.com
              2278.   www.lebronxi2014s.com
              2279.   www.max-2013.com
              2280.   www.new2013airmax.com
              2281.   www.newairjordan3firered.com
              2282.   www.newjordansretroshoes.com
              2283.   www.newretrojordan.com
              2284.   www.nikeairmax2014new.com
              2285.   www.nikeairmax90cheap.com
              2286.   www.nikeairmaxfanatics.com


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                       Website
             2287.     www.nikeblazer-fr.com
              2288.    www.nikedunkfanatics.com
              2289.    www.nikedunkhighfanatics.com
              2290.    www.nikedunkhighforcheap.com
              2291.    www .nike-factory store .com
              2292.    www.nikefree-denmarkstore.com
              2293.    www.nikejordanllbred.com
              2294.    www.nikemercurial 2014 soccer.com
              2295.    www.nikesbfanatics.com
              2296.    www.offerairmax90.com
              2297.    www.offerbasketballshoes.com
              2298.    www.offerjordan4.com
              2299.    www.ownbasketballsneakers.com
              2300.    www.redjordanll.com
              2301.    www.retro1ordaninthebox.com
              2302.    www.retrosjordan13.com
              2303.    www.sbdunklow.com
              2304.    www.soccercleatscity.com
              2305.    www.soccercleatsnew2013.com
              2306.    www.womensjordan3.com
              2307.    yeezy350black.com
              2308.    yeezy350v2beluga.com
              2309.    yeezyboost2017.com
              2310.    06nba.com
              2311.    airmaxpop.com
              2312.    billigenikefrees .com
              2313.    Cheaphuarache2016.com
              2314.    cheaplebron.org
              2315.    cheaplebronl0nike.com
              2316.    cheapnikelebronlOshoe.com
              2317.    cheapnikelebrons .com
              2318.    cheapsnikefree.org
              2319.    firerunningb .com
              2320.    hao9188.com
             _2321.    nikecheaprun.com
               2322.   nikefoampositecheap. net
               2323.   nikelebronlOcheap.com
               2324.   salecheapnikefrees.com
               2325.   salecheapnikes .com
               2326.   www.bestlebronshoes.com
               2327.   www.billigenikefrees.com
               2328.   www.cheapestlebron10.com
               2329.   www.cheaplebron.org
               2330.   www .cheaplebron 1 Onike.com


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                      W ebsi le
             2331.    www.cheaplebronlOshoe.com
             2332.    www.cheaplebronlOstar.com
             2333.    www.cheaplebron10x.com
             2334.    www.cheap-lebrons.com
             2335.    www.cheapnikelebronlOshoe.com
             2336.    www.cheapnikelebrons.com
             2337.    www.cheapsalelebron10.com
             2338.    www.cheapsfoamposite.com
             2339.    www.cheapslebron10.com
             2340.    www.cheapslebronll.com
             2341.    www.cheapsnikefree.org
             2342.    www.freerunsinusa.com
             2343.    www.gofreeruns.com
             2344.    www.lebronlOcheaps.com
             2345.    www.lebronllcheap.com
             2346.    www.nikecheaprun.com
             2347.    www.nikefoampositecheap.net
             2348.    www.nikelebronlOcheap.com
              2349.   www.salecheaplebron10.com
              2350.   www.salecheapnikefrees.com
              2351.   www.salecheapnikes.com
              2352.   lebron9low shoes .com
              2353.   www.hotairjordan13.com
              2354.   www.hotaiajordanretro.com
              2355.   wwwjordanretrostation.com
              2356.   www.billignikeairmaxnorge.com
              2357.   www.cheapnike-trainersuk.co.uk
              2358.   www.cheapukniketrainer.co.uk
              2359.   www.cheapuknike-trainer.co.uk
              2360.   www.cheapuk-niketrainers.co.uk
              2361.   www.ukcheapnike-trainers.co.uk




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                            Judgment Debtors


           1.
                 -       Name
                         Maria Wu
          2.             Linhai Ke
          3.             Wu Jinzhao
          4.             George Chen
          5.             Weiming Yang
          6.             Yang Yan
          7.             MAX
           8.            Chen Zhihui
           9.            Fu Jiang Li
           10.           Li Fu Jiang
           11.           Tang Jinying
           12.           Hua Ping Xiong
           13.           Xiong Hua Ping
           14.           Hong Jin Zheng
           15.           Zheng Hong Jin
           16.           CaiLiMing
           17.           Linhao
           18.           liting dai
           19.           tang jingying
           20.           Ilk-ibT
           21.           Lin Zoe
           22.           Comminutete More K.K.
           23.           Brakehemalt K.K.
           24.           Bingchao Chen
           25.           Chen Bingchao
           26.           Fan Zhangmu
           27.           Huangjie Wei
           28.           Jie Wei
           29.           Rick Li d/b/a 163.CA Inc.
           30.           Toni Wu
           31.           Wang Hong
           32.           Wei Huangjie
           33.           Weijia Yin
           34.           Yue Manager
           35.           Zhan Cuibin
           36.           Zhan Ruping
           37.           *.a't#
                         Zhan Cui Bin
          38.            Benjamin Wilson
          39.            Catina Johnson
          40.            Chen Qing Guo
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                         Name
          41.            Chen Tai shan
          42.            Chen Zao jie Chen Zao jie
          43.            Chen Zhi Jie
          44.            Huang Xiuzhu
          45.            Jianhan Xie
          46.            Lai Li Ying
          47.            Larry Rhodes
          48.            Lin Mei Ying
          49.            Liu Zheng Bin
          50.            Qunhong Ke
          51.            Ren Guo Ying
          52.            Ren Guoying
          53.            Ren Qing Huang
          54.            Ren Zhi Jie
          55.            Ren Zhi Min
          56.            Ren Zhi Tong
          57.            Ren Zhimin
          58.            CoSebastian Schwarz
          59.            Song Yong Gan
          60.            Song Yong Jin
          61.            Tiffany Jarvis
          62.            Timothy Saulmon
          63.            Wagner Chris
          64.            Xie Han Zhou
          65.            Yu Bin Bin
          66.            Yu Hang
          67.            Yu Jie
          68.            Zhang Feng Chun
          69.            Zhang Feng lan
          70.            Zhang fengchun
          71.            Zhi JieRen
          72.            '? ri--,3 Li Ning
          73.            '-*-' A
                         Song Yong Jin
          74.
                         Zhang Wei Ping
          75.            3:F a
                         Ou Kai Sen
          76.            ,LIA

                         Ren Zhi Min
          77.             s...

                         Ren Zhi Tong
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                         Name
          78.            a
                         Shi Hua
          79.

           80.                  i
                         Zhang Feng Chun

                         Li Yu hong
           81.           AA -
                         Lai Li Ying
           82.           4
                         Lin Mei Ying
           83.           rTj
                         Zhang Feng Yu
           84.           Chen Minzhong
           85.           Chris Hebert
           86.           Cortez Shore
           87.           Guohong Zheng
           88.           Huang Jintian
           89.           HUANG XIAO
           90.           Huang Zhi Zhen
           91.           Jack Zhang
           92.           Jiang Hunying
           93.           Jiang Junying
           94.           Jordan Batters
           95.           Kathy Peyton
           96.           Krystian
           97.           Lin Hua Cong
           98.           Lin Meiqin
           99.           Meilian Huang
           100.          Motao
           101.          Phillip Bell
           102.          Sacaj BoxAngel
           103.          SandyC
           104.          Tang Guo
           105.          Water Lin
           106.          Xu Linying
           107.          Xu Weihai
           108.          YU XIAN WU
           109.          Zhao Min Gui
           110.          ill]
                         Chen Li Xian
           111.
                         Lin Hua Cong
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                         Name
           112.          Ak
                         Huang Yan Ying
           113.          1*
                         Chen Wei Zhu
           114.          Chong Seng
           115.          tian xiawei
           116.          Bodon Trading
           117.          Eric Lee
           118.          Meijin Huang
           119.          Zhizhen Li
           120.          Dsjf lai
           121.          Jian Yin
           122.          No Buh
           123.          Todd Amira
           124.          Yujian Ran
           125.          Yurong Huang
           126.          wuzigiang
           127.          Huang Yamei
           128.          Wu Zigiang
           129.          Yu Lao Da
           130.          Linda
           131.          Linda K
           132.          Annmarie Rivera
           133.          Bags Sell Inc
           134.          Bag Selling
           135.          Emily McBean
           136.          Feng Ningxue
           137.          Fengningxue Fengningxue
           138.          Haima Xiao
           139.          Loetitia Tibi
           140.          Marielle Cantillo
           141.          Marielle Cantillon
           142.          Micheal CJB
           143.          Mirabel Wolseley
           144.          Sammul Koo
           145.          Sarah Crews
           146.          Season Lee
           147.          Wai Tong
           148.          haima xuan
           149.          Zita Binder
           150.          Bill King
           151.          Deng Dong Fang
           152.          Zita Binder
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                         Name
           153.          ig.
                         Yang Jun Jie
           154.          ill,s5Jt
                         Liu Zhi Hong
           155.
                         Liu Kai Yang
           156.          WI,
                         Xia Ling Qin
           157.          lt,
                         Liu Zhen Hu
           158.          Jean Sabud
           159.          Joe Tran
           160.          Lin Jun Da
           161.          Sun Jin
           162.          Suqin Yang
           163.          Surong Zhu
           164.          Zhuo Zhen
           165.          ig i
                         Wang Bao Guo
           166.                )IT -c
                         Mao Guang Yuan
           167.          X*
                         Yang Su Qin
           168.          '4
                         Wang Xin Fen
           169.          Henri Rene
           170.          alexander hueber
           171.          anja eiffel
           172.          annett junker
           173.          birgit eggers
           174.          Brigitte Neumann
           175.          christin wirth
           176.          christina baumgartner
           177.          Diana Kuhn
           178.          Diana Schneider
           179.          dirk Baader
           180.          eric diederich
           181.          He Yao Long
           182.          He Yaolong
           183.          johanna schweitzer
           184.          Julia Lehmann
           185.          Juliane Bar
           186.          karolin beike
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                         Name
           187.          Kathrin Lemann
           188.          klaudia naumann
           189.          leonie berg
           190.          Liang Xing Zhu
           191.          Liang Xingzhu
           192.          lisa gersten
           193.          lukas sankt
           194.          Manuela Schiffer
           195.          maria faerber
           196.          Matthias Engel
           197.          Max Foerster
           198.          maximilian schroeder
           199.          Mikkel Knudsen
           200.          Nuno Santos
           201.          Philipp Hahn
           202.          stefan kaufmann
           203.          steffen freytag
           204.          thorsten lehrer
           205.          tobias beckenbauer
           206.          Shubham Sedo
           207.          Zhao Jin
          208.           Andrew Marcell
          209.           canganic kong
          210.           li minge
          211.           lukas eichel
          212.           Zhang shah
          213.           Chen Jinxing
          214.           Bunhon wong
          215.           Cai Jincan
          216.           Chen JiaSheng
          217.           Chen Jin Feng
          218.           Chen Longfei
          219.           ChenYuanzhuo
          220.           Huang Huacai
          221.           JACK TABOR
          222.           Jie Wang
          223.           Jie Xia
          224.           Jim Fricker
          225.           Kayla Moore
          226.           Lin Fang
          227.           Lin Fengying
          228.           Michael Vick
          229.           Qian Shuying
          230.           Qian Xiangong
Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 192 of 222



                         Name
           231.          Samanta Bangaree
           232.          San Zhang
           233.          Wang Jie
           234.          Wanlu Huang
           235.          Wen Ben Zhou
           236.          Zhang San
                         .--.
           237.          7J7
                         Zheng Wen Zong
           238.          it
                         Zheng Jian Fen
           239.          ,LIA

                         Zheng Zhi Hong
           240.          # '11*
                         Lin Bao Zhu
           241.          WIT*
                         Lin Bao Zhu
           242.          qM
                         Gui Yong Cai
           243.          a
                         Huang Han Liang
           244.          -I*-
                         Xu Min Fang
           245.          #q
                         Cai Gui Lan
           246.          # qM
                         I
                         Cai Gui Yong
           247.
                         Chen Jin Feng
           248.          University Jhug Limited
           249.          Huik
           250.          Li Haidao
           251.
                         Li Hai Dao
           252.          a (pi
                         Wang Xiang
           253.          Sophie
           254.          Lin Sandy
           255.          Brent Lin
           256.          Bella Lin
           257.          N3 li

           258.          Chen Wei Zu
           259.          China Fashion Trade Co.,Ltd
Case 1:13-cv-08012-CM-DCF Document 211-67 Filed 07/22/19 Page 193 of 222



                         Name
           260.          Sophie
           261.          wang can qi
           262.          Andrew Marcell
           263.          Fanskel Lemuel
           264.          fu dan dan
           265.          Mabelle Weig
           266.          Yang lin
           267.          yibao chen
           268.          yu xiao
           269.          IT1 [41
           270.          N3itli
          271.           Zheng Jiangyang
          272.           Extentbargain K.K.
          273.           Adam Vickers
          274.           Alfred La Mar
          275.           Aretha Johnson
          276.           Ba Fang
          277.           Bonny Loposser
          278.           Cai Cigui
          279.           Cai LiMing
          280.           Changqing Lin
          281.           Chaokevin Lebron
          282.           Chen Guo Eng
          283.           Chen Yuanming
          284.           Chen, Mingjin
          285.           Chen, Suzhen
          286.           Chen, Weifang
          287.           Chen Tong
          288.           Chen Weizu
          289.           Chenye Yang
          290.           Chunhai Song
          291.           Creshnaw, Andrew
          292.           Dai Jian Zhong
          293.           Danilo Yambao
          294.           David Stevens
          295.           Deng Xiao Jun
          296.           Ding, Yi Na
          297.           Fang Ming
          298.           Fang Ping
          299.           Fang Yong
          300.           Guo Jiancong
          301.           Haifeng Xu
          302.           Haitian Ren
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                         Name
           303.          Han, Defang
           304.          Hao Lin
           305.          Harvey Rhodes
           306.          huang guo
           307.          Huang He Bin
           308.          Huang JuYing
           309.          Huang Libin
           310.          Huang Qiao
           311.          Huang Wensheng
           312.          Huang Xiu
           313.          Huang XiuYing
           314.          Huang Yong Lin
           315.          Huang Zhan
           316.          Jian Zhong Dai
           317.          Jiang Xin
           318.          Jianying Chen
           319.          Jianyu Tang,
           320.          Jinfeng Zhang
           321.          Jinhui Huang
           322.          Jinying Ke
           323.          Kateila Smith
           324.          Ke Tianrong
           325.          Kylon Butler
           326.          Lang Qing
           327.          Leo Paquette
           328.          Li Qi Min
           329.          Li Yuan Mao Yi You Xian Gong Si
           330.          LiMing Cai
           331.          Lin Changqing
           332.          Lin Ji
           333.          Lin Li-mei
           334.          Lin, Fengyun
           335.          Liu Qiao Qin
           336.          Liu Yifei
           337.          Liuyifei Liuyifei
           338.          Lvzhongtian
           339.          Martin Les smann
           340.          Melvin Saunders
           341.          Michael Marcovici
           342.          Ming Fang
           343.          Ming Yuan Mao Yi You Xian Gong Si
           344.          Murray, John
           345.          Natorious Douglas
           346.          Pan Bing Huang
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                         Name
           347.          Pang Nian
           348.          Ping Fang
           349.          Qi Min Li
           350.          Qiao Qin Liu
           351.          Qiming Trade CO. Ltd
           352.          Qing Lang
           353.          Robbie Clark
           354.          Robert Smith
           355.          Ronny Seffner
           356.          Sanchun Wu
           357.          Sawyer Lin
           358.          ShanShan Gao
           359.          Shaotong Qiang
           360.          Shurong Lin
           361.          Stacy Peacock
           362.          Stefano Cecconi
           363.          Tamerra Barrett
           364.          Taniesha Symister
           365.          Tianrong Ke
           366.          Weng Xue Jing
           367.          William Clark
           368.          Woodson, Keion
           369.          Wu Xiuyan
           370.          Xiang Yong Zheng
           371.          Xiao Lin Zheng
           372.          Xiaofei Wang
           373.          Xiaoqing Zhang
           374.          Xiaoqiong Wu
           375.          Xiaoyun Wang
           376.          Xin Zhang
           377.          Xiong Lin
           378.          Yang Li
           379.          Yang Lin
           380.          Ye Dong
           381.          Yegeng Tian
           382.          Yingchun Yuan
           383.          Yong Lin Huang
           384.          Yong Lin Lin
           385.          Yong Zheng
           386.          Youncofski, Conor
           387.          Yu Xiao
           388.          Yuanqiu Cai
           389.          Yuyang LV
           390.          Zenyu Lin


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                         Name
          391.           Zhang San
          392.           Zhang Sansan
          393.           Zhao Jun Pu
          394.           Zheng Xiang Yong
          395.           Zheng, Lanying
          396.           Zhengyu Lin
          397.           Zheyu Lin
          398.           Zhiyuan Dai
          399.           Zhu Fu
          400.           -ft
                         Zheng Shi Jie
          401.           =
                         ..a.

                         Yang Hui Xin
          402.           -A Tc
                         Wang Bing Yuan
          403.           RI; IA
          404.           R A At
                         Wu Song Ye
          405.           AlIik6
                         Wang Ru Jun
          406.           Pli
                         Zheng Yang Mei
          407.           Arkl-
                         Tang Jian Ying
          408.           a
                         Zhang Wei
          409.           tAitai
                         Fu Jian Shan
          410.           *fiiEVIMI,
          411.           a
                         Shi Shao Lian
          412.           #r3 kl-
                         Lin Xiu Ying
          413.           #*
                         Lin Zhang Qing
          414.           q#
                         Ke Lin Hai
          415.           q#
                         Ke Lin Hai (a/k/a Linhai Ke)
          4-16.
                         Liu Gui Lan
          417.           inn 1 *


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                         Name
          418.
                         Pan Bing Huang
          419.
                         Shi Sheng Xu
          420.           lea
                         Zhang Jia Fu
          421.           MO
                         Hu Xian Di
          422.           NI i
                         Hu Guo Tian
          423.           NI r3
                         Hu Xiu Bi
          424.           NI r3
                         Hu Xiu Feng
          425.           NI 47
                         Hu Li Ping
          426.           51
                         Zheng Lan Ying
          427.           Alai*
                         Yuan Ying Chun
          428.
                         Zheng Jin Tao
          429.           Z Mandy
          430.           Electronic Arts Norway AS
          431.           Global Domain
          432.           Global Trade
          433.           Jason Ballard
          434.           Jovan Milenkovic
          435.           Karin Eiffel
          436.           Karry
          437.           Loren Jackson
          438.           Lu Bang Jin
          439.           Qing Hua
          440.           Sandra Ozturk
          441.           Sjovar Schjelderup
          442.           Smith Keith
          443.           Wendle Schonig
          444.           Zhong Mao
          445.           Daniel Keller
          446.           Leanne Scott
          447.           Loren Jin
          448.           mathias holtzmann
          449.           Michael Witherington


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                         Name
          450.           phillipp frei
          451.           Guang Zhou
          452.           Jingmei Zhou
          453.           Rebeca Fosburgh
          454.           -I*-
                         Yan Li Fang
          455.           Bi Ning Zhuo
          456.           Chen Qing Wen
          457.           Chen Zusong
          458.           Huang Jian Ping
          459.           JIAN PING HUANG
          460.           JIANG LIN
          461.           NAN CHEN
          462.           PING LI
          463.           Qing Wen Chen
          464.           Tie Ning Zhuo
          465.           Zhuo Tie Ning
          466.           Zusong Chen
          467.           Huang Hui
          468.           Jack Wu
          469.           Qingshi Fang
          470.           Shannon Bennett
          471.           Shiyu Xu
          472.           Winchester Dean
          473.           tth'
                         Chen Bi Juan
          474.           4
                         4t
                         Xu Li Li
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          476.           ', ,..
                         Xu Shi Yi

                         Xu Jin Tian
          477.           ,LIA

                         Yu Zhi Qiang
          478.           s
                         03
                         Xu Zhi Qiang
          479.           MOO
                         Jiang Rong Rong
          480.           MY:
                         Huang Shu Zhen
          481.           A/1\g;
                         Xiao Xiao Ping
          482.           Drew Pietan


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          483.           James Douglas
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          485.           Julie Lochhead
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          495.           Lina
          496.           Una Ji
          497.           1.   IA]

          498.           Benxin Xuson
          499.           Un Jerseys
          500.           Un Jerseys Co Ltd
          501.           Xuxianshuai
          502.           Xianshuai Xu
          503.           Yongheng Co Ltd
          504.           Rene Paley
          505.           AUSTIN GATES
          506.           Cai Fengwei
          507.           ChangYong Yang
          508.           Chen Xicheng
          509.           GREEN BROWN
          510.           Guo Chunpeng
          511.           Guofu Zheng
          512.           Hang Chen
          513.           Holly Gasser
          514.           Huang Huayou
          515.           Huang Xiaoqiu
          516.           JianXian Zheng
          517.           Li Renfen
          518.           Li Yangyang
          519.           Li Yayun
          520.           Lin Qingfeng
          521.           Liu Meihua
          522.           Lizhu Ma
          523.           Louisa Kornbergin
          524.           Luo Qiuhua
          525.           Lv Huiwu



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                         Name
           526.          Meiyan Liu
           527.          Qin Yao
           528.          QUNAR LEE
           529.          Renfen Li
           530.          Shen Qingshui
           531.          Shengze Yang
           532.          Shijie Chen
           533.          Tingting Xia
           534.          Tong Zhenggang
           535.          Wang Fulong
           536.          Weng Yanchun
           537.          Willa Wharton
           538.          Wu Yan
           539.          Xiaosi fu
           540.          YanFen Weng
           541.          Yang Haiqi
           542.          Yang Rong'e
           543.          Yanqing Zhu
           544.          Yuan Xiaoyan
           545.          Zelda Spingarn
           546.          zhang guofu
           547.          Zhang Shan
           548.          Zhao Zeying
           549.          Zheng Limei
           550.          Zheng Yuefen
           551.          Zhong Zhenning
           552.          Zhou Dadi
           553.          ik6
                         Chen Jun Xian
           554.          Rt..a
                         Wu Jiu Mei
           555.          R A At

                         wit
                         Wu Song Ye
           556.
                         Li Yu Mei
           557.          1*
                         Gao Hai Zhu
           558.          got
                         Gao Mei Ying
           559.          7ft 'ot
                         Gao Hua Ying
           560.          Meion Online Store
           561.          Diante Johnson


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                         Name
           562.          Imogen Lockhart
           563.          Latin Malin
           564.          Malik Davis
           565.          Rene Paley
           566.          Smith Chen
           567.          Tracy Driver
           568.          Tim Rhudy
           569.          Jinhui Zheng
           570.          Zheng Jinzhao
           571.          Chen Min
           572.          Meixia Zheng
           573.          Pin Pai51
           574.          Weng Tian Rong
           575.          Zheng Jinhui
           576.          ZhiXiong Huang
           577.          XM
                         Zhang Jiu Chu
           578.          -6.   7K,
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                         Zheng Jin Hui
           579.          A<
                         Chen Shui Lian
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                         Weng Tian Rong
           581.          ..,..N. ,4=,
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                         Weng Qing Zhong
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                         Weng Qing Yun
           583.
                         Zheng Jin Hui
           584.          tffl Zheng Jin Zhao
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           589.          Lucy Jackson
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           591.          Wen Quang
           592.           shadhiyah hasychak
           593.          chen jun hui
           594.          emmeli duhaime
           595.          Howard Linsa
           596.          john peir
           597.          Join Lin


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          ,598.
            --           Name
                         Nian Hua
           599.          nicol Duchaine
           600.          When Ben Thou
           601.          Canganic Kong
           602.          Dmmeli Duhaime
           603.          Fanskel Lemuel
           604.          Howard Linsa
           605.          Jackson Smith
           606.          Jesus jimenez
           607.          John Peir
           608.          Join Lin
           609.          Mabelle Weig
           610.          Marshall Matthew
           611.          Nian Hua
           612.          Nicol Duchaine
           613.          Nikolaj Chernets
           614.          Peir Junck
           615.          Sale Jordaner
           616.          Shinsaku Drock
           617.          Tang Nianhua
           618.          Wu Qingfeng
           619.          Zeynab Bstalvey
           620.          Wit
                         Lin Jian
           621.          ***A-
                         Nianhua Tang
           622.          Lanzhengbin
           623.          Kelly Juddy
           624.          shun sun
           625.          wuzigiang
           626.          Wu Zhihong
           627.          CHEN KUN
           628.          CHEN YU
           629.          Gao Wei
           630.          Kun Chen
           631.          QIU JING
           632.          Xianghang003 Lin
           633.          ZHOU KAI
           634.          Shan Peter
           635.          Chengfei Bei
           636.          Jiang Lili




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            106.        payonlines @hotmail.com
            107.        payonlines01 @hotmail.com
            108.        payonlines2011@hotmail.com
            109.        paysment2011@hotmail.com
            110.        paysmentsaccount@live.com
            111.        paysnice@hotmail.com
            112.        pays sites @live.com
            113.        pays smile @hotmail.com
            114.        paywe112012@hotmail.com
            115.        peelaccepts @hotmail.com
            116.        processokpays @live.com
            117.        prosalepay@live.com
            118.        prosalepays@live.com
            119.        qianzhifei@hotmail.com
            120.        quickonlinepays @live.com
            121.        quickpays@live.com
            122.        rinazxpays @hotmail.com
            123.         safeonlinepay@hotmail.com
            124.         safeonlinepay@live.com
            125.         safe-pays2012@live.com
            126.         sanpays @live.com
            127.         saulmon_01@ yahoo.com
            128.         secureonlinepay@hotmail.com
            129.         securespay@hotmail.com
            130.         securetypaysline@live.com
            131.         seoeasy@hotmail.com
            132.         shoppaysment@live.com
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            133.        shoppingcartpay@hotmail.com
            134.        shoppingpayonline @ live.com
            135.        shoppingpaysment@live.com
            136.        shuang1203 @gmail.com
            137.        smallpays @hotmail.com
            138.        SpragueneniThomas @ gmail.com
            139.        supports ser @ hotmail.com
            140.        tbs @prc-oem.com
            141.        tbs520520 @ 163.com
            142.        toppaysline @ live.com
            143.        weiweigbasp2@hotmail.com
            144.        wellspays @live.com
            145.        xianxpays @hotmail.com
            146.        xunapays @hotmail.com
            147.        yanlanpays @hotmail.com
            148.        yauaa22@ yahoo.com
            149.        znj aid @ sina.com
            150.        customersupports @ live.com
            151.        1197084292 @ qq.com
            152.        48058406 @ qq.com
            153.        allenseng@hotmail.com
            154.        bestbuynike @ yahoo.com
            155.        buybest365 @ yahoo.com
            156.        buytheshoes 84 @ yahoo.com
            157.        chenlijilu @ 163.com
            158.        convenienceservice @ gmail.com
            159.        ecplaza999 @ 163.com
            160.        fallenyinong @ yahoo.com
            161.        goingpop @hotmail.com
            162.        hbxpoolxcc @ yahoo.com
            163.        ihandbag123 @ 163.com
            164.        ineednikeshoes @hotmail.com
            165.        jordanshoescity@hotmail.com
            166.        kendyj one @ aol.co.uk
            167.        kungfumovie999 @ yahoo .com
            168.        linajiao1990 @ yahoo.com
            169.        linkcampus111 @ yahoo.com
            170.        linksinowears @ yahoo.com
            171.        mingui123 @hotmail.com
            172.        morethanjordan23 @ yahoo.com
            173.        nfl2045 @hotmail.com
            174.        niceamas @ gmail.com
            175.        nikeonlineservice @ gmail.com
            176.        nimamabea@ 163.com
            177.        Phillip @hotmail.com
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            179.        service 1 @ web s eemial.com
            180.        Service3 @ linkonlineemail. com
            181.        tangguo2s @ 163 . com
            182.        teeblog @ qq. com
            183.        tonycheaps @ yahoo. com
            184.        us ajumpman @ yahoo. com
            185.        us ashare @ yahoo.com
            186.        vxvds ad @ yahoo. com
            187.        whole s aleairj ordan @ yahoo. com
            188.        wo_gan_ni_mama @ yeah .net
            189.        yangzis s @ hotmail. com
            190.        youyan1990 @ yahoo.com
            191.        youyanhg @ yahoo.com
            192.        gongzuorenyuanmi @ gmail. com
            193.        douguaiaidegus @ gmail.com
            194.        ninetytrade s tore @ gmail. com
            195.        shentaishanglk @ gmail.com
            196.        tebiedeaigei @ gmail.com
            197.        toddamira883 @ gmail. com
            198.        tongkudegaib @ gmail.com
            199.        limei53 @hotmail.com
            200.        manager@ occidenttrade.com
            201.        pt3c @ occidenttrade.com
            202.        sales @ occidenttrade.com
            203.        zigiang53 @ 163 .com
            204.        zigiang53 @ hotmail .com
            205.        nikefactoryoutletservice @ gmail.com
            206.        chaus sure snikevente @ gmail.com
            207.        marielle_cantillon @ hotmail.com
            208.        michelleyip214 @ hotmail. com
            209.        nikefactorystoreservice @ gmail. com
            210.        nike shoe s outletstore @ gmail.com
            211.        nike shoe s sales service @ gmail.com
            212.        sammulkoo @ hotmail. com
            213.        theerunwaylinda @ gmail. com
            214.        top serviceforyou @ gmail.com
            215.        top serviceteams @ gmail.com
            216.        2106440934 @ qq.com
            217.        527581746 @qq.com
            218.        billigenikefreedktilbud@ gmail. com
            219.        billignikefreedk @ gmail. com
            220.        binderzita @ hotmail .com
            221.        chaus sure snikevente @ gmail.com
            222.        cheapnike shoe s s ervice @ gmail. com
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            223.        christiankoblitz @ gmail. corn
            224.        dknikefreesalg@gmail.com
            225.        dknikefreeskosalg@gmail.com
            226.        factorycustomer10@hotmail.com
            227.        gotosources@hotmail.com
            228.        jerseyssite@hotmail.com
            229.        nikefreerunsalg-no @ gmail .com
            230.        nikeshoesoutletservice@gmail.com
            231.        nikeskobutik@gmail.com
            232.        nikesshoesforsale@gmail.com
            233.        sammulkoo@gmail.com
            234.        servicenikefactory@gmail.com
            235.        trxworkouts service @ gmail.com
            236.        binderzita@gmail.com
            237.        classiczopim@gmail.com
            238.        dkfreerun30@gmail.com
            239.        dkfreeruns @gmail.com
            240.        dkfreerunstilbud@gmail.com
            241.        freerunsdksalg@gmail.com
            242.        jack20121130@gmail.com
            243.        lky2012104@gmail.com
            244.        newgoodsexplore@gmail.com
            245.        nikefreerunsaleaus @gmail.com
            246.        placeanorder@live.com
            247.         service @ nikefreeruns30.com
            248.         service @ onlinenikefreesko.com
            249.        x1q2012108@gmail.com
            250.         admjones98@hotmail.com
            251.         amy_zsr@hotmail.com
            252.        joeleesa98@hotmail.com
            253.        joshmicane@ gmail.com
            254.         monicayy68@hotmail.com
            255.         nikefreeonline2012@hotmail.com
            256.         onlyalice @hotmail.com
            257.         services2013@hotmail.com
            258.         sonyaweeks98@hotmail.com
            259.        fanatics .service @ gmail.com
            260.        notification_09@orderstatusinform.com
            261.        1783149795 @qq.com
            262.        service @ hotfreerunshoes .com
            263.        314255531 @hxmail.com
            264.        henrireneforyou@gmail.com
            265.        hhldux@l63.com
            266.        hhldux@yeah.net
            267.        rose.mail@foxmail.com
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            268.        servcetrade2014 @hotmail.com
            269.        servicetrade2014 @hotmail.com
            270.        servicetrade2015 @hotmail.com
            271.        servicetrades2016 @ gmail.com
            272.        sportsgear@foxmail.com
            273.        1783149795 @qq.com
            274.        17832154554 @qq.com
            275.        a. starks1979 @ gmail.com
            276.        aidon109 @hotmail.com
            277.        BABAYGOGOGO @ gmail.com
            278.        beoltrade@hotmail.com
            279.        bestonlineshop @hotmail.com
            280.        buykicksonline @ hotmail .com
            281.        by-nikes @ yahoo.cn
            282.        ceddd23 @163.com
            283.        Cntrade168 @ yahoo.com.cn
            284.        cntrade168 @ ymail.com
            285.        cx3139 @ yahoo.com.cn
            286.        hy_shoes @ yahoo.com.cn
            287.        j_tabor76 @ yahoo.com
            288.        jenney@ gmail.com
            289.        jenney123456555 @ gmail.com
            290.        jenneyzhehe952@ gmail.com
            291.        jenneyzhenlin@ gmail.com
            292.        Jim_F8279 @ outlook.com
            293.        jisehe212 @ 163.com
            294.        linda.ch26 @hotmail.com
            295.        lindajerseys @ gmail.com
            296.        namebrand123 @hotmail.com
            297.        namebrand123 @ yahoo.cn
            298.        nancywill 1986 @ hotmail .com
            299.        nikecheapshoes @ yahoo.com.cn
            300.        qq123456 @hotmail.com
            301.         safdsf33333333333333 @126.com
            302.         scottsha8 @ gmail.com
            303.         sdaf3333333333 @126.com
            304.         service @hotpunchnikefree.com
            305.         service @kobe7supreme.org
            306.         service @ lebronhyperdunks .com
            307.         service @ lebronjameslOshoes .org
            308.         service @ nbashoes.net
            309.         service -2013 @hotmail.com
            310.         services @ 6000j erseys .com
            311.         sfadf33333333333333333333 @126.com
            312.         shuying9410 @ gmail.com
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            315.        steven.wawj @ gmail .com
            316.        topnike098@hotmail.com
            317.        urbanclothing01 @ yahoo.com.cn
            318.        verynike_123 @ yahoo.com.cn
            319.        verynike_123 @ ymail.com
            320.        xdffd232@hotmail.com
            321.        zhengjf10@ 163.com
            322.        510227969 @ qq.com
            323.        foreverseller889@hotmail.com
            324.        kweg63403 @163.com
            325.        lihaidao2002@ 163.com
            326.        sdertxd6 @163.com
            327.        cheapfreetnau@gmail.com
            328.        hotfoampositeoneshoes @gmail.com
            329.        sup 8 lyjerse s @ aE n.com
            330.        kf@dingdian.cn
            331.        ardyceliu@ yahoo.com
            332.        bella_juan1986@hotmail.com
            333.        bella_juan1986@ yahoo.com
            334.        bussadeals@hotmail.com
            335.        buyshoesclothing88@gmail.com
            336.        copukicks@hotmail.com
            337.        eshoppingthebest2015@hotmail.com
            338.        exsneaker@hotmail.com
            339.        exsneaker@ yahoo.com
            340.        goonvipshop_sales @hotmail.com
            341.        hiphop_sales @hotmail.com
            342.        hiphoplinda2012@gmail.com
            343.        hiphoplindaservice@hotmail.com
            344.        hiphopxplinda@gmail.com
            345.        idsolesara@yahoo.com
            346.        jordans-china@hotmail.com
            347.        kicksgridservice@gmail.com
            348.        maccosmeticservice@hotmail.com
            349.        magicalshoes2015@hotmail.com
            350.        mdffootball-mall@hotmail.com
            351.        mjkickz @hotmail.com
            352.        nikenflshops @126.com
            353.        repmallshop@hotmail.com
            354.        repmallshop2009@hotmail.com
            355.        repmallstore@hotmail.com
            356.        repmallstoreardyce@gmail.com
            357.        sac @ stennis.com.br
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            359.        salesbussarepsvip @hotmail.com
            360.        salesdispute@hotmail.com
            361.        sarabussadeals @ yahoo.com
            362.        shopmallcn @ gmailcom
            363.        sportsytb @ gmail.com
            364.        sportsytb @hotmail.com
            365.        usherfashion@hotmail.com
            366.        wangjingyi313 @ gmail.com
            367.        wendyliu324@ yahoo.com
            368.        wholesalehats 9 @ gmail.com
            369.        wholesalejordan@hotmail.com
            370.        zhangjiaqib @ gmail.com
            371.        12 @ YAHOO.COM.CN
            372.        1309624870 @ qq.com
            373.        1416658427 @qq.com
            374.        1596615787 @qq.com
            375.        1749080296 @ qq.com
            376.        1903769525 @qq.com
            377.        2069043802 @ qq.com
            378.        2217167198@qq.com
            379.        2337970303 @qq.com
            380.        274024654 @ qq.com
            381.        360reps @hotmail.com
            382.        365reps @ gmail.com
            383.        409213856 @qq.com
            384.        505175638 @gq.com
            385.        530267919 @ qq.com
            386.        770314722 @ qq.com
            387.        805800638 @ qq.com
            388.        airmaxyouneed @ hotmail .com
            389.        alice_maria1030 @ hotmail .com
            390.        as shops @hotmail.com
            391.        bestjerseys 88 @ gmail.com
            392.        bestjerseysgo @126.com
            393.        bestjerseysgo @ yahoo.com
            394.        bestsevie2011@gmail.com
            395.        bonnjonl@yahoo.com
            396.        branngddd@hotmail.com
            397.        businessonlinexyz @hotmail.com
            398.        catherine4good@hotmail.com
            399.        chaussurestnrequin@ gmail.com
            400.        cheapfreetnau@ gmail.com
            401.        cheapsize@hotmail.com
            402.        cheapsize@ yahoo.com
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            404.        cheapsky2010@hotmail.com
            405.        conoryouncofski@ aol.com
            406.        daijiawu@live.com
            407.        Davidea12009@hotmail.com
            408.        deyvip@gmail.com
            409.        doorjerseys86@hotmail.com
            410.        elitejerseyss @qq.com
            411.        evanxu0221@ yahoo.com
            412.        fcvfsde0@ yahoo.com
            413.        fdsgfdgd@qq.com
            414.        fsafsagsg@qq.com
            415.        fsdgdsg@qq.com
            416.        fuwudazong@ yahoo.cn
            417.        globe -trade @hotmail.com
            418.        goodnewscaon@gmail.com
            419.        goonb7c@hotmail.com
            420.        grilatshc@l63.com
            421.        hiphopvp2013@hotmail.com
            422.        hupay@qq.com
            423.        idsole@hotmail.com
            424.        inshoes2011@hotmail.com
            425.        interscopedemo@gmail.com
            426.        jacksmith111396@hotmail.com
            427.        jersey2008@tom.com
            428.        jerseys @hotmail.com
            429.        jerseys @ stajump.net
            430.        jerseysauthenticwholesalejersey@yahoo.com
            431.        jerseyscommunity@hotmail.com
            432.        jerseys-goodsusa@hotmail.com
            433.        jerseysgoodsusa@ yahoo.com
            434.        jerseysmember@hotmail.com
            435.        jerseystops @gmail.com
            436.        jiangxin6x@l63.com
            437.        jinaaba@hotmail.com
            438.        jordans-china@hotmail.com
            439.        kayaneast1028@hotmail.com
            440.        keiondw@ yahoo.com
            441.        kelinhai@hotmail.com
            442.        kundeservice@ostyler.com
            443.        kundeservice@ skounion.com
            444.        kundeservice@ sneakerno.com
            445.        largestore-online@gmail.com
            446.        largestoreonline@hotmail.com
            447.        ldd@ dingdian.cn


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            448.        linchangqing2009 @ yahoo.com.cn
            449.        linchangqing7602 @ yahoo.com.cn
            450.        lmany01 @ gmail.com
            451.        lowjerseys @hotmail.com
            452.        1paquettel @cox.net
            453.        mariongreen9l @hotmail.com
            454.        merryperry123 @hotmail.com
            455.        mylove198101 @hotmail.com
            456.        newclothing@hotmail.com
            457.        nflfootballejerseyscheap @ yahoo.com
            458.        nfljersey2010 @ yahoo.com
            459.        nflj erseys 2000 @ gmail.com
            460.        nfljerseysglobal @ yahoo.com
            461.        nikepuma-1 @hotmail.com
            462.        nikepuma-2@hotmail.com
            463.        Nikes4wholes ale @ yahoo .com.cn
            464.        nikesportjerseys @ msn.com
            465.        noschaus suresfr.com@ gmail.com
            466.        online @hotmail.com
            467.        onsavemall @ yahoo.com
            468.        paylessnfljerseyswholesale @ gmail.com
            469.        popsoccerjersey@ yahoo.com.cn
            470.        premiervirtual @ gmail.com
            471.        pursesoutlet@qq.com
            472.        reebokdepot@hotmail.com
            473.        repdavid2009 @hotmail.com
            474.        repdreammonafirst@hotmail.com
            475.        rephype2009 @live.com
            476.        rqb @ dingdian.cn
            477.        sale @ shoxvs .com
            478.        salegogol @hotmail.com
            479.        salesdispute @hotmail.com
            480.        sally365reps @hotmail.com
            481.        sandyonlyone @hotmail.com
            482.        sarahbas s 69 @hotmail.com
            483.        seeijerseys @ gmail.com
            484.        selloffmlb @ qq.com
            485.        sell-topbrand@hotmail.com
            486.        selltopbrand@ yahoo.cn
            487.        sellysnow2046 @ outlook.com
            488.        service @ shoesbagonline.com
            489.        servicel @ airemail.net
            490.        servicel @forsendinfo.net
            491.        service2 @ emailkoca.com
            492.        service2 @ forsendinfo.net


                                     11
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            493.        service2@ storelinkmail.com
            494.        service2@xietell.com
            495.        service3 @ storelinkmail.com
            496.        service4@mailfor2013.com
            497.        services @ storelinkmail.com
            498.        setorsungbg@hotmail.com
            499.        shoesb7b @yajoo.com
            500.        shoesbagonsale@hotmail.com
            501.        shoesbagschina88@gmail.com
            502.        shoesclothingcheapor@gmail.com
            503.        shoes spring@hotmail.com
            504.        shoes spring2003 @hotmail.com
            505.        shopping333@hotmail.com
            506.        shopping8090@hotmail.com
            507.        shuaistrade@hotmail.com
            508.        sin.tong@hotmail.com
            509.        sogoodcomcn@gmail.com
            510.        soledream2009@hotmail.com
            511.        solejump@hotmail.com
            512.        sophieyuan3448 @ sina.com
            513.        sophieyuan3448@ yahoo.com.cn
            514.        spapparelsa @msn.com
            515.        sshopping8090@hotmail.com
            516.        stargoaol@ yahoo.com
            517.        tiantiansell@gmail.com
            518.        today0212@gmail.com
            519.        tomaxji@hotmail.com
            520.        topjint@hotmail.com
            521.        tradegoods-online@hotmail.com
            522.        tradingspring@hotmail.com
            523.        usherfashion@hotmail.com
            524.        vvipwholesale2012@ yahoo.com.cn
            525.        weixiaottqwe@hotmail.com
            526.        wholesaledey@hotmail.com
            527.        wholesaleelitenfljerseys @yahoo.com
            528.        wholesalejerseys @ec8j.com
            529.        wholesalejersysx@gmail.com
            530.        wholesalesquare@hotmail.com
            531.        wholesale- square @hotmail.com
            532.        whugo2011@gmail.com
            533.        wiles @35zh.com
            534.        winwindshoes.ca@gmail.com
            535.        wipwholesale2012@ yahoo.com.cn
            536.        xiaganmeinv@gmail.com
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                                     12
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            540.        yaosipi @ gmail.com
            541.        Yifei @ Liu.cc
            542.        sob ypal @ gmail.com
            543.        fashion777-2@hotmail.com
            544.        angelamagento @ gmail.com
            545.        897506116 @qq.com
            546.        customerservicedepts09 @ gmail.com
            547.        dana@ oncustomerservice.com
            548.        debbiekapper @ gmail.com
            549.        gimi218 @ qq.com
            550.        globaltradecenters @ gmail.com
            551.        keitehsmith @ yahoo.com
            552.        lankecms @hotmail.com
            553.        sac @ stennis.com.br
            554.        service.trade1688 @hotmail.com
            555.        worldtradeclubs @ gmail.com
            556.        aneglamp @ yeah.net
            557.        bbbpppkkk@ yahoo.com
            558.        globaltradeclubs @ gmail.com
            559.        gzicnet@ qq.com
            560.        lorenj in @hotmail.com
            561.        answer.online7 @ gmail.com
            562.        ningtie @ yahoo.com
            563.        shellycorall @ yahoo.com
            564.        trendslandy@ yahoo.com
            565.        Valdiviacaa@ gmail.com
            566.        551907714@qq.com
            567.        airmax-shop @hotmail.com
            568.        Beatrice-barbar@hotmail.com
            569.        ccv2008 @hotmail.com
            570.        ccvgoods @hotmail.com
            571.        Cecilia-meme @hotmail.com
            572.        cnpaypal @ foxmail.com
            573.        coctrade @ yahoo.com
            574.        CVV2008 @hotmail.com
            575.        Eleanore147 @hotmail.com
            576.        elinsale @ gmail.com
            577.        Irmare2341 @ hotmail .com
            578.        johnxu1310 @hotmail.com
            579.        joz.christian @ gmail.com
            580.        loveshophere @ 163.com
            581.        martinpettersson86 @hotmail.com
            582.        micshoes @hotmail.com


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            585.        Susiesuke@hotmail.com
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            587.        tomjayjay1986@ gmail.com
            588.        trade1848 @ yahoo.com
            589.        tradecn86 @ yahoo.com
            590.        uggnet@hotmail.com
            591.        Wallislevel@ hotmail.com
            592.        yoyoshoes3 @gmail.com
            593.        customerservice.ly @ gmail.com
            594.        cu stomerservice. OE @ gmail. com
            595.        service@ kickslion.com
            596.        billigenikefreerunskodk@gmail.com
            597.        csj527581746 @ 163 .com
            598.        nikeairmaxcheapsales.co.uk@gmail.com
            599.        nikefreerunsaleservices @ gmail.com
            600.        uncboxing @ gmail. com
            601.        benxin.xuson@ foxmail.com
            602.        3296651040 @qq.com
            603.        benxin.xuson@aol.com
            604.        benxin.xuson@qq.com
            605.        cheaplovejerseys @ gmail.com
            606.        customizesportswear@gmail.com
            607.        customizesportswearsale @gmail.com
            608.        dada.lu.oluo@gmail.com
            609.        jerseyscustomeronline service @ gmail.com
            610.        kimmy @ oncustomerservice.com
            611.         Tina@oncustomerservice.com
            612.         lovesfitchedjerseys @gmail.com
            613.         nacy@ oncustomerservice.com
            614.         officialonlinejersey@gmail.com
            615.         retrol3onlineshop@ gmail.com
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            645.        mindyevans @ 163.com
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            655.        troyblume @ hotmail .com
            656.        underjerseys @ gmail.com
            657.        vaildcalm @ hotmail .com
            658.        wholesalechinacenter @ gmail.com
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            684.        brandol@ yahoo.cn
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            688.        brand -o177 @hotmail.com
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            696.        enikeshopl@ yahoo.com
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             699.       etopshop3@hotmail.com
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            701.        fashion777-5 @hotmail.com
            702.        inttopbrand@hotmail.com
             703.       inttopshop @ hotmail.com
             704.       inttopshop@ yahoo.com
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            726.        vintageblazerbox @ gmail. com
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            735.        newbalanceus store @ gmail. com
            736.        suprafootwearsaler @ gmail.com
            737.        addjordanshoes @ gmail. com
            738.        Airforceonelowbox @ gmail. com
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